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15                           UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17

18
      IN RE USC STUDENT HEALTH
      CENTER LITIGATION                              No. 2:18-cv-04258-SVW-GJS
19
      Plaintiffs Jane Doe R.B., Jane Doe A.T.,       [consolidated with 2:18-cv-04940-
20    Jane Doe J.L., Jane Doe M.S., Shannon          SVW-GJS, 2:18-cv-05010-SVW-
      O’Conner, Jane Doe L.K., Jane Doe 5, Jane      GJS, 2:18-cv-05125-SVW-GJS, and
21                                                   2:18-cv-06115-SVW-GJS]
      Doe M.V., Jane Doe K.M., Jane Doe A.S.,
22    Jane Doe A.F., Joyce Sutedja, Jane Doe         CLASS ACTION
23    M.G., Jane Doe D.D., Jane Doe M.D., Jane
      Doe A.D., Jane Doe K.Y., Meggie Kwait,         SECOND AMENDED
24    Jane Doe M.M., Jane Doe P.A., Jane Doe         CONSOLIDATED CLASS
25    S.A., Jane Doe L.R., Jane Doe R.K., Jane       ACTION COMPLAINT
      Doe H.R., Jane Doe 1HB, Jane Doe J.P.,
26    Jane Doe 1LC, Jane Doe C.N., Jane Doe
27    J.L., Vanessa Carlisle, Jane Doe J.C., Jane    JURY TRIAL DEMANDED
      Doe F.M., Jane Doe J.K., Jane Doe C.L.,
28
                  SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
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 1    Jane Doe S.R., Jane Doe K.P., Jane Doe 2,
 2
      Betsayda Aceituno, Jane Doe D.C., Jane
      Doe N.K., Jane Doe C.C., Jane Doe 4, Jane
 3    Doe C.B., Jane Doe 3, Jane Doe J.W.,
 4
      Mehrnaz Mohammadi, Jane Doe A.N., Jane
      Doe L.Y., Jane Doe A.H, and Elisabeth
 5    Treadway,
 6
                                      Plaintiffs,
 7                v.
 8    UNIVERSITY OF SOUTHERN
      CALIFORNIA, BOARD OF
 9
      TRUSTEES OF THE UNIVERSITY OF
10    SOUTHERN CALIFORNIA, and
      GEORGE TYNDALL, M.D.,
11
                                    Defendants.
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 1                Plaintiffs, individually and on behalf of all women who received a women’s
 2    health medical examination or procedure from Dr. George Tyndall at the University of
 3    Southern California, allege as follows:
 4                                       I.     INTRODUCTION
 5                1.    Trust is an essential part of the relationship between physician and
 6    patient. “Without trust, how could a physician expect patients to reveal the full extent
 7    of their medically relevant history, expose themselves to the physical exam, or act on
 8    recommendations for tests or treatments?”1
 9                2.    George Tyndall, M.D. violated this trust by taking advantage of female
10    students who sought women’s-health-related medical care from a gynecologist at the
11    University of Southern California’s (“USC”) student health center. These women were
12    highly vulnerable: naked or partially unclothed in a closed examination room with the
13    expectation that physical contact would occur for medical treatment only in
14    accordance with the standard of care.
15                3.    Tyndall violated this trust and his female patients by causing physical
16    contact, including in the form of sexual abuse, molestation, and unwanted touching,
17    that was not for the purpose of providing medical care and was not performed within
18    the standard care, but was for the purpose of providing Tyndall with sexual
19    gratification.
20                4.    USC violated its female students’ trust by knowingly putting women in
21    the room for treatment by Tyndall, knowing that inappropriate physical contact and
22    violations of the standard of care would occur. In fact, USC nurses, chaperones, and
23    other staff members were regularly present in the examination rooms, observed the
24

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          1
26        Susan Dorr Goold, MD, MHSA, MA, Trust, Distrust and Trustworthiness:
      Lessons from the Field, 17 J. GEN. INTERNAL MED. 79, 79–81 (2002) (citations
27    omitted).
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 1    inappropriate sexual molestation and failures to abide by the standard of care, and took
 2    no steps to stop it as it occurred.
 3                5.   Moreover, even as numerous supervisors and administrators became
 4    aware of Tyndall’s harmful and unlawful conduct and failure to follow the standard of
 5    care, USC failed to act to protect its female students by not removing Tyndall from his
 6    position even though it was clear he was abusing his position and was unfit to treat
 7    patients.
 8                6.   Tyndall’s sexual abuse, molestation, unwanted sexual touching and
 9    contact, and failure to follow the standard of care, and the ratification of Tyndall’s
10    conduct by the University of Southern California and the Board of Trustees of the
11    University of Southern California (collectively, “USC Defendants”), and their failure
12    to supervise and stop his unlawful conduct, and the recent public revelation of the
13    above, have caused damage to Plaintiffs and the Class.
14                                II.   JURISDICTION AND VENUE
15                7.   This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331,
16    because this action arises under the laws of the United States. Plaintiffs allege
17    violations of Title IX, 20 U.S.C. § 1681(a), et seq. This Court also has subject-matter
18    jurisdiction pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2),
19    because this is a class action, including claims asserted on behalf of a nationwide
20    class, filed under Rule 23 of the Federal Rules of Civil Procedure; there are thousands
21    of proposed Class members; the aggregate amount in controversy exceeds the
22    jurisdictional amount or $5,000,000.00; and Defendants are citizens of a state different
23    from that of Plaintiffs and members of the Class.
24                8.   Venue is proper in this District under 28 U.S.C. § 1391(a)-(d) because,
25    inter alia, substantial parts of the events or omissions giving rise to the claim occurred
26    in the District and/or a substantial part of property that is the subject of the action is
27    situated in the District.
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 1                                         III.   THE PARTIES
 2    A.          Plaintiffs
 3                9.    Jane Doe R.B. is a resident of The Woodlands, Texas and a citizen of the
 4    United States.
 5                10.   Jane Doe A.T. is a resident of New York, New York, and Basel,
 6    Switzerland and a citizen of the United States.
 7                11.   Jane Doe J.L. is a resident of Bellevue, Washington and a citizen of the
 8    United States.
 9                12.   Jane Doe M.S. is a resident of New York and a citizen of the United
10    States.
11                13.   Shannon O’Conner is a resident of Harris County, Texas and a citizen of
12    the United States.
13                14.   Jane Doe L.K. is a resident of San Francisco, California and a citizen of
14    the United States.
15                15.   Jane Doe 5 is a resident of San Francisco, California and a citizen of the
16    United States.
17                16.   Jane Doe M.V. is a resident of Santa Monica, California and a citizen of
18    the United States.
19                17.   Jane Doe K.M. is a resident of Rosemead, California and a citizen of the
20    United States.
21                18.   Jane Doe A.S. is a resident of Fountain Valley, California and a citizen of
22    the United States.
23                19.   Jane Doe A.F. is a resident of Honolulu, Hawaii and a citizen of the
24    United States.
25                20.   Joyce Sutedja is a resident of Long Beach, California and a citizen of the
26    United States.
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 1               21.   Jane Doe M.G. is a resident of Gainesville, Florida and a citizen of the
 2   United States.
 3               22.   Jane Doe D.D. is a resident of Sherman Oaks, California and a citizen of
 4   the United States.
 5               23.   Jane Doe M.D. is a resident of Los Angeles, California and a citizen of
 6   the United States.
 7               24.   Jane Doe A.D. is a resident of Los Angeles, California and a citizen of
 8   the United States.
 9               25.   Jane Doe K.Y. is a resident of Valley Village, California and a citizen of
10   the United States.
11               26.   Meggie Kwait is a resident of New York, New York and a citizen of the
12   United States.
13               27.   Jane Doe M.M. is a resident of Nashville, Tennessee and a citizen of the
14   United States.
15               28.   Jane Doe P.A. is a resident of San Carlos, California and a citizen of the
16   United States.
17               29.   Jane Doe S.A. is a resident of Chicago, Illinois and a citizen of the United
18   States.
19               30.   Jane Doe L.R. is a resident of San Marcos, California and a citizen of the
20   United States.
21               31.   Jane Doe R.K. is a resident of Costa Mesa, California and a citizen of the
22   United States.
23               32.   Jane Doe H.R. is a resident of Los Angeles, California and a citizen of the
24   United States.
25               33.   Jane Doe 1HB is a resident of Los Angeles, California and a citizen of the
26   United States.
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 1               34.   Jane Doe J.P. is a resident of Santa Monica, California and a citizen of
 2   the United States.
 3               35.   Jane Doe 1LC is a resident of Los Angeles, California and a citizen of the
 4   United States.
 5               36.   Jane Doe C.N. is a resident of San Francisco, California and a citizen of
 6   the United States.
 7               37.   Jane Doe J.L. is a resident of Sherman Oaks, California and a citizen of
 8   the United States.
 9               38.   Vanessa Carlisle is a resident of Los Angeles, California and a citizen of
10   the United States.
11               39.   Jane Doe J.C. is a resident of Chicago, Illinois and a citizen of the United
12   States.
13               40.   Jane Doe F.M. is a resident of Los Angeles, California and a citizen of
14   the United States.
15               41.   Jane Doe J.K. is a resident of Los Angeles, California and a citizen of the
16   United States.
17               42.   Jane Doe C.L. is a resident of Culver City, California and a citizen of the
18   United States.
19               43.   Jane Doe S.R. is a resident of Playa Del Rey, California and a citizen of
20   the United States.
21               44.   Jane Doe K.P. is a resident of Los Angeles County, California and a
22   citizen of the United States.
23               45.   Jane Doe 2 is a resident of Studio City, California and a citizen of the
24   United States.
25               46.   Betsayda Aceituno is a resident of Los Angeles, California and a citizen
26   of the United States.
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 1               47.   Jane Doe D.C. is a resident of Newport Beach, California and a citizen of
 2   the United States.
 3               48.   Jane Doe N.K. is a resident of Los Angeles, California and a citizen of
 4   the United States.
 5               49.   Jane Doe C.C. is a resident of Dallas, Texas and a citizen of the United
 6   States.
 7               50.   Jane Doe 4 is a resident of New York and a citizen of the United States.
 8               51.   Jane Doe C.B. is a resident of Santa Monica, California and a citizen of
 9   the United States.
10               52.   Jane Doe 3 is a resident of San Francisco, California and a citizen of the
11   United States.
12               53.   Jane Doe J.W. is a resident of Mountain View, California and a citizen of
13   the United States.
14               54.   Mehrnaz Mohammadi is a resident of Los Angeles, California and a
15   citizen of the United States.
16               55.   Jane Doe A.N. is a resident of Los Angeles, California and a citizen of
17   the United States.
18               56.   Jane Doe L.Y. is a resident of St. Louis, Missouri and a citizen of the
19   United States.
20               57.   Jane Doe A.H. is a resident of West Hollywood, California and a citizen
21   of the United States.
22               58.   Elisabeth Treadyway is a resident of Lake Worth, Florida and a citizen of
23   the United States.
24   B.          Defendants
25               59.   Defendant USC’s principal place of business is in Los Angeles County,
26   California.
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 1               60.   A private corporation, USC is governed by the Board of Trustees of The
 2   University of Southern California (“USC Board of Trustees”), which has
 3   approximately 55 voting members. The USC Board of Trustees is a self-perpetuating
 4   body, electing one-fifth of its members each year for a five-year term of office.
 5   Hereinafter, USC and the USC Board of Trustees are referred to collectively as the
 6   USC Defendants or simply as USC.
 7               61.   Defendant George Tyndall, M.D. is an adult male who is a resident of
 8   Los Angeles County and a citizen of the United States. In or about 1989, Tyndall
 9   started working as a gynecologist at USC’s student health center, where he examined
10   up to 16 women per day.
11                                            IV.    FACTS
12   A.          The standard of care for the treatment of women’s health
13               62.   The standard of care is the level at which the average, prudent provider in
14   a given—field of medicine here, gynecology—would practice. It is how similarly
15   qualified practitioners would have managed the patient’s care under the same or
16   similar circumstances.
17               63.   Gathering health information in a clinical and unobtrusive manner is
18   essential for building patient trust, creating an accurate history, and identifying
19   potential health concerns. The standard of care in gynecology is to afford the patient
20   as much modesty as possible. Doctors should begin by taking a patient’s health history
21   in a private setting while the patient is fully clothed and prior to any physical
22   examination.2 After taking the patient’s history, doctors should leave the room while
23   the patient disrobes.3 As described below, Tyndall’s regular practice was to require
24

25        2
          Daniela A. Carusi, MD, MSc, The Gynecologic History and Pelvic Examination,
26   UpToDate, Last Updated Mar. 27, 2017 (last accessed Aug. 15, 2018)(available at
     https://www.uptodate.com/contents/the-gynecologic-history-and-pelvic-examination).
27      3
          Id.
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 1   patients to remove their clothes in front of him while he took their history and not to
 2   offer any sense of modesty.
 3               64.   Taking a patient’s medical history does not include invasive questions
 4   concerning sexual “likes” and “dislikes.” At the outset of a gynecology patient visit,
 5   the physician should take a gynecologic medical history, including sexual history,
 6   before the patient disrobes. A brief set of screening questions relating to sexual history
 7   is adequate to determine whether a problem exists that requires further inquiry, namely
 8   whether the patient has sexual concerns, is having sexual relations, has a new partner
 9   or sexual contacts, uses protection from pregnancy and sexually transmitted infections,
10   would like to be screened for sexually transmitted infections, needs contraception or
11   preconceptional counseling, or is currently experiencing or has experienced previous
12   sexual abuse. Doctors are expected to afford patients equal treatment and objective,
13   non-judgmental counseling regardless of their sexual orientation or history.4 Tyndall’s
14   regular practice, however, was to: (i) inquire into patients’ favorite sexual positions,
15   the kinds of detailed sexual acts in which they engaged, and their orgasm experiences;
16   (ii) describe lewd sexual experiences he and others had experienced, or that the patient
17   could experience, as well as to offer to demonstrate sexual positions or experiences;
18   and/or (iii) make sexually charged comments regarding the patient’s naked body.
19               65.   No need for pelvic exams of women before 21 years of age. There is no
20   medical evidence to support the need for an internal examination of a healthy,
21   asymptomatic female patient before 21 years of age. Pelvic examinations for patients
22   younger than 21 should be performed only when indicated by the medical history,
23   such as a specific risk for cancer or a patient’s description of current symptoms of a
24   sexually-transmitted disease or significant sexual activity. In disregard of the standard
25       4
         Committee Opinion, Heath Care for Lesbians and Bisexual Women, No. 525
26   (May 2012), https://www.acog.org/Clinical-Guidance-and-Publications/Committee-
     Opinions/Committee-on-Health-Care-for-Underserved-Women/Health-Care-for-
27   Lesbians-and-Bisexual-Women.
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 1   of care, Tyndall conducted medically unnecessary pelvic exams on thousands of
 2   female patients under the age of 21.
 3               66.   Internal pelvic exams are not necessary before a patient seeks birth
 4   control. Studies do not support the need for an internal pelvic examination before
 5   initiating oral contraceptives in otherwise healthy, asymptomatic individuals or as a
 6   screening examination for sexually transmitted infections. Thus, unless a patient who
 7   expressly requests birth control is symptomatic, a pelvic examination is not necessary.
 8   Tyndall’s normal practice was to force birth control prescriptions on women who did
 9   not request them and/or declined them as a pretext for to conduct pelvic examinations,
10   even when the patients were asymptomatic.
11               67.   Informed consent is required. The decision to perform an internal pelvic
12   examination, breast examination, or both should be made by the physician and the
13   patient after shared communication and decision making. Tyndall’s normal practice
14   was to order patients to undress, without explaining the particular need for a pelvic or
15   breast examination to the patient. Tyndall regularly failed to obtain or even request
16   informed consent.
17               68.   During an examination, patients should be draped except for the area
18   being examined. Patients should never be required to lie or stand in an exam room
19   while completely naked. Exams normally need not last any longer than a few minutes.
20   Any communication with the patient during an exam should be confined to gathering
21   medically relevant information. Tyndall’s normal procedure violated these standards
22   as he almost always failed to drape patients, exposing them instead to prolonged
23   examination.
24               69.   Presence of chaperones. In addition, chaperones are often present as a
25   precautionary measure for pelvic examinations. Tyndall’s regular practice was to not
26   have chaperones in the room, and he frequently resisted patients’ requests that a
27   chaperone be present.
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 1               70.   Digital penetration to “loosen” the vagina at the outset of a pelvic
 2   examination is not normal procedure. In a normal pelvic examination, the vagina is
 3   first inspected using a speculum of appropriate size, lubricated with warm water or a
 4   water soluble lubricant. Atraumatic insertion is aided by assisting muscle relaxation at
 5   the opening of the vagina. This may be accomplished by advising the patient to relax
 6   her legs to the sides and also by inserting a finger into the distal vagina and gently
 7   applying downward pressure while inserting the speculum. It is not normal practice to
 8   digitally penetrate prior to inserting the speculum disassociated from the time when
 9   the speculum is inserted. It is also not normal practice to move fingers in and out of
10   the vagina, or to make comments while doing so. Full digital penetration is not
11   normal procedure. Where used to guide the speculum, digital contact would last no
12   more than a few seconds.5 Tyndall’s regular practice was to digitally penetrate the
13   patient’s vagina with one or two fingers at the outset of the physical examination,
14   using his fingers to make sexual movements, including, but not limited to, prolonged
15   pumping in and out and/or trying to touch the patient’s “G-spot” or otherwise
16   attempting to sexually stimulate the patient. Tyndall’s regular practice of digitally
17   penetrating patients was disconnected from his use of a speculum, and was not
18   medically justified.
19               71.   Pelvic exams should be performed once a year at the most, absent a
20   specific medical issue. Performing bimonthly or quarterly exams is not standard—,and
21   is a sign that a doctor is preying on the patient. Tyndall frequently required patients to
22   return at two- to three-month intervals to obtain refills for their oral contraceptive
23   prescriptions as a pretext to allow him to conduct additional pelvic exams.
24               72.   Hygiene is important. Examination rooms should be hygienic and free of
25   trash and food. Doctors should wash their hands before touching patients, and they
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27       5
             See id.
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 1   should wear gloves during pelvic and breast exams. Tyndall regularly failed to wash
 2   his hands or wear gloves while digitally penetrating the patients. Moreover, he did not
 3   maintain a hygienic appearance, exam room, or office.
 4               73.   Diagnoses and records. All diagnoses should follow proper testing, and
 5   recommended treatments and medications should be in accordance with standard, up-
 6   to-date methods and research. All information from a patient’s history and exam
 7   should be accurately recorded. Tyndall regularly failed to conduct proper testing,
 8   provide appropriate advice, prescribe appropriate medications after informed consent,
 9   or accurately document the patient’s history and exam.
10   B.          Students (and their parents) entrusted their medical care to USC.
11               74.   Experts believe health is an important factor for academic achievement in
12   higher education.6 “Health complaints limit students’ capacity to perform adequately
13   at university.”7 Thus, a university’s promotion of health and well-being of its students
14   promotes effective learning.8
15               75.   To that end, USC touts the services of its student health center to its
16   students. It regularly runs workshops designed to build the trust of students, such as a
17   series of “Feel Better Workshops” entitled “Relationships and Connection,”
18   “Addressing Academic Anxiety,” “Stress Management,” and “Calm Your Anxiety.”9
19

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          6
23        Walid El Ansari & Christiane Stock, Is the Health and Wellbeing of University
     Students Associated with their Academic Performance? 7 INT’L J. ENVTL. RES. PUB.
24   HEALTH 509, 509–527 (2010) (citations omitted).
        7
25        Id.
        8
26        Id.
        9
          USC Student Health, Upcoming Events, https://engemannshc.usc.edu/events/ (last
27   accessed May 19, 2018).
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 1               76.   All women are encouraged to start seeing a gynecologist once a year
 2   when they turn 18 years old.10 Because many women first enroll as college students
 3   when they are 17 or 18 years old, many of the women who are examined at USC’s
 4   student health center have never had a gynecological examination before.11
 5               77.   The primary care team at USC’s student health center “is available for
 6   contraception counseling, well-women visits, pap smears, STI testing, and other
 7   concerns women may have.”12
 8               78.   USC’s invitation to its female students to discuss concerns about their
 9   health presumes a relationship of trust.
10               79.   Trust is essential to both physician and patient.13 “Without trust, how
11   could a physician expect patients to reveal the full extent of their medically relevant
12   history, expose themselves to the physical exam, or act on recommendations for tests
13   or treatments?”14
14               80.   “Presumed consent is a critical manifestation of trust that makes possible
15   much of routine doctor visits.”15 Absent a presumption of trust, patients might avoid
16   essential medical care.16
17

18       10
           4CollegeWomen, The First Gynecological Exam,
     http://www.4collegewomen.org/fact-sheets/firstgyno.html (last accessed May 21,
19
     2018).
20      11
           Harriet Ryan, et al., A USC doctor was accused of bad behavior with young
     women for years. The university let him continue treating students, L.A. TIMES (May
21
     16, 2018), https://www.latimes.com/local/california/la-me-usc-doctor-misconduct-
22   complaints-20180515-story.html.
        12
           Eric Cohen Student Health Center of USC, Women’s Health,
23
     https://ecohenshc.usc.edu/medical/womens-health/ (last accessed July 13, 2018).
24      13
           Dorr Goold, supra note 1.
        14
25         Id.
        15
26         Id., citing Ruth Faden & Tom Beauchamp, A HISTORY AND THEORY OF
     INFORMED CONSENT 274–80 (Oxford Univ. Press 1986).
27      16
           Id.
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 1               81.   “Important as it is to measure trust in individual clinicians and the actions
 2   and circumstances that affect it, it is equally important, in today’s health system, to
 3   study (empirically and normatively) trust and trustworthiness in organizations and
 4   institutions.”17
 5               82.   Knowing female students would place their trust in its physicians, USC
 6   had a duty to ensure that Tyndall used his trusted position and the safe confines of a
 7   doctor’s exam room at the USC student health center consistent with the standard of
 8   care and certainly not to abuse that trust through the molestation of students.
 9   C.          Tyndall’s and USC’s abuse of trust and violation of the standard of care.
10               83.   USC hired Tyndall in 1989 after his residency. For nearly 30 years,
11   Tyndall was the USC student health clinic’s only full-time gynecologist.
12               84.   According to an internal report prepared by USC, Tyndall used his
13   position of trust to forego the standard of care.
14               85.   In the years after Tyndall started working at USC, some chaperones
15   reportedly became alarmed about the frequency with which he used a camera during
16   pelvic exams.18 Tyndall’s chaperones questioned his motivations, with one reporting
17   that Tyndall took multiple pictures of hundreds of patients’ genitals, while another
18   said she witnessed 50 to 100 patients being photographed.19
19               86.   According to the Los Angeles Times, Bernadette Kosterlitzky, a USC
20   clinic nurse from 1992 to 2013, said that after a chaperone alerted administrators to
21   Tyndall’s use of a camera, then-Executive Director Dr. Lawrence Neinstein ordered
22   the camera removed.20
23

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          17
             Id.
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          18
             Id.
26        19
             Id.
27        20
             Id.
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 1               87.   In fact, a member of the USC student health center’s oversight committee
 2   purportedly admitted that: (i) in the early 2000’s, several students submitted letters
 3   concerning inappropriate touching and remarks by Tyndall; and (ii) those complaint
 4   letters were read aloud during monthly committee meetings.21 One member of the
 5   committee confronted Tyndall, and that confrontation is allegedly contained in
 6   university records that corroborate the committee member’s account.22
 7               88.   After USC opened the Engemann Student Health Center in or about 2013,
 8   chaperones continued to express concern regarding Tyndall’s treatment of female
 9   patients.
10               89.   Chaperones were concerned about “full body scans,” where “Tyndall
11   frequently had women lie naked on the exam table while he slowly inspected every
12   part of their body, down to the area between their buttocks.”23 While a woman’s
13   annual gynecological visit might include a discussion of skin problems, such
14   “meticulous” inspections of a patient’s naked body “would be highly unusual if not
15   inappropriate.”24
16               90.   While Tyndall conducted examinations, he made comments that the
17   nursing staff found “unseemly,” describing patients’ skin as “flawless,” “creamy” or
18   “beautiful.” He told students they had “perky breasts.”25
19               91.   In the spring of 2013, eight chaperones reported concerns about Tyndall
20   to their supervisor, veteran nurse Cindy Gilbert. Gilbert went to Neinstein, the clinic’s
21   executive director, and Tammie Akiyoshi, the then-head of clinic nursing and now the
22

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         21
24          Id.
         22
            Id.
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         23
            Id.
26       24
            Id.
27       25
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 1   clinic’s executive director. Gilbert said Neinstein told her that he had talked to Tyndall
 2   about his behavior in the past.26
 3               92.   Neinstein reportedly referred the complaints to USC’s Office of Equity
 4   and Diversity, which investigates sexual misconduct and racial and gender
 5   discrimination. USC has stated that an investigator interviewed seven employees and a
 6   patient. Gilbert and multiple chaperones who complained said they were never
 7   informed of the probe or questioned by the investigator, however.27
 8               93.   The investigation apparently concluded there was no violation of USC
 9   policy. The only action that Neinstein took was to bar Tyndall from locking the door
10   of his office when patients were present.28
11               94.   Tyndall continued to subject patients, particularly of Chinese and other
12   Asian backgrounds to various types of sexual abuse and racially-oriented
13   commentary.29
14               95.   In his office, Tyndall had a map of China and encouraged women to point
15   out their home province. He kept a bamboo plant, the traditional Chinese symbol of
16   longevity and vitality, on a shelf above his desk. He sometimes showed off a photo of
17   his Filipina wife and shared details of their relationship.30
18               96.   Tyndall also took steps to require patients to return for appointments
19   more frequently than medically necessary. For example, while most physicians will
20   prescribe one year’s worth of oral contraceptive pill refills, Tyndall would only
21

22

23
         26
24          Id.
         27
            Id.
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         28
            Id.
26       29
            Id.
27       30
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 1   prescribe two months. He would not extend the prescription until the patients returned
 2   for another examination.31
 3               97.   However, as Tyndall’s efforts to cross the boundaries of proper medical
 4   care increased, so did the chaperones’ concerns.
 5               98.   Throughout Tyndall’s tenure at USC, chaperones discussed with each
 6   other the way Tyndall used his fingers at the outset of the pelvic exam for many young
 7   women. Before inserting a speculum, the metal duck-billed device that spreads open
 8   the walls of the vagina and enables the doctor to view the cervix, Tyndall would voice
 9   concern that the speculum might not fit.32
10               99.   The Los Angeles Times reported:
11                     “He would put one finger in and say, ‘Oh, I think it will fit.
12
                       Let’s put two fingers in,’” said a chaperone who worked
                       with Tyndall for years. Four people familiar with Tyndall’s
13                     exams said that while he spoke, he was moving his fingers in
14
                       and out of the patients.

15                     They said he made nearly identical statements to hundreds of
                       women as he probed them: My, what a tight muscle you
16
                       have. You must be a runner.
17
                       The chaperone who worked with Tyndall for years said she
18                     witnessed at least 70 such exams and remembered thinking
19                     the physician would eventually become embarrassed about
                       repeating the same words to student after student.
20
                       “He never was,” she said.
21

22                     During some exams, Tyndall made explicit reference to
                       sexual intercourse while his fingers were inside patients,
23                     according to five people who heard the remarks or were told
24                     about them.

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26       31
            Id.
27       32
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 1                     “He would tell young ladies their hymens are intact. ‘Don’t
 2
                       worry about it, your boyfriend’s gonna love it,’” a chaperone
                       recalled.[33]
 3
                 100. The chief of Female Pelvic Medicine and Reconstructive Surgery at
 4
     University Hospitals Cleveland Medical Center, Dr. Sangeeta Mahajan, has stated that
 5
     she has never heard of a gynecologist moving his fingers in and out of a vagina to
 6
     determine whether a speculum fit, calling it “very odd” and “creepy.”34 An assistant
 7
     professor of gynecology at Harvard Medical School, Dr. Louise King, noted that this
 8
     practice was not standard.35
 9
                 101. Cate Guggino, a women’s health nurse practitioner who was a patient of
10
     Tyndall’s 16 years ago, wrote: When I recall the events of that exam through my
11
     trained eyes, I’m left with a sad, sinking feeling in my gut. I know far more about
12
     female genital anatomy now. And because bodies have the ability to remember pain
13
     even years after it occurred, I also know where I felt pain that day. It was not near the
14
     location of my hymen, it was deeper than that, on the anterior vaginal wall—an area
15
     commonly known as the G spot. Palpation of the G spot in a completely asymptomatic
16
     woman is not part of a normal pelvic exam, not even a very thorough normal pelvic
17
     exam. … What happened in my case -- and I can only speculate happened in so many
18
     other cases like mine -- was not normal and was not acceptable.”36
19
     D.          Patients complained about Tyndall’s behavior to USC and refused to be
20               scheduled with him again.
21               102. Throughout Tyndall’s employment at USC, beginning in the early 1990s,
22   patients and USC medical staff regularly commented on Tyndall’s odd and
23

24        33
           Id.
        34
25         Id.
        35
26         Id.
        36
           http://www.latimes.com/opinion/op-ed/la-oe-usc-gynecologist-20180523-
27   story.html.
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 1   inappropriate behavior and unauthorized physical contact with female patients.
 2   Despite these observations and frequent complaints about Tyndall’s behavior, USC
 3   failed to take any action to remove Tyndall from its staff because USC personnel
 4   lacked appropriate training and supervision to identify and act upon the complaints
 5   concerning Tyndall’s behavior, and USC had failed to implement reasonable
 6   administrative procedures required to properly respond to improper sexual and racially
 7   tinged actions and commentary on the part of USC medical staff members.
 8               One nurse said that in 2013-2014, she spoke to at least five women who refused
 9   to be scheduled with Tyndall despite having gynecological problems that needed
10   immediate attention. The patients reported feeling like “he was inappropriately
11   touching them, that it didn’t feel like a normal exam,” and “like they were violated.”
12   The nurse told her immediate supervisor and later Akiyoshi, the head of nursing, who
13   said they would look into it.37
14               103. During the 2013-2016 period, one clinician received unsolicited
15   complaints from at least three students who refused to see Tyndall again. The clinician
16   gave the students the email addresses for administrators and encouraged them to put
17   their complaints in writing.38
18               104. Having already felt uncomfortable about how Tyndall violated her with
19   his hand during a gynecological exam before the speculum was inserted, one student
20   was told on her second visit that Tyndall wanted her to remove all her clothes. After
21   waiting for Tyndall while she was completely naked, she got dressed, after asking
22   herself why she had needed to take off all her clothes. She told a female clinic
23   employee she wanted to see another doctor. That employee told the student “there
24   were a lot of complaints” about Tyndall.39
25
         37
            Ryan, et al., supra note 7.
26       38
            Id.
27       39
            Id.
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 1               105. Chaperones reported the names of women “who seemed particularly
 2   shaken” by Tyndall’s exams to their supervisor, nurse Gilbert. Gilbert allegedly
 3   contacted patients and explained how to make a written complaint against the doctor.
 4   Some did, but others responded they just wanted to find another gynecologist and
 5   forget about the experience.40
 6               106. Gilbert stated that she repeatedly expressed concerns about Tyndall to
 7   Akiyoshi, Neinstein, and other clinic administrators from 2014 to 2016, but they
 8   seemed uninterested.41
 9               107. Chaperones forwarded some complaints about Tyndall to Sandra
10   Villafan, who became the USC clinic’s head of quality and safety in 2013. Villafan
11   has stated that she relayed any concerns to clinic administrators and USC leadership,
12   but was not privy to the outcomes of any investigations.42
13               108. Finally, in 2016, Gilbert went to USC’s rape crisis center, known as
14   Relationship and Sexual Violence Prevention and Services, and spoke to Executive
15   Director Ekta Kumar. That complaint (and the discovery of a box of film of women’s
16   genitalia in Tyndall’s office) finally prompted the investigation that led to Tyndall’s
17   removal.43
18   E.          USC admits it was on notice of Tyndall’s violation of female students.
19               109. On May 15, 2018, USC issued a press release titled “Summary of
20   Coordinated Investigation of Student Health Physician” (“Statement”) from Todd R.
21   Dickey, Senior Vice President for Administration, Gretchen Dahlinger Means, Title
22

23

24
          40
             Id.
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          41
             Id.
26        42
             Id.
27        43
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 1   IX Coordinator and Executive Director of the Office of Equity and Diversity, and
 2   Laura LaCorte, Associate Senior Vice President for Compliance.44
 3               110. The Statement admitted that, in June 2016, USC’s Office of Equity and
 4   Diversity (“OED”) received a complaint from a staff member at the USC student
 5   health center regarding sexually inappropriate comments made to patients by Tyndall
 6   in front of medical assistants.45
 7               111. As a result of the Statement, USC stated, it conducted an investigation.
 8   USC reported that medical assistants who assisted Dr. Tyndall during clinic visits
 9   reported concerns about the way he conducted pelvic examinations. Specifically, these
10   medical assistants questioned Tyndall’s practice of a digital insertion prior to insertion
11   of a speculum.46
12               112. USC purportedly consulted with a gynecology expert who stated that this
13   could be considered an acceptable practice, but then contracted with an outside
14   medical review firm, MD Review, to review Dr. Tyndall’s clinical practice. MD
15   Review concluded that this examination practice was not the standard of care.47
16               113. USC stated that, during its investigation, a box of clinical photos of
17   cervixes and surrounding internal tissue, allegedly from 1990-1991, was found during
18   a search of Tyndall’s office.48
19               114. USC reported that it also reviewed the files of Dr. Larry Neinstein, the
20   former health center director from 1995-2014 (who is now deceased), which showed
21   earlier patient complaints about Tyndall, including complaints about his clinical
22
         44
           Todd R. Dickey, et al., USC, Summary of Coordinated Investigation of Student
23
     Health Physician (May 15, 2018), https://pressroom.usc.edu/files/2018/05/Summary-
24   fact-sheet_5.15.18.pdf.
        45
           See id.
25
        46
           See id.
26      47
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 1   practice. The files contained eight complaints lodged between 2000 and 2014 that
 2   were concerning. The complaints reported that Tyndall had made racially insensitive
 3   and other inappropriate comments, reported concerns that he was not adequately
 4   sensitive to patient privacy, and included complaints of feeling “uncomfortable,” that
 5   Tyndall “gave me the skeevies,” and that he was “unprofessional.”49
 6               115. USC admitted that these complaints provided sufficient basis to terminate
 7   Tyndall and should have been elevated for “proper investigation.”
 8               116. Dr. Neinstein’s notes also purportedly indicated that he brought in outside
 9   experts to review USC’s clinical practices, although the Statement does not identify
10   those experts nor the results of those engagements.50
11               117. USC stated that OED had previously conducted a review in 2013 of
12   complaints of inappropriate comments made by Tyndall and raised by staff members,
13   but that there was insufficient evidence to find a violation of USC policy.51
14               118. USC was silent on its failure to report Tyndall to criminal authorities, the
15   attorney general, or anyone outside the university for the purposes of conducting an
16   independent investigation.52
17               119. USC concluded its 2016 investigation, finding that “Tyndall had violated
18   the university’s policy on harassment by making repeated racially discriminatory and
19   sexually inappropriate remarks during patient encounters.” The Statement was silent
20   as to any conclusions concerning sexual assault, violation, or molestation.53
21               120. Ultimately, in 2017, USC began termination proceedings against Tyndall.
22   But USC did not contact law enforcement, the California attorney general, or the state
23
         49
24          See id.
         50
            See id.
25
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            See id.
26       52
            See id.
27       53
            See id.
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 1   medical licensing board.54 USC made no effort to inform Tyndall’s patients of its
 2   conclusions regarding Tyndall’s behavior.55 Because Tyndall threatened a wrongful
 3   termination lawsuit against USC, USC entered into a separation agreement with
 4   Tyndall under which he was allowed to resign with one year’s pay.56 USC entered
 5   into this agreement with the intent and effect of continuing to conceal Tyndall’s
 6   misconduct from Plaintiffs, the university community, and the public.
 7               121. USC states that, once Tyndall sent a letter to USC asking to return to his
 8   position at the student health center in 2018, USC finally made a report to the
 9   California Medical Board on March 9, 2018. According to USC, this was the first
10   report to authorities it had made despite being on notice of Tyndall’s behavior for
11   decades.57
12               122. USC has had a systemic problem with properly handling sexual
13   harassment and sexual abuse allegations, contrary to its federal mandates under Title
14   IX. In 2013, the United States Department of Education opened an investigation into
15   how USC responded to reports of on-campus rapes. During this investigation, more
16   than 100 USC students came forward to describe USC’s “gross mishandling” of rape
17   cases. In 1992, a USC-commissioned panel of experts found that the university’s
18   response to sexual assault complaints “leaves victims feeling unsupported” and
19   stripped of important rights.
20               123. In a pair of May 15, 2018, statements, high-ranking USC officials
21   acknowledged Tyndall’s decades-long pattern of abuse and USC’s failure to
22   adequately respond to the reported misconduct and protect its students.
23

24
         54
            See id.
25
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            Ryan, et al., supra note 7.
26       56
            See Statement, supra note 40.
27       57
            See id.
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 1               124. First, in a public letter to the USC community, then-president C.L. Max
 2   Nikias addressed the “deeply troubling” events surrounding Tyndall. According to
 3   Nikias, “the manner in which Dr. Tyndall performed physical exams did not meet
 4   current practice standards” and “he made inappropriate remarks to patients, in some
 5   cases during the examination process. Some of these comments were racially
 6   discriminatory and sexually inappropriate in nature.”
 7               125. Nikias acknowledged that “there had been complaints about Dr. Tyndall
 8   in prior years” and that “we have no doubt that Dr. Tyndall’s behavior was completely
 9   unacceptable. It was clear violation of our Principles of Community, and a shameful
10   betrayal of our values.”
11               126. Nikias advised that USC was implementing structural changes to improve
12   its complaint handing and investigation processes. He apologized to “any student who
13   may have visited the student health center and did not receive the respectful care each
14   individual deserves.”
15               127. Second, USC’s Chief Health Officer, Sarah Van Orman, stated in a public
16   letter to USC’s students that she was “deeply troubled” by the events surrounding
17   Tyndall and referencing “significant changes” that had “professionalized [USC’s]
18   care.” Van Orman reassured students that she is personally responsible for
19   “[g]overnance and oversight of these practitioners and all care delivered at student
20   health centers[,]” which “ensures responsible and transparent health care services.”
21               128. Van Orman emphasized new, “extensive training on staffing and
22   complaint reporting . . . to ensure that when concerning behavior and actions are
23   noticed, they are quickly reported and addressed.” She further stated that “[w]e plan
24   to strengthen our . . . mechanisms for reporting concerns.”
25               129. On May 18, 2018, Nikias said in another public statement that Tyndall’s
26   “behavior distresses us deeply. He should have been removed and referred to the
27   authorities years ago.”
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 1               130.   “[H]ow could this behavior have gone on for so long?” Nikias continued.
 2   “Once again, I want to personally apologize to any student who visited our student
 3   health center and was made to feel uncomfortable . . . . You deserved better, and we
 4   let you down.”
 5               131. Nikias resigned as president on May 25, 2018. In an accompanying
 6   statement, USC’s Board of Trustees wrote that “something is broken” in regard to
 7   USC’s response to Tyndall’s predatory treatment of the women under its care.
 8   F.          Dr. Tyndall and USC violated the standard of care.
 9               132. Non-exhaustive examples of the many ways Dr. Tyndall violated
10   standard procedures—as witnessed and known by the USC Defendants—are as
11   follows:
12                  Failing to seek or obtain informed consent to invasive procedures;
13
                    Asking patients unnecessarily personal questions about sexual activities;
14
                    Giving unsolicited advice about sex;
15

16
                    Performing unnecessary pelvic exams;

17                  Performing pelvic examinations without any chaperone present;
18                  Performing pelvic exams improperly;
19
                    Making inappropriate sexual comments during pelvic examinations;
20
                    Touching patients inappropriately and in a sexual manner during medical
21
                     examinations and/or procedures;
22
                    Simulating sexual positions;
23
                    Offering unsolicited descriptions of sexual escapades or sexual positions;
24

25                  Failing to perform proper testing;
26                  Failing to provide proper treatment recommendations;
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 1                   Prescribing birth control without discussing potential side effects and
 2                    other options;

 3                   Unnecessarily requiring medical examinations as a condition for
                      obtaining birth control and birth control refills;
 4

 5                   Performing unnecessarily long breast exams or touching of the breasts
                      without explanation;
 6

 7                   Having student-interns deliver test results;

 8                   Having patients undress fully for pelvic examinations and/or procedures;
 9                   Not leaving the room while patients dressed and undressed;
10
                     Putting false information in patients’ medical records;
11
                     Making inappropriate comments during medical appointments;
12

13                   Disclosing sensitive medical information about other students, including
                      information about other students’ sexual activity, during medical
14                    appointments;
15
                     Touching and examining patients’ breasts in a sexual manner;
16
                     Performing prolonged pelvic examinations and/or procedures for his
17
                      sexual pleasure rather than for clinical purposes.
18
     G.          Plaintiffs were abused by Dr. Tyndall, who flagrantly violated the standard
19               of care, with the knowledge of USC.
20   1.          Jane Doe R.B. (1990)
21               133.   In 1990, Jane Doe R.B. was a junior at USC. At the time, Jane Doe R.B.
22   was an avid runner, running 12-15 miles per day.
23               134. During or about January to May 1990, Jane Doe R.B. called the student
24   health center to make an appointment because, based on the best of her recollection,
25   she needed a refill of her birth control prescription. She tried to get an appointment
26   with a female practitioner, but was advised that Dr. Tyndall was the only practitioner
27   available.
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 1               135. At her appointment with Dr. Tyndall, a nurse or chaperone was present in
 2   the room for her examination.
 3               136. Dr. Tyndall advised Jane Doe R.B. that he was going to do a pap smear.
 4   Before doing so, however, he used his fingers to penetrate her. No other doctor had
 5   digitally penetrated her before inserting a speculum, so it surprised Jane Doe R.B. and
 6   made her very uncomfortable. However, Jane Doe R.B. questioned her own
 7   discomfort given that a nurse was present.
 8               137. Dr. Tyndall then commented, while penetrating her with his fingers, “you
 9   are so tight from all that running.” Jane Doe R.B. found Dr. Tyndall’s comment
10   extremely inappropriate and disturbing.
11               138. Distressed by what had occurred, Jane Doe R.B. told her friend about Dr.
12   Tyndall’s comment. Her friend, then a senior at USC, responded: “I told you not to go
13   to him.”
14               139. Since that time and as a result of the distress Dr. Tyndall (and USC)
15   caused, Jane Doe R.B. has always seen female physicians for her gynecological needs.
16               139. On or about May 15, 2018, Jane Doe R.B. read the articles that disclosed
17   Tyndall’s wrongdoing. Jane Doe R.B. became extremely upset and angry that USC let
18   Tyndall violate her and others over such a long period of time.
19               140. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
20   unnecessary pelvic exam; (2) making inappropriate comments during the pelvic exam;
21   and (3) unnecessary digital penetration prior to inserting the speculum.
22               141. Jane Doe R.B. has thus been damaged by Dr. Tyndall’s and USC’s
23   actions.
24   2.          Jane Doe A.T. (1991-1992)
25               142. Jane Doe A.T. was an undergraduate accounting student at USC from
26   1991-1995. She saw Dr. Tyndall for a pap smear and pelvic exam in or about 1991 or
27   1992.
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 1               143. Dr. Tyndall examined Jane Doe A.T. without a chaperone in the room.
 2   Because of her age and relative inexperience, Jane Doe A.T. did not know to ask for
 3   one. As the appointment began, Jane Doe A.T. felt very alone—it did not seem like
 4   there were many people around or within earshot.
 5               144. Dr. Tyndall told Jane Doe A.T. to get undressed and put on an
 6   examination gown. He did not leave the room while she undressed.
 7               145. As Jane Doe A.T. lay on the examination table, naked but for the gown
 8   and with her legs spread, Dr. Tyndall commented that she was very beautiful and her
 9   vagina was attractive.
10               146. Dr. Tyndall examined Jane Doe A.T. with his fingers. As he was touching
11   her, he asked her if she would like him to show her G-spot. She immediately said
12   “no.” She felt frightened, trapped, and violated. There was no one else in the
13   examination room with Dr. Tyndall, and she felt as though Dr. Tyndall was trying to
14   communicate that he had power over her body; that he was in control and he knew
15   something she did not. Jane Doe A.T. desperately wanted to leave.
16               147. Jane Doe A.T. is Vietnamese and Chinese-American. She was raised to
17   never question her elders or authority figures, especially physicians. She also feels that
18   her culture associates great shame with sexual abuse and molestation such that
19   speaking up as a victim could bring shame on one’s family.
20               148. Jane Doe A.T. feels that her cultural background made her an easy target
21   for Dr. Tyndall, and she is outraged and distressed that he abused many Asian women
22   in the decades following her appointment.
23               149. The experience with Dr. Tyndall had lasting effects on Jane Doe A.T.
24   Although all doctors since then have treated her with respect and professionalism, she
25   continues to have an aversion to seeing any gynecologist. In addition, Dr. Tyndall
26   made Jane Doe A.T. feel belittled and sexualized. As a result, she had a negative
27   relationship with her own body and sexuality for many years.
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 1               150. Dr. Tyndall violated the standard of care by, inter alia: (1) remaining in
 2   the room while Jane Doe A.T. undressed; (2) performing a pelvic exam without a
 3   chaperone in the room; (3) offering to perform a sexual act; and (4) making
 4   inappropriate sexual comments during the pelvic exam.
 5               151. Jane Doe A.T. has thus been damaged by Dr. Tyndall’s and USC’s
 6   actions.
 7   3.          Jane Doe J.L. (1991-1993)
 8               152. Jane Doe J.L. attended USC from 1988-1993. She saw Dr. Tyndall for an
 9   examination in or about 1992 or 1993 due to a concern of a possible vaginal yeast
10   infection.
11               153. Dr. Tyndall examined Jane Doe J.L. without a chaperone in the room.
12   Jane Doe J.L. was wearing a skirt/dress that day; Dr. Tyndall told her to remove her
13   underpants for the examination. Dr. Tyndall did not ask Jane Doe J.L. to undress for
14   the examination, nor did he provide her with an examination gown.
15               154. Dr. Tyndall examined Jane Doe J.L. with his fingers. As he was touching
16   her, Dr. Tyndall asked if she had another female student perform oral sex on her. Jane
17   Doe J.L. immediately said “no” and asked “why?” In response, Dr. Tyndall told her
18   that if a girl had been licking her vagina, it may have caused her yeast infection. Jane
19   Doe J.L. explained to Dr. Tyndall that she was heterosexual. Dr. Tyndall described for
20   Jane Doe J.L. in detail how females perform oral sex on one another and asked if she
21   was sure she had never done anything like that before.
22               155. Jane Doe J.L. was very uncomfortable by the tone and subject matter of
23   the conversation. She sat up after he was done touching her and quickly left the
24   examination room.
25               156. After the appointment, Jane Doe J.L. told her cousin she had a bad
26   experience with Dr. Tyndall and that she was never going back to him again.
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 1               157. When Jane Doe J.L. heard about the accounts of other women in his care,
 2   she realized that she had been the victim, not of an isolated occurrence, but rather of a
 3   series of abuses. The distress she felt at the time of her examination came flooding
 4   back to her. She continues to be upset and feels betrayed that USC allowed this to
 5   happen to her and so many other women.
 6               158. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
 7   unnecessary pelvic exam without a chaperone present; (2) remaining in the room
 8   while Jane Doe J.L. undressed; (3) making inappropriate sexual comments and
 9   describing sexual acts unsolicited during the pelvic exam; (4) failing to perform proper
10   testing to determine if Jane Doe J.L. had a vaginal yeast infection; and (5) failing to
11   provide proper treatment recommendations.
12               159. Jane Doe J.L. has thus been damaged by Dr. Tyndall’s and USC’s
13   actions.
14   4.          Jane Doe M.S. (1992)
15               160. In 1992, Jane Doe M.S. made an appointment at the student health center
16   for an annual exam. She was 22 or 23 at the time and a graduate student in USC’s
17   School of Cinema-Television.
18               161. Dr. Tyndall performed a pelvic exam as part of Jane Doe M.S.’s
19   appointment. As he was looking at Jane Doe M.S.’s vagina, he mentioned that he saw
20   something on her cervix that indicated she might have cervical cancer.
21               162. Dr. Tyndall then told Jane Doe M.S. that he had a new method of visually
22   diagnosing cervical cancer using iodine and a camera. Jane Doe M.S. agreed because
23   she was afraid for her health and did not know that Dr. Tyndall’s methods were
24   improper.
25               163. Dr. Tyndall then asked Jane Doe M.S. to spread her legs on the exam
26   table. He painted her vagina with a red substance and asked her to use her fingers to
27   spread open her labia. He then took photos of her. At the time, Jane Doe M.S. felt very
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 1   uncomfortable—both because of the red substance and because she could not tell
 2   whether Dr. Tyndall was photographing her genitalia only, or the rest of her face and
 3   body with her legs spread.
 4               164. Dr. Tyndall delivered the “results” of her test—which were negative—
 5   some weeks later.
 6               165. After her initial appointment, Jane Doe M.S. started going to Planned
 7   Parenthood for gynecological care instead of USC, because Dr. Tyndall gave her an
 8   uneasy feeling. After some years of going to Planned Parenthood, she began to realize
 9   that the iodine “test” was not normal. At that point, she confided in a friend about her
10   appointment with Dr. Tyndall.
11               166. Dr. Tyndall violated the standard of care by, inter alia: (1) telling Jane
12   Doe M.S. that he could visually diagnose cervical cancer; (2) painting her vagina with
13   iodine; (3) photographing Jane Doe M.S.; and (4) delivering results of an improper
14   “test,” as if they were conclusive as to whether Jane Doe M.S. had cervical cancer.
15               167. Jane Doe M.S. is distressed and disappointed that USC has been
16   subjecting more women to Dr. Tyndall’s abusive behavior and substandard medical
17   care in the decades since she was a student. She has thus been damaged by USC’s and
18   Dr. Tyndall’s actions.
19   5.          Shannon O’Conner (1993)
20               168. Shannon O’Conner was an undergraduate student at USC in the early
21   1990s, and was enrolled in a USC student health plan. In or around the spring of 1993,
22   she made an appointment at the USC student health center.
23               169. When Ms. O’Conner arrived at the clinic, she was taken to an exam room
24   and told to take off all of her clothes and put on a gown. Tyndall soon came into the
25   room, and told her to lie down and place her legs in elevated stirrups. He told her to
26   spread her legs, which she did. He immediately began thrusting his fingers inside her
27   vagina and moving them in and out rapidly. She reacted by pulling her hips back, but
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 1   Tyndall grabbed her hip with one hand and forcibly pressed it down to the exam table
 2   while continuing the in-and-out motion with the fingers from his other hand.
 3               170. Tyndall then asked Ms. O’Conner if she had a boyfriend. She responded
 4   that she did. Tyndall then said that Ms. O’Conner’s boyfriend must love her vagina.
 5               171. During this conversation, Tyndall was moving his ungloved fingers in
 6   and out of Ms. O’Conner’s vagina, hooking them upward in an attempt to arouse her.
 7               172. Ms. O’Conner panicked and said that her mother had told her a female
 8   nurse needed to be in the room. Tyndall replied that there was no need for a nurse, but
 9   Ms. O’Conner insisted. Tyndall stood up, walked to the door, and called for a nurse. A
10   woman wearing medical scrubs and a dark green cardigan sweater came into the room.
11               173. Tyndall said, “Okay, now you’ve got a nurse in the room,” and sat back
12   down on his stool. The nurse seated herself in a chair and read a paperback while
13   Tyndall continued the examination.
14               174. Tyndall pulled Ms. O’Conner’s knees apart and placed his fingers back
15   inside of her. She was shaking. He put one of his hands on her hip and held it down.
16   He continued to move his ungloved fingers in and out of her, using two and sometimes
17   three fingers, hooking them upward as if trying to stimulate her sexually.
18               175. After several minutes, Tyndall aggressively inserted a speculum and
19   swabbed Ms. O’Conner’s cervix. He then told her the exam was over and that she
20   could get dressed. He left the room, followed by the woman in the green sweater. Over
21   the course of the appointment, Tyndall never explained what he was doing or why.
22   The woman never said anything to Ms. O’Conner.
23               176. Ms. O’Conner dressed and left the exam room. She approached the
24   female receptionist at the front desk and told her that the doctor had said sexual things
25   to her and that the exam didn’t feel right. The receptionist replied that Ms. O’Conner
26   was a pretty girl and should get used to stuff like that.
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 1               177. Ms. O’Conner never went back to the USC student health center for
 2   another gynecological examination. She attempted to suppress her memory of
 3   Tyndall’s examination, and has avoided being examined by male gynecologists.
 4               178. Because a nurse or medical assistant sat silently in the room as Tyndall
 5   abused her for a second time that day, and because Tyndall was a permanent employee
 6   of USC’s medical facility, Ms. O’Conner reasonably believed at the time that
 7   Tyndall’s examination must have fallen within the bounds of a legitimate medical
 8   treatment, although she now knows that Tyndall’s conduct was sexual abuse.
 9               179. When news of Tyndall’s predatory behavior emerged in May 2018, Ms.
10   O’Conner recognized Tyndall’s face. She realized, for the first time, that Tyndall’s
11   actions were sexual assaults. Her realization that Tyndall’s examination was a sexual
12   assault has caused her to experience harm as alleged below, including severe
13   psychological and emotional distress.
14               180. Dr. Tyndall violated the standard of care by, inter alia: (1) performing a
15   pelvic exam without a chaperone present; (2) making inappropriate sexual comments
16   during the pelvic exam; (3) unnecessary digital penetration prior to inserting the
17   speculum; (4) and failing to advise and inform Ms. O’Conner of the procedures being
18   performed.
19               181. Ms. O’Conner has thus been damaged by Dr. Tyndall’s and USC’s
20   actions.
21   6.          Jane Doe L.K. (1996-1997)
22               182. Jane Doe L.K. studied communications at USC from 1996 to 2000.
23               183. In or about 1996 or 1997, Jane Doe L.K. was examined by Dr. Tyndall at
24   the USC student health center.
25               184. After the exam, and while Jane Doe L.K. was still partially unclothed, Dr.
26   Tyndall began asking her questions about her genital piercing. Dr. Tyndall told Jane
27   Doe L.K. that he was “conducting a study,” and for the study, he needed to know
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 1   whether it had been easier or more difficult for her to orgasm since she received the
 2   genital piercing.
 3               185.   Jane Doe L.K. felt an immediate rush of panic—she did not think that
 4   doctors were supposed to ask questions like that. She felt extremely ashamed and
 5   violated. However, because she did not have much experience with gynecologists, she
 6   did not know for certain that the question was inappropriate. After all, Dr. Tyndall was
 7   an authority figure, so Jane Doe L.K. questioned whether she must be the one in the
 8   wrong for feeling embarrassed.
 9               186. Jane Doe L.K. is outraged that Dr. Tyndall was able to make her feel
10   embarrassed and ashamed through his own misconduct.
11               187. Jane Doe L.K. feels betrayed by USC and angry that it has subjected so
12   many young, vulnerable women to the type of abuse she experienced more than two
13   decades ago.
14               188. Dr. Tyndall violated the standard of care by, inter alia: (1) performing a
15   pelvic exam without a chaperone present; and (2) making inappropriate sexual
16   comments during the exam.
17               189. Jane Doe L.K. has thus been damaged by USC’s and Dr. Tyndall’s
18   actions.
19   7.          Jane Doe 5 (1998)
20               190. Jane Doe 5 studied at USC from 1996-2000.
21               191. Jane Doe 5 paid for student health insurance as part of her tuition.
22               192. In the summer of 1998, Jane Doe 5 made an appointment at the student
23   health center because she wanted to get a prescription for birth control. She had never
24   been to a gynecologist before.
25               193. Jane Doe 5 requested a female gynecologist. She was told that there was
26   no one available except Dr. Tyndall, but not to worry because there would be a female
27   chaperone in the room.
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 1               194. To start their appointment, Dr. Tyndall asked Jane Doe 5 many questions
 2   that she found invasive, including whether she had a boyfriend, how many times she
 3   had had sex, and whether she had sex with multiple partners. They spoke at Dr.
 4   Tyndall’s desk, which was in the examination room.
 5               195. Dr. Tyndall then told Jane Doe 5 to disrobe and put on an examination
 6   gown, but he did not leave the room. Instead, he turned his back while she changed.
 7               196. Before the examination began, a chaperone entered the room. However,
 8   she left the room shortly in to their examination
 9               197. During the exam, Dr. Tyndall digitally penetrated Jane Doe 5 without
10   gloves. At the time, there was still a chaperone in the room.
11               198. After the chaperone left the room, Dr. Tyndall told Jane Doe 5 to sit
12   upright and open her robe for a breast exam. As he was touching her breasts, he
13   looked at them in a sexual manner. Jane Doe 5 was mortified; she did not understand
14   what was happening, and she desperately wanted it to end.
15               199. After that experience, Jane Doe 5 was traumatized. As a result, she did
16   not see a gynecologist for several years.
17               200. Jane Doe 5’s family is from Northern India, and she was raised in a
18   culturally conservative household. She felt deeply ashamed of what happened with Dr.
19   Tyndall, and she did not feel as though she could go to her family for support.
20               201.   Now that Jane Doe 5 is an adult, she understands that Dr. Tyndall’s
21   behavior was deeply inappropriate and violating. She feels deceived by the student
22   health center because they promised her that there would be a chaperone in the room
23   during her appointment, but the chaperone left halfway through. Jane Doe 5 is
24   distressed that USC allowed similar abuse to continue unabated for many years.
25               202. Dr. Tyndall violated the standard of care by, inter alia: (1) digitally
26   penetrating Jane Doe 5 without gloves; (2) leering at Jane Doe 5’s breasts while
27   touching them, while she was sitting upright; (3) not leaving the room while Jane Doe
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 1   5 disrobed; (4) allowing the chaperone to leave the room during Jane Doe 5’s exam,
 2   even though Jane Doe 5 has been promised that a chaperone would be present; and (5)
 3   asking Jane Doe 5 unnecessarily invasive questions about her sexual activities.
 4               203. Jane Doe 5 has thus been damaged by USC’s and Dr. Tyndall’s actions.
 5   8.          Jane Doe M.V. (2000)
 6               204. Jane Doe M.V. saw Dr. Tyndall at USC’s Student Health Center in or
 7   about 2000 due to a concern of a possible urinary tract infection.
 8               205. When Jane Doe M.V. arrived for her appointment, Dr. Tyndall asked her
 9   why she was there, and she told him she thought she might have a urinary tract
10   infection. Dr. Tyndall told Jane Doe M.V. that she would need to have a pelvic exam
11   so he could determine what the cause may be. Jane Doe M.V. had not planned to get
12   an examination done. Based on her experience, she expected Dr. Tyndall to take a
13   urine sample, test it, and then give her a prescription for medication if needed.
14               206. Dr. Tyndall told Jane Doe M.V. to get undressed and lie down on the
15   examination table. There was no chaperone present in the examination room.
16               207. Dr. Tyndall examined Jane Doe M.V. with his fingers. He was not
17   wearing gloves.
18               208. As the examination continued, Dr. Tyndall commented that Jane Doe
19   M.V. had a small hemorrhoid on her bottom and offered to remove the hemorrhoid for
20   her. When Jane Doe M.V. asked Dr. Tyndall why he was recommending hemorrhoid
21   removal when the reasons appeared to be only cosmetic, Dr. Tyndall told her she
22   should have it done in case she wants to be in pornographic films. Jane Doe M.V. was
23   shocked by Dr. Tyndall’s comments. Dr. Tyndall asked Jane Doe M.V. why she was
24   so surprised and told her “lots of young women [her] age do it.”
25               209. Dr. Tyndall’s comments made Jane Doe M.V. extremely upset and
26   uncomfortable. She left the appointment feeling humiliated, demeaned, and violated.
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 1               210. Dr. Tyndall also prescribed Jane Doe M.V. oral contraceptive pills. He
 2   did not explain the numerous options for birth control or the medication’s potential
 3   side effects. She returned a couple of months later after experiencing particularly
 4   horrible side effects including chest pain, hair loss, dizziness, mood swings, and
 5   menstrual pain. Dr. Tyndall gave her different birth control pills again without
 6   discussing their potential side effects or other options. Jane Doe M.V. felt pressured
 7   by Dr. Tyndall to continue taking birth control pills. She again experienced severe side
 8   effects from the birth control pills he prescribed.
 9               211. When Jane Doe M.V. heard about the accounts of other women in Dr.
10   Tyndall’s care, she realized she had been the victim, not of an isolated occurrence, but
11   of a series of abuses. She is upset and feels betrayed that USC allowed this to happen
12   to her and so many other women.
13               212. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
14   unnecessary pelvic exam without a chaperone present; (2) performing the pelvic exam
15   without wearing gloves; (3) making inappropriate sexual comments during the pelvic
16   exam; (4) failing to perform proper testing to determine if Jane Doe M.V. had a
17   urinary tract infection; (5) recommending treatment for her hemorrhoid that was not
18   medically necessary; and (6) prescribing birth control without discussing potential side
19   effects and other options.
20               213. Jane Doe M.V. has thus been damaged by USC’s and Dr. Tyndall’s
21   actions.
22   9.          Jane Doe K.M. (2000-2001)
23               214. Jane Doe K.M. attended USC from 1998 to 2000. She graduated with a
24   B.A. in communications.
25               215. In about 2000 or 2001, Jane Doe K.M. scheduled an appointment with
26   Dr. Tyndall at the USC student health center because her period was more than one
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 1   week late. She took a pregnancy test and underwent pelvic and breast exams and a pap
 2   smear. It was her first visit to a gynecologist.
 3               216. Jane Doe K.M. had not previously undergone a pelvic exam.
 4               217. There was a chaperone in the room during Jane Doe K.M.’s exam. The
 5   chaperone stood with her back to Jane Doe K.M. and Dr. Tyndall throughout the exam
 6   and did not speak.
 7               218. Dr. Tyndall performed a breast exam on Jane Doe K.M. without
 8   explaining the process. He opened the gown exposing both breasts without
 9   notification. He did not tell Jane Doe K.M. that she could perform breast exams on
10   herself at home. It seemed to Jane Doe K.M. as though the breast exam lasted a very
11   long time, making her uncomfortable.
12               219. During the course of the pelvic exam, Dr. Tyndall made numerous jokes
13   about the instruments he was using on Jane Doe K.M. He did this while touching her.
14   At one point, while the speculum was inside of Jane Doe K.M.’s vagina, Dr. Tyndall
15   sarcastically asked if he could “please have his speculum back.”
16               220.   Jane Doe K.M. felt as though Dr. Tyndall’s joking unnecessarily
17   prolonged the pelvic exam. Worse, she felt that his comments were highly
18   inappropriate and violating. She left the appointment feeling compromised, exposed,
19   and uncomfortable.
20               221. Jane Doe K.M. felt so uncomfortable after the appointment that she
21   confided in her friend and her boyfriend (now husband) about the experience.
22               222. Ever since her experience with Dr. Tyndall, Jane Doe K.M. has never felt
23   safe being treated by a male gynecologist. Many years later, Jane Doe K.M. was faced
24   with a difficult decision about delivering her baby. Her female gynecologist would not
25   be available to deliver her baby the week she was due, and as a result, she would have
26   a male doctor instead. But Jane Doe K.M. was still not comfortable with male
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 1   gynecologists because of her experience with Dr. Tyndall. She elected to induce one
 2   week early so that her regular doctor—a woman—could deliver the baby.
 3               223. Jane Doe K.M. is angry that USC failed to protect her and so many
 4   others. She wants USC to be held accountable for breaching the trust of its young
 5   female students.
 6               224. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
 7   unnecessarily long breast exam without explanation; (2) conducting pelvic and breast
 8   examinations while the chaperone’s back was turned; (3) making inappropriate
 9   comments during the pelvic exam; and (4) failing to perform proper testing to
10   determine why Jane Doe K.M. was experiencing irregular periods.
11               225. Jane Doe K.M. has thus been damaged by USC’s and Dr. Tyndall’s
12   actions.
13   10.         Jane Doe A.S. (2000-2001)
14               226. Jane Doe A.S. saw Dr. Tyndall for a gynecological exam in or about 2000
15   or 2001. Prior to her appointment with Dr. Tyndall, she had never been examined by a
16   gynecologist before.
17               227. Jane Doe A.S. made an appointment for access to birth control and testing
18   for a possible sexually-transmitted disease (“STD”).
19               228. Because it was her first experience with a gynecologist, Jane Doe A.S.
20   did not know what to expect. Dr. Tyndall examined her without a chaperone in the
21   room. Because of her age and relative inexperience, Jane Doe A.S. did not know to
22   ask for one.
23               229. Dr. Tyndall performed a pelvic exam and inserted his fingers into Jane
24   Doe A.S.’s vagina. While his fingers were inside of her, Dr. Tyndall claimed Jane Doe
25   A.S. was “particularly tight.” He also commented that she had a “beautiful vagina.”
26   Jane Doe A.S. found Dr. Tyndall’s comments to be inappropriate and disturbing. At
27   the time, Jane Doe A.S. felt uncomfortable, but because she had no prior experience
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 1   with gynecologists, she did not know that Dr. Tyndall’s methods were abnormal and
 2   inappropriate.
 3               230. When Jane Doe A.S. returned for her follow-up appointment to receive
 4   her STD test results from Dr. Tyndall, she instead was informed of her results by a
 5   student/intern. She was told that she had genital herpes. For ten years, Jane Doe A.S.
 6   lived with fear and unease about what she had been told, but never experienced any
 7   symptoms. She was later retested by another doctor and discovered that she did not
 8   have genital herpes.
 9               231. Although all doctors Jane Doe A.S. after her visits with Tyndall have
10   treated her with respect and professionalism, she continues to have unease and
11   mistrust around male doctors and has since refused to have a male doctor perform a
12   pelvic exam.
13               232. When Jane Doe A.S. heard the reports about Dr. Tyndall in the media,
14   she recognized that Dr. Tyndall had acted inappropriately while examining her and
15   conveying her test results. She feels violated and is upset that USC failed to protect
16   her.
17               233. Dr. Tyndall violated the standard of care by, inter alia: (1) performing a
18   pelvic exam without a chaperone present; (2) making inappropriate sexual comments
19   during the pelvic exam; and (3) having a student/intern relay incorrect test results.
20               234. Jane Doe A.S. has thus been damaged by Dr. Tyndall’s and USC’s
21   actions.
22   11.         Jane Doe A.F. (2003-2004)
23               235. Jane Doe A.F. was a student at USC from August 2002 to May 2005. She
24   saw Dr. Tyndall at the student health center during the 2003-2004 school year for two
25   visits. At the time, Jane Doe A.F. had only been to one other gynecologist and her
26   visits with Tyndall were only the second or third time she had ever had a gynecology
27   exam.
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 1               236. Jane Doe A.F. made an appointment at USC’s Student Health Center due
 2   to vaginal concerns. During the interview, Dr. Tyndall asked Jane Doe A.F. detailed
 3   questions about her relationships, how long she had been dating her boyfriend, and
 4   how they met. Dr. Tyndall then made inappropriate comments about Jane Doe A.F.’s
 5   boyfriend being in the military and told her “you can’t trust those people, they’re
 6   promiscuous and are known to have multiple partners.” Dr. Tyndall continued to rant
 7   to Jane Doe A.F. about military men and told her they are known to have a lot of
 8   STDs and that she needed to be careful. Jane Doe A.F. felt extremely uncomfortable
 9   with the conversation, but because she had little experience with the gynecologist, she
10   did not know the degree to which it was abnormal and inappropriate.
11               237. For the examination, Dr. Tyndall instructed Jane Doe A.F. to fully
12   undress, which made her uncomfortable because she did not understand why she
13   needed to remove her top.
14               238. Dr. Tyndall was very rough during the pelvic exam, causing Jane Doe
15   A.F. physical pain. He forcefully shoved the speculum inside her and commented that
16   she was “very tight.” This comment made Jane Doe A.F. even more uncomfortable,
17   and her body became tense. In response, Dr. Tyndall barked at Jane Doe A.F. to
18   “relax,” “stop moving,” and “keep your legs open.” Jane Doe A.F. wanted the whole
19   thing to be over with.
20               239. Dr. Tyndall diagnosed Jane Doe A.F. with a vaginal infection, prescribed
21   antibiotics, and instructed Jane Doe A.F. to make a follow-up appointment with him.
22   At the follow-up appointment, Dr. Tyndall told Jane Doe A.F. “congratulations” and
23   that her STD tests had come back negative. His statements at first made her feel
24   ashamed, then later angry about how he informed her. Jane Doe A.F. did not even
25   know that she was being tested for STDs during her initial appointment.
26               240. Jane Doe A.F. resolved to never see Dr. Tyndall again because it was
27   such a horrible experience. For a period of several years she avoided going to see a
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 1   gynecologist altogether. And, although she now has a gynecologist who is
 2   professional, gentle, and patient, she still feels uneasy and anxious because of how she
 3   was treated by Dr. Tyndall.
 4               241. Jane Doe A.F’s experience with Dr. Tyndall also had an effect on her
 5   sexual relationship as there was a period where she was not interested in sex which
 6   caused turmoil in her relationship.
 7               242. When Jane Doe A.F. first saw the televised media report about Dr.
 8   Tyndall, on Inside Edition, she froze and tears welled up in her eyes. She feels
 9   extremely violated and distressed and is upset by the way USC handled the situation.
10               243. Dr. Tyndall violated the standard of care by, inter alia: (1) making
11   inappropriate comments to Jane Doe A.F. both before and during the pelvic exam; (2)
12   instructing Jane Doe A.F. to fully undress for a pelvic exam; (3) making inappropriate
13   sexual comments during the pelvic exam; and (4) making inappropriate comments
14   while delivering test results.
15               244. Jane Doe A.F. has thus been damaged by USC’s and Dr. Tyndall’s
16   actions.
17   12.         Joyce Sutedja (2003-2005)
18               245. Joyce Sutedja, M.D. was examined by Dr. Tyndall on one occasion
19   between 2003 and 2005, during her freshman or sophomore year at USC. She had
20   been having abnormal periods, so she scheduled an appointment for an evaluation with
21   Dr. Tyndall.
22               246. At the time, Dr. Sutedja was 17 or 18 years old, and she had very little
23   experience with visiting a gynecologist. She had never had sexual intercourse. She did
24   not know the normal procedures for a pelvic exam, so she had no way of knowing
25   whether Dr. Tyndall’s methods were improper.
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 1               247. While Dr. Tyndall was examining Dr. Sutedja, who was gowned and had
 2   her legs spread, he looked her in the eye and told her that she had “a beautiful face”
 3   and that she “should be a model.” Dr. Sutedja immediately felt unsafe and vulnerable.
 4               248. After the exam was over, Dr. Sutedja met with Dr. Tyndall alone in his
 5   office. There, he told her that his wife is Filipino and that he had gone to medical
 6   school in the Philippines. She became very uncomfortable. She did not understand
 7   why the doctor would share information about his personal life during their
 8   conversation. Dr. Sutedja suspected that Dr. Tyndall was trying to somehow appeal to
 9   her Indonesian heritage, and she found his comments invasive and offensive.
10               249. Dr. Tyndall also gave Dr. Sutedja unsolicited advice about sex. But rather
11   than advice about preventing pregnancy and STDs, which OB/GYNs regularly provide
12   when asked, Dr. Tyndall gave Dr. Sutedja advice about sexual positions. He told her
13   to make sure that she used lubricant for her “first time,” because otherwise it would
14   hurt. He said that her partner, on the other hand, would like having sex with her very
15   much. He also told her about different sexual positions that he thought she might find
16   comfortable or pleasurable. Dr. Sutedja felt extremely uncomfortable, but because of
17   her lack of experience, she did not know that it was abnormal for OB/GYNs to
18   provide sex advice. Still, in her gut, something felt very wrong.
19               250. Dr. Tyndall only prescribed several months’ worth of oral contraceptives
20   for Dr. Sutedja’s irregular periods, which required her to return several months later to
21   have her prescription refilled. When Dr. Sutedja returned to the USC student health
22   center for her refill, she saw a female OB/GYN who prescribed her a years’ worth of
23   birth control. It struck her at the time that it was much easier to procure birth control
24   from the female doctor than it was with Dr. Tyndall. She did not know that doctors
25   were permitted to prescribe a year’s worth of birth control.
26               251. Dr. Sutedja confided in the female OB/GYN about her experience with
27   Dr. Tyndall. The doctor pressed her to file a complaint. But in the interim, Dr. Sutedja
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 1   had learned from a friend who worked at the USC student health center that the center
 2   had already received numerous complaints about Dr. Tyndall and had done nothing.
 3   She hoped that the female OB/GYN would take action against Dr. Tyndall on her
 4   own.
 5               252. Dr. Sutedja was unwilling to see a male OB/GYN for more than a decade
 6   after her experience with Dr. Tyndall.
 7               253. Dr. Sutedja is now a first-year resident (PGY-1) in the program in
 8   Obstetrics & Gynecology at University of California, Irvine. She pursued a specialty
 9   in OB, in part, because she wanted to help create a safe and professional environment
10   for women to receive vital health care services. She believes that having a profoundly
11   disturbing experience with Dr. Tyndall early on drove her to want to make a difference
12   for other women.
13               254. Now that she has been trained and has provided safe, professional, and
14   high-quality OB/GYN patient care, Dr. Sutedja looks back on her experience with Dr.
15   Tyndall with complete outrage. She now fully understands the position of privilege
16   and responsibility that OB/GYNs hold vis-à-vis their patients—especially young and
17   inexperienced patients. She knows that Dr. Tyndall’s practices were not only
18   inappropriate, they were highly violative and abusive. And Dr. Sutedja now fully
19   comprehends the severity of USC’s failure to protect their female students.
20               255. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
21   unnecessary pelvic exam; (2) making inappropriate comments during the pelvic exam;
22   (3) making inappropriate comments and providing unsolicited and inappropriate sex
23   advice after the pelvic exam; (4) and requiring Dr. Sutedja to return within months to
24   refill birth control prescription.
25               256. Dr. Sutedja has thus been damaged by USC’s and Dr. Tyndall’s actions.
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 1   13.         Jane Doe M.G. (2003-2007)
 2               257. Jane Doe M.G. attended USC as an undergraduate from 2003 to 2007,
 3   and saw Dr. Tyndall for an appointment at the student health center one or two times
 4   during that period.
 5               258. Jane Doe M.G. always requested female practitioners to perform her pap
 6   smears, but would see male doctors if she needed a prescription refilled or for non-
 7   invasive issues.
 8               259. During her appointment with Dr. Tyndall, he performed a whole body
 9   mole scan. Jane Doe M.G. thought this was very unusual because she had not made
10   the appointment for a mole check, nor had concerns about her skin or any moles (of
11   which she had very few), and she knew that he was not a dermatologist.
12               260. Dr. Tyndall inspected every inch of her body and took an extremely long
13   time, which made Jane Doe M.G. uncomfortable. She could not understand why he
14   was inspecting her skin on every inch of her body so closely given her lack of moles.
15   However, there was a female attendant in the room, which made this uncomfortable
16   experience seem like it was standard procedure.
17               261. Without performing any medical tests, Dr. Tyndall told Jane Doe M.G.
18   she “likely had PCOS.” According to the Mayo Clinic: “Polycystic ovary syndrome
19   (PCOS) is a hormonal disorder common among women of reproductive age. Women
20   with PCOS may have infrequent or prolonged menstrual periods or excess male
21   hormone (androgen) levels. The ovaries may develop numerous small collections of
22   fluid (follicles) and fail to regularly release eggs.”
23               262. Dr. Tyndall’s offhand comment caused Jane Doe M.G. mental distress for
24   many years. When Jane Doe M.G. raised Dr. Tyndall’s “diagnosis” to her later
25   OB/GYNs, they were shocked to hear that a doctor would say a patient had PCOS
26   without any medical proof (and confirmed that she does not have this disorder).
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 1               263. Since that time and as a result of the distress Dr. Tyndall (and USC)
 2   caused, Jane Doe M.G. has always seen female physicians for her gynecological
 3   needs.
 4               264. On or about May 15, 2018, Jane Doe M.G. read the articles that disclosed
 5   Tyndall’s wrongdoing. Jane Doe M.G. was disturbed and upset that she had been used
 6   by Dr. Tyndall for his sexual gratification—and that USC let Dr. Tyndall use her and
 7   others for a sexual purpose over such a long period of time.
 8               265. Dr. Tyndall violated the standard of care by, inter alia: (1) performing a
 9   mole check that was not requested; (2) drawing out the inspection of Jane Doe M.G.’s
10   body; and (3) improperly diagnosing Jane Doe M.G. with PCOS after failing to
11   perform any medical tests.
12               266. Jane Doe M.G. has thus been damaged by USC’s and Dr. Tyndall’s
13   actions.
14   14.         Jane Doe D.D. (2005-2006)
15               267. Jane Doe D.D. was a student at USC from 2004 to 2009.
16               268. In or about 2005, Jane Doe D.D. made an appointment for a pap smear
17   and pelvic exam at the USC student health center. It was Jane Doe D.D.’s first ever
18   visit to the OB/GYN.
19               269. Dr. Tyndall first performed an external exam on Jane Doe D.D. while
20   there was no chaperone in the room.
21               270. While Dr. Tyndall was examining Jane Doe D.D.’s breasts, Jane Doe
22   D.D. noticed that he was not doing it in a way that seemed clinical, as opposed to what
23   she eventually saw other doctors do in the years after this first gynecological visit.
24   Specifically, he did not examine her breasts quickly in a padding motion with his
25   closed fingertips. Instead, Jane Doe D.D. felt as though Dr. Tyndall was fondling her
26   breasts by feeling them for a long time.
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 1               271. After Dr. Tyndall had his hands on Jane Doe D.D.’s naked breasts, he
 2   commented “mmm, very perky.” Jane Doe D.D. became very nervous, but she tried to
 3   remain calm and brush off the comment.
 4               272. Then, Dr. Tyndall checked Jane Doe D.D.’s skin, which required her to
 5   lay down in front of him with her shirt off. He looked her up and down and
 6   commented that she was in great shape.
 7               273. While he was examining her, Dr. Tyndall mentioned his wife and pointed
 8   to his desk, mentioning that he had a photo of her there. At that moment, Jane Doe
 9   D.D. felt relieved because up until that point it had seemed to her as though Dr.
10   Tyndall was sexualizing her.
11               274. Before Dr. Tyndall performed the pap smear and pelvic exam, a
12   chaperone came into the room.
13               275. Dr. Tyndall put gloves on and informed Jane Doe D.D. that he was going
14   to insert two fingers into her vagina to help the speculum fit in. He then inserted two
15   fingers into Jane Doe D.D.’s vagina and said that he was going to check the strength
16   of Jane Doe D.D.’s pelvic floor.
17               276. Dr. Tyndall then moved his fingers back and forth three times fast while
18   they were inside of Jane Doe D.D. He said to Jane Doe D.D., “you have a very strong
19   muscle there. You must be a runner.” Jane Doe D.D. laughed nervously and said, “no
20   I’m a swimmer.” Jane Doe D.D. again felt nervous, but she tried to reassure herself
21   that maybe Dr. Tyndall was simply stating a fact. She told herself that his actions were
22   normal, even though it did not feel normal.
23               277. Toward the end of the exam, Dr. Tyndall asked Jane Doe D.D. if she
24   would mind if he used a camera. He held up the small camera to show her, and he said
25   that using it would help them to see any sexually-transmitted diseases or any irregular
26   tissue. Dr. Tyndall presented the camera in a way that made it seem as though it was
27   not required. Instead, he encouraged Jane Doe D.D. to allow him to use the camera in
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 1   a friendly, nonchalant tone. At the time, Jane Doe D.D. was sexually active and had a
 2   legitimate fear of contracting sexually-transmitted diseases. She agreed because she
 3   wanted to do anything she could to increase her chances of detection in the event that
 4   she actually had an STD.
 5               278. Dr. Tyndall never showed Jane Doe D.D. the camera footage.
 6               279. As Jane Doe D.D. lay on the examination table with her legs spread, she
 7   realized that Dr. Tyndall was looking at her vagina for a very long time. While staring
 8   at her vagina, the doctor said, “It’s clean, very clean, you’re very clean.” Jane Doe
 9   D.D. felt very embarrassed and uncomfortable.
10               280. Jane Doe D.D. thought that Dr. Tyndall’s procedures and comments were
11   inappropriate and intrusive. However, because there was a chaperone in the room, and
12   Jane Doe D.D. had not been examined by a gynecologist before, she reassured herself
13   that everything must be normal.
14               281. Jane Doe D.D. left the appointment feeling very uneasy. Several days
15   later, Dr. Tyndall left her a voicemail with the results of her examination, which she
16   did not return.
17               282. Jane Doe D.D. felt violated by Dr. Tyndall’s comments and procedures.
18               283. Jane Doe D.D. later saw a female physician for a pelvic exam and pap
19   smear at the USC student health center. The female doctor acted professionally, and
20   Jane Doe D.D. felt comfortable.
21               284. Jane Doe D.D. has suffered emotional distress as a result of Dr. Tyndall’s
22   treatment, and is upset that neither USC nor the chaperones stopped him.
23               285. Dr. Tyndall violated the standard of care by, inter alia: (1) improperly
24   examining Jane Doe D.D’s breasts and skin; (2) making inappropriate comments
25   during the breast and skin examinations; (3) unnecessary digital penetration prior to
26   inserting the speculum; (4) inappropriate comments during digital penetration and
27   during examination; (5) unnecessary use of camera during pelvic exam;
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 1               286. Jane Doe D. D. has thus been damaged by USC’s and Dr. Tyndall’s
 2   actions.
 3   15.         Jane Doe M.D. (2006)
 4               287. Jane Doe M.D. attended USC from 2004-2007 for her undergraduate
 5   degree in communications. She is currently a graduate student at USC.
 6               288. In or about the winter or spring of 2006, Jane Doe M.D. saw Dr. Tyndall
 7   for a routine exam. She had recently had sexual intercourse for the first time, so she
 8   wanted to make sure that she was healthy and safe. At the time, she had only
 9   experienced a pelvic exam once before.
10               289. Jane Doe M.D. originally scheduled her appointment with a female
11   OB/GYN, but she had to reschedule her appointment. When she rescheduled, Dr.
12   Tyndall was the only doctor available for her preferred time. She expressed concern to
13   the USC student health center about seeing a male OB/GYN, but she was told not to
14   worry because a woman would be in the exam room the whole time.
15               290. There was in fact a female chaperone in the room during Jane Doe
16   M.D.’s exam with Dr. Tyndall.
17               291. Once Jane Doe M.D. was gowned and her legs were spread on the
18   examination table, Dr. Tyndall digitally penetrated her. He did not explain what he
19   was doing or why his fingers were inside of her.
20               292. While his fingers were inside of her, he asked looked at her face and said:
21   “So you’re Filipino, huh?” Jane Doe M.D. was taken aback. She thought it was
22   extremely strange for the doctor to inquire about her ethnicity—especially while she
23   was in such a vulnerable position.
24               293. Jane Doe M.D. answered that she was, indeed, Filipino. Dr. Tyndall then
25   told her that his wife is Filipino, and that she reminded him of his wife. This made
26   Jane Doe M.D. feel unsafe and violated. She felt that Dr. Tyndall comparing her to his
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 1   wife was extremely inappropriate, especially while his fingers were inside of her on
 2   the examination table.
 3               294. Jane Doe M.D. left the examination feeling extremely uncomfortable and
 4   violated. She could not believe that a male OB/GYN would compare her to his wife
 5   while he was examining her. She never returned to Dr. Tyndall.
 6               295. Because she had very little prior experience with OB/GYNs, Jane Doe
 7   M.D. did not know at the time that Dr. Tyndall’s method of inserting his fingers into
 8   her was not normal. But his comments did cause her to feel very uncomfortable.
 9               296. Jane Doe M.D. worried that she was “over thinking” things, and that she
10   just did not “have it in her” to see a male OB/GYN. In the end, she tried her best to
11   move forward and forget the experience.
12               297. Jane Doe M.D. has seen other OB/GYNs over the years. The first time
13   she saw another OB/GYN—about a year after her experience with Dr. Tyndall—she
14   was taken aback by how professional and comfortable her experience was.
15               298. Years later, Jane Doe M.D. visited a male OB/GYN again, this time to
16   have an IUD inserted. On that occasion the doctor was very professional, and she felt
17   comfortable throughout the appointment.
18               299. When Jane Doe M.D. first heard reports that Dr. Tyndall had abused
19   many women, she immediately remembered being examined by him. That day, she
20   told her colleague about her experience.
21               300. Later, when Jane Doe M.D. read the L.A. Times’ report about Dr.
22   Tyndall, she was horrified to read that others were echoing her story. The memories—
23   and the knowledge that Dr. Tyndall abused so many women over the years—have
24   caused Jane Doe M.D. severe distress.
25               301. Jane Doe M.D. looks back on the appointment with Dr. Tyndall—one of
26   her first experiences with an OB/GYN, and shortly after her first time having sexual
27   intercourse—as a traumatic event. She knows that the experience has negatively
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 1   affected her relationship and comfort level with doctors and with her own personal
 2   health.
 3               302. Jane Doe M.D. now works in media, so it is her practice and personal
 4   habit to absorb news. With the story of Dr. Tyndall everywhere in the news media,
 5   Jane Doe M.D. has been reliving the trauma of her experience with Dr. Tyndall, which
 6   has caused her severe emotional distress.
 7               303. Dr. Tyndall violated the standard of care by, inter alia: (1) inappropriate
 8   comments during pelvic exam; (2) unnecessary digital penetration; (3) and failing to
 9   advise and inform Jane Doe M.D. of the procedures being performed.
10               304. Jane Doe M.D. has thus been damaged by USC’s and Dr. Tyndall’s
11   actions.
12   16.         Jane Doe A.D. (2006)
13               305.   Jane Doe A.D. attended USC from 2005-2010. She saw Dr. Tyndall for
14   an examination in or about 2006, due to a concern regarding symptoms for a cold sore
15   on her lip and sought medication.
16               306. Dr. Tyndall performed a pelvic exam (even though she was there because
17   she had a cold sore on her lip). During the exam, he made the comment that she was
18   “very tight.” The comment made Jane Doe A.D. feel weird but, because of her age and
19   inexperience, she did not really know how inappropriate it was at the time. She later
20   told a friend about it, and the friend explained to her the sexual connotation associated
21   with the comment.
22               307. Jane Doe A.D. avoided going to the gynecologist after that. During the
23   time she was not seeing a gynecologist, she developed two vaginal infections. She
24   finally went to Planned Parenthood to get an exam and was prescribed medications.
25   However, Jane Doe A.D. has been extremely susceptible to vaginal infections ever
26   since.
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 1               308. When Jane Doe A.D. heard about the accounts of other women in his
 2   care, she realized she had not been a victim of an isolated occurrence, but rather the
 3   victim of a series of abuses. She is upset and feels betrayed that USC allowed this to
 4   happen to her and so many other women.
 5               309. Jane Doe A.D. recently requested the medical records from her visit with
 6   Dr. Tyndall and was shocked to read in Dr. Tyndall’s notes a comment that she “said
 7   she can have orgasms with clitoral stimulation but not vaginal intercourse.” Jane Doe
 8   A.D. never discussed orgasms with Dr. Tyndall during the appointment. She is
 9   extremely embarrassed that this information was included in her medical record
10   because other doctors would presumably review Dr. Tyndall’s record as part of her
11   medical history.
12               310. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
13   unnecessary pelvic exam; (2) making inappropriate sexual comments during the pelvic
14   exam; and (3) providing incorrect/false information in Jane Doe A.D.’s medical
15   record.
16               311. Jane Doe A.D. has thus been damaged by Dr. Tyndall’s and USC’s
17   actions.
18   17.         Jane Doe K.Y. (2007-2011)
19               312. In or about 2007, Jane Doe K.Y. was enrolled as a film student at USC.
20   At the time, the USC film school was across the street from the USC student health
21   center. Jane Doe K.Y. worked hard to pay her way through film school.
22               313. Jane Doe K.Y. is a Chinese immigrant, has a spinal muscle atrophy
23   condition, and uses a wheelchair to get around. Jane Doe K.Y. distrusts doctors and
24   generally feels vulnerable around them.
25               314. Dr. Tyndall was the first OB/GYN Jane Doe K.Y. ever saw. She made an
26   appointment at the U.S.C medical center to see Dr. Tyndall for a routine pelvic exam
27   and to get birth control.
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 1               315. Dr. Tyndall required Jane Doe K.Y. see him multiple times per year to
 2   procure birth control refills. At that time, she was using a NuvaRing.
 3               316. To the best of her recollection, Jane Doe K.Y. saw Dr. Tyndall 5-10 times
 4   during her time as a student at USC, and he gave her a pelvic exam 3 or 4 times.
 5               317. During each exam, Dr. Tyndall digitally penetrated Jane Doe K.Y. and
 6   moved his fingers around inside of her. At the time, Jane Doe K.Y. felt uncomfortable,
 7   but because this was her first experience with an OB/GYN, she did not know that his
 8   methods were abnormal and inappropriate.
 9               318. Jane Doe K.Y. recalls that there was a chaperone in the room for her first
10   pelvic exam, but she does not recall a chaperone being present for her subsequent
11   pelvic exams.
12               319. On visits when Dr. Tyndall only met with Jane Doe K.Y. but did not
13   examine her, he asked her invasive questions about her sexual history and proclivities,
14   and he complimented her on her skin.
15               320. During their conversations, Dr. Tyndall mentioned to Jane Doe K.Y. that
16   his wife was Asian. The conversation about Dr. Tyndall’s wife’s ethnicity made Jane
17   Doe K.Y. extremely uncomfortable. Jane Doe K.Y. felt that Dr. Tyndall was sharing
18   unnecessary personal information, and she did not understand why. In hindsight, she
19   suspects that he was trying to relate to her as a Chinese immigrant.
20               321. After graduation, Jane Doe K.Y. saw a new OB/GYN one time because
21   she wanted to change birth control methods. Although she felt more comfortable with
22   this doctor, the experience with Dr. Tyndall made her decide to stop scheduling
23   regular visits to the OB/GYN.
24               322. Jane Doe K.Y. did not see an OB/GYN from 2011 until 2017 because her
25   experience with Dr. Tyndall had left her traumatized. It was not until she was very
26   overdue for a checkup that she forced herself to schedule a visit.
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 1               323. Jane Doe K.Y. stopped going to the OB/GYN because the visits with Dr.
 2   Tyndall had been distressing. But because she had not seen other OB/GYNs, she did
 3   not know that Dr. Tyndall’s examinations were improper until she read about them in
 4   the L.A. Times. She is very upset and disturbed to learn that she was violated in this
 5   way. She feels angry and betrayed that USC—an institution she made a great financial
 6   sacrifice to attend—allowed this to happen to her.
 7               324. Dr. Tyndall violated the standard of care by, inter alia: (1) requiring Jane
 8   Doe K.Y. to return multiple times per year to procure birth control; (2) performing
 9   unnecessary multiple pelvic exams over a short period of time; (3) improper digital
10   penetration; (4) performing pelvic exams without a chaperon present; (4) making
11   inappropriate comments during appointments; and (4) asking inappropriate questions
12   when taking Jane Doe K.Y.’s social and sexual history.
13               325. Jane Doe K.Y. has thus been damaged by USC’s and Dr. Tyndall’s
14   actions.
15   18.         Meggie Kwait (2008)
16               326. In 2008, Meggie Kwait was an undergraduate student at USC. She made
17   an appointment at the student health center with Dr. Tyndall because she was
18   concerned about some unusual vaginal bleeding.
19               327. During the physical examination, Dr. Tyndall proceeded to examine her
20   vagina. Throughout the examination, he kept talking about very personal things. Dr.
21   Tyndall seemed fixated on Ms. Kwait’s weight and the fact that she had engaged in
22   sexual encounters with both men and women.
23               328. Dr. Tyndall insisted on calling her “a virgin” because “let’s be honest: no
24   penis, no sex.” At one point, without consulting Ms. Kwait, he made a telephone call,
25   presumably to a colleague, to express his amazement that an insurance company “had
26   made a virgin have a pelvic exam.”
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 1               329. While penetrating Ms. Kwait with his fingers, Dr. Tyndall said, “I bet
 2   you’re pretty used to this.”
 3               330. Dr. Tyndall urged Ms. Kwait to lose weight and told her if she became
 4   skinnier, she could probably “get a guy instead of a girlfriend.”
 5               331. During a breast exam, he called her breasts “lovely” and “very
 6   symmetrical for their size” and handled them roughly. Throughout the appointment,
 7   Dr. Tyndall did not communicate what he was doing or why. At the conclusion of the
 8   appointment, he ridiculed Ms. Kwait for her concern over the bleeding and said that
 9   she had wasted his time.
10               332. Dr. Tyndall’s comments made Ms. Kwait extremely upset and
11   uncomfortable. She left the appointment with Dr. Tyndall in tears and did not return to
12   the USC student health center for gynecological issues.
13               333. Ms. Kwait filled out a Health Center comment card as she left the
14   appointment. Ms. Kwait described Dr. Tyndall’s inappropriate comments and
15   demeanor but never received any response from USC.
16               334. When Ms. Kwait read the news about Dr. Tyndall, she felt horrible that
17   she had not elevated her complaint. Dr. Tyndall’s conduct made her feel humiliated,
18   demeaned, and violated, and USC’s failure to protect her and other students has
19   caused her additional distress.
20               335. Dr. Tyndall violated the standard of care by, inter alia: (1) making
21   inappropriate comments during physical examination; (2) making a telephone call
22   during the examination and discussing Ms. Kwait’s sexual history medical care during
23   the call; (3) improperly examining Ms. Kwait’s breasts; (4) making inappropriate
24   comments during the breast exam; (5) failing to perform proper testing to determine
25   the cause of improper bleeding.
26               336. Ms. Kwait has thus been damaged by Dr. Tyndall’s and USC’s actions.
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 1   19.         Jane Doe M.M. (2008)
 2               337.   In or about 2008, Jane Doe M.M. was studying cinema as an
 3   undergraduate at USC. She made an appointment at the USC student health center
 4   with Dr. Tyndall because she suspected that she had a urinary tract infection.
 5               338. Before meeting with Dr. Tyndall, Jane Doe M.M. gave a urine sample to
 6   a nurse.
 7               339. When she arrived at her appointment, Jane Doe M.M. met with Dr.
 8   Tyndall at his desk, which was separated from the examination area by a curtain. As
 9   they talked, Dr. Tyndall showed Jane Doe M.M. a photo of his wife. Jane Doe M.M.
10   had not asked him about his wife or asked to see a photo. When she viewed the photo,
11   it occurred to Jane Doe M.M. that the wife looked quite a bit younger. Then Dr.
12   Tyndall also brought up Lady Gaga, which made Jane Doe M.M. feel awkward. She
13   suspected that Dr. Tyndall was trying to relate to her. Jane Doe M.M. felt put off that
14   Dr. Tyndall had shared unnecessary information about his personal life.
15               340. Dr. Tyndall then did an external exam with Jane Doe M.M. partially
16   undressed. As Dr. Tyndall pressed on Jane Doe M.M.’s bare abdomen to feel for any
17   pain, he declared that her “abs” felt very strong and asked if she was a runner.
18               341. Jane Doe M.M. recalled other doctors asking if she was a runner, but they
19   had always asked while checking her blood pressure or other vitals, and she had
20   always been fully clothed. This time, the question felt different, and inappropriate.
21               342. Jane Doe M.M. began to feel extremely tense and nervous. She was
22   already very uncomfortable because Dr. Tyndall had tried to engage her in a personal
23   conversation about his wife and Lady Gaga. Dr. Tyndall’s comments about her body
24   compounded Jane Doe M.M.’s uneasy feeling.
25               343. Jane Doe M.M. left the appointment feeling distraught and
26   uncomfortable. She made a note never to see Dr. Tyndall again.
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 1               344. After reading the reporting about Dr. Tyndall in the Los Angeles Times,
 2   Jane Doe M.M. realized that her distress during her visit to the student health center
 3   was valid. She is upset that USC failed to provide her and other female students with
 4   safe, appropriate, and professional health care.
 5               345. Dr. Tyndall violated the standard of care by, inter alia: (1) inappropriate
 6   comments during appointment; (2) performing an unnecessary examination of Jane
 7   Doe M.M.’s body while she was partially undressed; and (3) inappropriate comments
 8   during examination.
 9               346. Jane Doe M.M. has thus been damaged by Dr. Tyndall’s and USC’s
10   actions.
11   20.         Jane Doe P.A. (2008)
12               347. Jane Doe P.A. attended USC 2006-2011. In 2008, she made an
13   appointment at the USC student health center with the only gynecologist available.
14               348. When Jane Doe P.A. arrived for her appointment, Dr. Tyndall told her to
15   get completely undressed and put on a gown. Although Jane Doe P.A. did not
16   understand why she needed to completely undress for the procedure she was having,
17   she followed the doctor’s instructions and took off all of her clothes.
18               349. Before Dr. Tyndall performed the procedure, a chaperone came into the
19   room.
20               350. Dr. Tyndall made comments that Jane Doe P.A. found inappropriate and
21   unprofessional. As Jane Doe P.A. lay on the examination table, naked but for the
22   gown, with her legs in elevated stirrups, Dr. Tyndall commented that she was very
23   beautiful and that she had probably had sex with a lot of people.
24               351. After the procedure was over, Dr. Tindall told her he needed to do an
25   internal exam. He then examined Jane Doe P.A. with his fingers. Dr. Tyndall did not
26   explain to Jane Doe P.A. why he needed to feel around inside of her vagina or what he
27   was looking for during the pelvic exam.
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 1               352. It seemed to Jane Doe P.A. as though the pelvic exam lasted a very long
 2   time, making her uncomfortable. Worse, Dr. Tyndall leaned forward during the pelvic
 3   exam so that his face was very close to Jane Doe P.A.’s face.
 4               353. Jane Doe P.A. thought that Dr. Tyndall’s procedures and comments were
 5   inappropriate and intrusive. However, because there was a chaperone in the room, and
 6   Jane Doe P.A. had not been to see a male gynecologist before, she reassured herself
 7   that everything must be normal.
 8               354. Jane Doe P.A. told her friends how creepy Dr. Tyndall was. For the
 9   reminder of her time at USC, Jane Doe P.A. avoided seeing Dr. Tyndall. She recalls
10   that there was one other OB/GYN providing women’s healthcare at USC. Her
11   appointment slots were always full and it was extremely difficult to book an
12   appointment with her. However, Jane Doe P.A. would wait for an appointment with
13   the other OB/GYN because she did not feel comfortable seeing Dr. Tyndall.
14               355. Jane Doe P.A. has suffered emotional distress as a result of Dr. Tyndall’s
15   treatment, and is upset that neither USC nor the chaperones stopped him. Since that
16   time and as a result of the distress, Jane Doe P.A. has only agreed to see female
17   gynecologists.
18               356. Jane Doe P.A. looks back on her experience with Dr. Tyndall with
19   disgust. Recent revelations about the extent of his abuse of female students has caused
20   Jane Doe P.A. emotional distress. They have caused her to relive her appointment with
21   Dr. Tyndall and has made her extremely angry with USC.
22               357. When Jane Doe P.A. first heard reports that Dr. Tyndall had abused many
23   women, she felt validated in her experiences. She is upset and feels betrayed that USC
24   allowed this to happen to her and so many other women.
25               358. Dr. Tyndall violated the standard of care by, inter alia: (1) inappropriate
26   comments during appointment; (2) unnecessary digital penetration; (3) and failing to
27   advise and inform Jane Doe P.A. of the procedures being performed.
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 1               359. Jane Doe P.A. has thus been damaged by Dr. Tyndall’s and USC’s
 2   actions.
 3   21.         Jane Doe S.A. (2008)
 4               360.   Jane Doe S.A. made an appointment with Dr. Tyndall in or about spring
 5   of 2008. The doctor she regularly saw for women’s health care at the student health
 6   center was out of town. Jane Doe S.A. made the appointment with Dr. Tyndall
 7   because she was having vaginal discomfort and needed to see someone right away.
 8               361. Dr. Tyndall performed a pelvic exam on Jane Doe S.A. There was a
 9   chaperone in the room during the exam.
10               362. As Jane Doe S.A. was laying on the exam table, undressed from the waist
11   down with her legs spread, Dr. Tyndall tapped on her labia several times with four
12   fingers. “That’s nice,” he said, and then asked Jane Doe S.A. if she had had laser hair
13   removal. Jane Doe S.A. panicked. She tried to make eye contact with the chaperone,
14   but the chaperone avoided her gaze. When she realized that the chaperone was going
15   to do nothing to help her, Jane Doe S.A. replied uncomfortably, “no, I just had a wax.”
16               363. After her examination by Dr. Tyndall, Jane Doe S.A. felt physically ill
17   and violated. For months, she replayed the incident in her mind and felt humiliated for
18   being touched by Dr. Tyndall and ashamed for not confronting him. She resolved
19   never to see Dr. Tyndall again.
20               364. Jane Doe S.A. later reported the incident to her regular gynecologist at
21   the student health center, who did not seem surprised. The doctor strongly encouraged
22   Jane Doe S.A. to file a complaint with the health center.
23               365. Jane Doe S.A. wrote a letter of complaint to Dr. Lawrence Neinstein, the
24   executive director of the student health center at the time. She received an email back
25   from Dr. Neinstein, thanking her for bringing it to his attention and assuring her that
26   the health center would address her complaint.
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 1               366. When Jane Doe S.A. read news reports of Dr. Tyndall in May 2018, she
 2   understood that USC had done nothing about her complaint.
 3               367. Ten years after Dr. Tyndall’s violative examination, Jane Doe S.A. still
 4   feels physically ill when recounting the details of the incident. She is fearful of male
 5   gynecologists and has not seen one since that day. She has experienced emotional
 6   distress both because of Dr. Tyndall’s inappropriate behavior toward her, and also
 7   because of USC’s inaction. She is outraged that USC allowed Dr. Tyndall to abuse
 8   women for nearly a decade after she submitted her complaint.
 9               368. Dr. Tyndall violated the standard of care by, inter alia: (1) making
10   inappropriate sexual comments during the pelvic exam; and (2) touching Jane Doe
11   S.A. inappropriately during the pelvic exam.
12               369. Jane Doe S.A. has thus been damaged by USC’s and Dr. Tyndall’s
13   actions.
14   22.         Jane Doe L.R. (2008)
15               370. In 2008, Jane Doe L.R. was studying for her master’s degree in higher
16   education at USC. She was 25 years old.
17               371. In or about December of 2008, Jane Doe L.R. visited the student health
18   center for a routine pelvic exam with Dr. Tyndall.
19               372. When Jane Doe L.R. entered the exam room, she immediately felt uneasy
20   and different than she had previously felt in other gynecologists’ offices. She noticed
21   that there were no medical instruments on the table. The exam room did not feel
22   appropriately clinical.
23               373. Dr. Tyndall used his fingers to examine Jane Doe L.R. During the exam,
24   while his fingers were inside of Jane Doe L.R., Dr. Tyndall said, “oh you’re very
25   small,” in apparent reference to Jane Doe L.R.’s vagina.
26               374. During the examination, while Jane Doe L.R. was unclothed, Dr. Tyndall
27   began asking her questions about her sexual activity. His questions went beyond the
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 1   scope of whether or not she was sexually active—he wanted her to describe her
 2   activity. Jane Doe L.R. felt very uncomfortable, but she did not feel that she was at
 3   liberty to refuse to answer the questions.
 4               375. Jane Doe L.R. told Dr. Tyndall that she was sexually active with her
 5   boyfriend, to which Dr. Tyndall replied something to the effect of “what a lucky guy.”
 6   During the course of their conversation, Dr. Tyndall made jokes about Jane Doe L.R.’s
 7   sexual activity.
 8               376.   While she was unclothed, laying on the examination table, enduring Dr.
 9   Tyndall’s grossly inappropriate questions and comments, Jane Doe L.R. felt like she
10   went into shock. In order to get through the examination, she stared at a fly that was
11   buzzing around the room. She concentrated on the fly in an effort to block out the
12   shame, humiliation, and panic that she was feeling.
13               377. After the appointment, Jane Doe L.R. walked back to her dorm room. At
14   the time, it was winter recess, and the whole campus was empty. She remembers
15   feeling very depressed, alone, and regretful, as if she was doing a “walk of shame.”
16               378. Jane Doe L.R. did not see a gynecologist for the remainder of her time at
17   USC. She has made a point to see only female gynecologists ever since her
18   appointment with Dr. Tyndall.
19               379. In the months following the appointment with Dr. Tyndall, Jane Doe L.R.
20   experienced depression and anxiety for the first time and for which she sought
21   treatment.
22               380.   After the incident, and during her time at USC, Jane Doe L.R. held a
23   graduate assistant position at a women’s center, where she worked as an advocate for
24   victims of sexual abuse. She now holds an administrative position at a college in
25   which she deals specifically with campus sexual assault. Looking back, Jane Doe L.R.
26   believes that her professional choices were guided in part by her traumatic experience
27   with Dr. Tyndall.
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 1               381. Ever since Jane Doe L.R. saw Dr. Tyndall’s face in media reports,
 2   memories of her examination have come flooding back. She is re-living the trauma of
 3   her examination with Dr. Tyndall and experiencing anger and emotional distress about
 4   USC’s failure to protect its female students over multiple decades.
 5               382. Dr. Tyndall violated the standard of care by, inter alia: (1) conducting the
 6   pelvic exam improperly; and (2) making inappropriate sexual comments during the
 7   pelvic exam.
 8               383. Jane Doe L.R. has thus been damaged by USC’s and Dr. Tyndall’s
 9   actions.
10   23.         Jane Doe R.K. (2009)
11               384. Jane Doe R.K. studied at USC from 2009 to 2012.
12               385. In 2009, Jane Doe R.K. scheduled an appointment with Dr. Tyndall. She
13   was 18 years old. She was considering becoming sexually active and wanted to
14   explore options for birth control. At the time, Jane Doe R.K. had never been to a
15   gynecologist.
16               386. When Jane Doe R.K. told Dr. Tyndall that she had never had sexual
17   intercourse before, he laughed and acted as though he did not believe her. She watched
18   him type into his notes something to the effect of “virgin supposedly suspecting initial
19   penetration.” The phrasing made her feel belittled and embarrassed.
20               387. After a short conversation, Dr. Tyndall prescribed Jane Doe R.K. his
21   “favorite pill,” which he claimed, “all [his] girls loved.” He did not explain the
22   numerous options for birth control or their potential side effects. Jane Doe R.K. felt
23   confused, but she filled the prescription because she needed contraception.
24               388. Jane Doe R.K. returned to Dr. Tyndall several months later because her
25   period became irregular, and she suspected that it was because of the birth control. At
26   the second appointment, Dr. Tyndall recommended that Jane Doe R.K. have a pelvic
27   exam and STD testing. Jane Doe R.K. responded that she thought STD testing would
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 1   be unnecessary because she and her partner had never had sex with anyone aside from
 2   each other. Dr. Tyndall replied sarcastically, saying something to the effect of “you
 3   two are in college, sure you are only having sex with each other.”
 4               389. Dr. Tyndall did not address Jane Doe R.K.’s concerns about her irregular
 5   period or the side effects of the birth control he had prescribed. Instead, he simply
 6   prescribed a new pill.
 7               390. After that appointment, Jane Doe R.K. decided never to see Dr. Tyndall
 8   again. She felt disrespected, judged, and emotionally distressed.
 9               391. Instead of receiving health care from Dr. Tyndall, Jane Doe R.K. would
10   drive an hour to see a gynecologist in her home town. Other doctors took her concerns
11   seriously and did not make jokes about her sex life. Unlike Dr. Tyndall, they explained
12   every exam and treatment and helped her find the contraceptive method that worked
13   best for her.
14               392. Jane Doe R.K. is outraged that USC allowed Dr. Tyndall to harass young
15   women like herself for decades. She feels that Dr. Tyndall took advantage of her age
16   and inexperience, and that he belittled her for his own amusement and sexual
17   gratification.
18               393. Dr. Tyndall violated the standard of care by, inter alia: (1) including
19   inappropriate and embarrassing information in Jane Doe R.K.’s medical record; (2)
20   making inappropriate comments during appointments; (3) prescribing birth control
21   pills without discussing potential side effects and other options; (4) performing an
22   unnecessary pelvic exam; and (5) failing to conduct proper testing to determine why
23   Jane Doe R.K. was experiencing irregular periods.
24               394. Jane Doe R.K. has thus been damaged by USC’s and Dr. Tyndall’s
25   actions.
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 1   24.         Jane Doe H.R. (2010)
 2               395. Jane Doe. H.R. attended USC from 2010-2012. She was examined by Dr.
 3   Tyndall on at least one occasion in or around 2010.
 4               396. During the appointment, Jane Doe H.R. told Dr. Tyndall that she was
 5   worried because she had been experiencing heavy periods and passing large blood
 6   clots. In response, Dr. Tyndall asked Jane Doe H.R. to “bring in her blood clots” after
 7   her next cycle.
 8               397. When Jane Doe H.R. asked how she would do that, he told her to put
 9   them in a Ziploc bag and bring it to him during her next appointment. In other words,
10   instead of offering medical advice or a diagnosis, or referring her to a specialist, Dr.
11   Tyndall made a highly inappropriate request. At the time, Jane Doe H.R. felt very
12   confused but believed it to be a legitimate request because it was coming from a USC-
13   employed doctor.
14               398. Dr. Tyndall made other comments Jane Doe H.R. found inappropriate
15   and unprofessional. He told her that he decided to be an OB/GYN because he realized
16   it was easier and paid more than his previous career.
17               399. Jane Doe H.R. does not recall a chaperone being present for her pelvic
18   exam.
19               400. After the appointment, Jane Doe H.R. decided not to follow through with
20   the request because she could not understand how to accomplish it and felt
21   embarrassed by the idea of bringing her menstrual blood to campus in a Ziploc bag.
22               401. Since her visit to Dr. Tyndall, Jane Doe H.R. has seen other OB/GYNs
23   who have offered sympathetic care for Jane Doe H.R.’s heavy and painful periods. On
24   one occasion, Jane Doe H.R. relayed the encounter and Dr. Tyndall’s request to
25   another medical professional, who found it highly unusual.
26               402. Since her visit to Dr. Tyndall, Jane Doe H.R. has struggled with her
27   experiences as a patient of Dr. Tyndall, and believes that his conduct was
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 1   inappropriate and humiliating. She believes Dr. Tyndall abused his power as a medical
 2   professional by making a completely inappropriate request seem legitimate.
 3               403. When Jane Doe H.R. heard about the accounts of other women in his
 4   care, she realized her experience was not an isolated incident but part of a pattern of
 5   inappropriate behavior with patients.
 6               404. Jane Doe H.R. has experienced feelings of humiliation and confusion
 7   around her appointment with Dr. Tyndall. Jane Doe H.R. believes her ability to trust
 8   doctors has been severely impacted, and that the quality of care provided to her may
 9   suffer as a result. Jane Doe H.R. characterizes herself as an exceedingly trusting
10   person, and is crushed that her trust of people in general, and medical professionals in
11   particular, has been compromised by the actions of Dr. Tyndall and USC.
12               405. Dr. Tyndall violated the standard of care by, inter alia: (1) making
13   inappropriate and embarrassing comments the appointment; (2) performing a pelvic
14   exam without a chaperone present; and (3) failing to conduct proper testing to
15   determine why Jane Doe H.R. was experiencing heavy periods and passing large
16   blood clots.
17               406. Jane Doe H.R. has thus been damaged by Dr. Tyndall’s and USC’s
18   actions.
19   25.         Jane Doe 1HB (2010-2011)
20               407. In or about 2010-2011, as a USC undergraduate studying theater at USC,
21   Jane Doe 1HB made an appointment for a pelvic exam at the USC student health
22   center because she was experiencing pain in her pelvic area.
23               408. Jane Doe 1HB knew that Dr. Tyndall was the only gynecologist on staff
24   at the USC student health center. Although she would have preferred to see a woman
25   doctor, she trusted USC to provide her with safe and professional care. Furthermore,
26   Jane Doe 1HB had received a pelvic exam from a male gynecologist prior to her visit
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 1   with Dr. Tyndall, and her experience had been comfortable and professional. She
 2   expected to have the same experience with Dr. Tyndall.
 3               409. Jane Doe 1HB entered Dr. Tyndall’s examination room, where his desk
 4   area was separated by a curtain. Dr. Tyndall asked Jane Doe 1HB why she was there,
 5   and she responded that she was having pelvic pain. He asked her to go behind the
 6   curtain and get undressed.
 7               410. Jane Doe 1HB suddenly realized that there was no female chaperone in
 8   the exam room, and she became tense. She asked for a woman to be present during her
 9   exam. Dr. Tyndall obliged and brought in a female chaperone.
10               411. To begin the examination, while wearing her gown, Jane Doe 1HB laid
11   down on the table and spread her legs. Dr. Tyndall inserted his fingers into Jane Doe
12   1HB’s vagina. While Dr. Tyndall’s fingers were inside of her, he asked Jane Doe 1HB
13   if she knew how to orgasm.
14               412. Jane Doe 1HB became very uncomfortable as she wondered how the
15   question could possibly be relevant to her pelvic exam. She continued staring at the
16   ceiling and responded “yes.”
17               413. With his fingers still inside of her, Dr. Tyndall responded that he was
18   glad Jane Doe 1HB knew how to orgasm, because most women did not. He stated that
19   most women have to be taught.
20               414. As the examination continued, Dr. Tyndall looked into Jane Doe 1HB’s
21   vagina. He commented that her cervix looked bruised. Jane Doe 1HB became very
22   self-conscious because the doctor was looking into her most private areas and
23   commenting on their appearance.
24               415. After the examination was over, the female chaperone left the room. Dr.
25   Tyndall remained. Before Jane Doe 1HB had a chance to get dressed, Dr. Tyndall
26   asked if she was having a lot of “rough sex.” Jane Doe 1HB was horrified. She said
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 1   no. Dr. Tyndall continued. He advised her to “stop having rough sex” on account of
 2   her allegedly-bruised cervix.
 3               416. Jane Doe 1HB left the appointment feeling distressed and violated. She
 4   blamed herself for being “tricked” into seeing a male OB/GYN, and she vowed never
 5   to return to Dr. Tyndall again.
 6               417. Jane Doe 1HB experienced extreme emotional distress after the incident
 7   with Dr. Tyndall. She felt a loss of agency around men. At times, Jane Doe 1HB has
 8   felt nervous, awkward, and afraid to talk to men.
 9               418. On multiple occasions after the incident with Dr. Tyndall, Jane Doe 1HB
10   has felt uncomfortable being sexually active, and has lacked the desire to have sex
11   with her male partners. Rather than having sex out of her own desire, as she did
12   before, she has often felt coerced into having sex with men. Jane Doe 1HB’s
13   experience with Dr. Tyndall has severely impacted or destroyed the sexuality she
14   previously felt.
15               419. Jane Doe 1HB went back to an OB/GYN in 2013, and the experience was
16   very different. The doctor did not ask her any unnecessarily personal questions.
17               420. Recent media reports about Dr. Tyndall have brought back the guilt,
18   shame, and anger that Jane Doe 1HB experienced at the time. She feels very
19   embarrassed and distressed that she saw Tyndall, and she blames herself for expecting
20   that USC would protect her. People around Jane Doe 1HB have made jokes about Dr.
21   Tyndall since the media reports surfaced, making her feel like a terrible punchline that
22   must remain hidden. Jane Doe 1HB has thus been severely damaged by Dr. Tyndall’s
23   and USC’s actions.
24               421. Dr. Tyndall violated the standard of care by, inter alia: (1) remaining in
25   examination room while Jane Doe 1HB undressed and dressed; (2) acting
26   inappropriately during pelvic examination; making inappropriate sexual comments
27   during digital penetration; (3) making inappropriate sexual comments after
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 1   appointment was over and chaperone had left; and (4) failing to conduct proper testing
 2   to determine why Jane Doe 1HB was experiencing pelvic pain.
 3               422. Jane Doe 1HB has thus been damaged by Dr. Tyndall’s and USC’s
 4   actions.
 5   26.         Jane Doe J.P. (2010-2011)
 6               423. From 2009-2015, Jane Doe J.P. was a doctoral student in neuroscience at
 7   USC.
 8               424. In or about 2010-2011, Jane Doe J.P. made an appointment with Dr.
 9   Tyndall to refill her birth control prescription.
10               425. At the time, she had been on the same birth control pill for about eight or
11   nine years. She expected Dr. Tyndall to ask her a few questions and write her a
12   prescription. She did not request, and did not expect, for him to perform a pelvic
13   exam.
14               426. Dr. Tyndall did perform at pelvic exam without explaining why it was
15   necessary. During the exam, while Jane Doe J.P. had her clothes off and Dr. Tyndall
16   was touching her, he asked Jane Doe J.P. about her ethnic background. She told him
17   that she is Korean-American. He responded, in a tone that made Jane Doe J.P. feel
18   sexualized and objectified, that he loved Korean people and Korean culture.
19               427. Dr. Tyndall began telling Jane Doe J.P. that his wife is Filipino. Jane Doe
20   J.P. felt deeply uncomfortable; she did not know why the doctor was telling her
21   personal information during a pelvic exam. She feared that he was trying to
22   communicate that he was attracted to Asian women.
23               428. There was no chaperone present. Jane Doe J.P. did not know that she
24   could, or that she should, request a chaperone.
25               429. Jane Doe J.P. left the appointment feeling violated and uncomfortable.
26   But she tried to tell herself she was overreacting. However, her feelings were validated
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 1   when she described the appointment to her roommate. Her roommate was shocked and
 2   thought the doctor’s behavior was highly inappropriate for a medical professional.
 3               430. Jane Doe J.P. does not recall seeing the results of her pelvic exam.
 4               431. For the remainder of her time at USC, Jane Doe J.P. avoided seeing Dr.
 5   Tyndall. But that made it difficult to get the care she needed. She recalls that there was
 6   one other OB/GYN and a nurse practitioner providing women’s health care at USC.
 7   Their appointment slots were always full—it was extremely difficult to book an
 8   appointment with either of them. However, Jane Doe J.P. would wait for an
 9   appointment with one of the other providers because she did not feel comfortable
10   seeing Dr. Tyndall.
11               432. Jane Doe J.P. looks back on her experience with Dr. Tyndall with disgust.
12   Recent revelations about the extent of his abuse of female students at USC has caused
13   Jane Doe J.P. emotional distress. They have caused her to relive her appointment with
14   Dr. Tyndall and made her extremely angry with USC. She feels ashamed, and she has
15   a very difficult time talking about the incident.
16               433. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
17   unnecessary and improper pelvic exam; (2) performing the pelvic exam without a
18   chaperone present; and (3) making inappropriate comments during the pelvic exam.
19               434. Jane Doe J.P. has thus been damaged by Dr. Tyndall’s and USC’s
20   actions.
21   27.         Jane Doe 1LC (2010-2016)58
22               435. Jane Doe 1LC is and was a student enrolled at USC. Prior to her
23   enrollment at USC, Jane Doe 1LC had not had access to gynecological care. Upon
24   enrolling at USC, she scheduled an appointment at the USC student health center.
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          Jane Doe 1 was named in a complaint filed by Lieff Cabraser and is called here
27   Jane Doe 1LC.
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 1   Following an initial visit with a different physician, she was scheduled with Dr.
 2   Tyndall.
 3               436. Jane Doe 1LC had approximately six appointments with Dr. Tyndall at
 4   USC’s facilities between 2010 and 2016. During each visit, Jane Doe 1LC was
 5   subjected to sexual harassment and inappropriate touching during examinations as
 6   well as inappropriate verbal comments on sexual issues.
 7               437. During at least one appointment, Dr. Tyndall groped Jane Doe 1LC’s
 8   breasts and failed to cover her with a hospital gown while performing a digital vaginal
 9   examination. During the exam, Dr. Tyndall indicated that he had difficulty “inserting
10   [his] fingers” into her vagina and that she “must be an athlete” because she was
11   especially “tight.”
12               438. Dr. Tyndall also pressured Jane Doe 1LC into agreeing to have a
13   Nexplanon contraceptive device implanted in her arm, even though she insisted to him
14   that she was not sexually active and had no need for contraception.
15               439. Further, during several appointments with Jane Doe 1LC, Dr. Tyndall
16   made inappropriate comments that had no legitimate medical purpose, including
17   references to the sexual activities of his other patients.
18               440. During one appointment Dr. Tyndall mentioned that many of his patients
19   (all students) were sexually active and one student would “go crazy if she didn’t have
20   sex.”
21               441. During another appointment Dr. Tyndall insisted on performing a full
22   vaginal exam even though the stated purpose of the appointment was a pap smear. Dr.
23   Tyndall refused to take the pap smear because he told Jane Doe 1LC it was too soon
24   and that she would need to obtain her medical records before he would take the pap
25   smear. Dr. Tyndall insisted on performing a vaginal exam even though Jane Doe 1LC
26   said she did not need one and it was not the purpose of the visit; Dr. Tyndall
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 1   responded that “You should have the vaginal exam since you are here.” No nurse was
 2   present because it was only scheduled as a pap smear.
 3               442. During another appointment Dr. Tyndall mentioned the growing number
 4   of school shootings and his concern that female students would be scantily clad during
 5   summer and thus somehow provoke more shootings.
 6               443. Dr. Tyndall’s inappropriate physical “treatment” and verbal statements to
 7   Jane Doe 1LC made her uncomfortable to the point of feeling violated.
 8               444. Dr. Tyndall violated the standard of care by, inter alia: (1) performing
 9   unnecessary pelvic exams; (2) performing pelvic exams without a chaperone present;
10   (3) making inappropriate comments during pelvic exams; (4) making inappropriate
11   sexual comments during appointments; and (5) unnecessarily implanting a Nexplanon
12   contraceptive device in Jane Doe 1LC’s arm when it was not requested.
13               445. Jane 1LC has thus been damaged by Dr. Tyndall’s and USC’s actions.
14   28.         Jane Doe C.N. (2011)
15               446. Jane Doe C.N. attended USC from August 2010 to May 2013. She made
16   an appointment with Dr. Tyndall at the USC student health center for a birth control
17   consultation on February 1, 2011.
18               447. When Jane Doe C.N. arrived for her appointment, Dr. Tyndall asked her
19   why she was there. She told him she needed to get her birth control prescription
20   refilled. Dr. Tyndall told Jane Doe C.N. that in order to get her prescription refilled,
21   she would need to have a pelvic exam. Jane Doe C.N. had not planned to get an
22   examination done. She had never had a pelvic exam before and did not know the
23   normal procedures for a pelvic exam, so she had no way of knowing whether Dr.
24   Tyndall’s methods were improper.
25               448. Jane Doe C.N. noticed that Dr. Tyndall had numerous personal items in
26   the exam room, including photographs of his wife. Dr. Tyndall asked Jane Doe C.N.
27   where she was from and she told him she was from San Francisco. When Dr. Tyndall
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 1   pointed out that Jane Doe C.N. had dark skin, she realized he was asking about her
 2   ethnic background.
 3               449. Jane Doe C.N. told Dr. Tyndall that her father was from Vietnam. Dr.
 4   Tyndall responded by describing the time he had spent in Vietnam. He repeatedly told
 5   her how beautiful both the country and the people were. He questioned Jane Doe C.N.
 6   as to why she never visited the country and continued to ask her questions about her
 7   knowledge of Vietnam. Jane Doe C.N. felt uncomfortable as it became very clear that
 8   Dr. Tyndall was communicating to her that he was attracted to Asian women.
 9               450. Dr. Tyndall told Jane Doe C.N. to get undressed and put on an
10   examination gown. He did not leave the room while she undressed.
11               451. Dr. Tyndall examined Jane Doe C.N. with his fingers. He forcefully
12   inserted one finger into her vagina and then inserted a second finger, causing extreme
13   pain. While he was examining her, he continued to talk about Asia. There was no
14   female chaperone or nurse in the room when Dr. Tyndall examined Jane Doe C.N.
15               452. Dr. Tyndall made other comments Jane Doe C.N. found inappropriate
16   and unprofessional. He commented on her body and told her she needed to exercise
17   regularly and recommended that she come back for a follow-up appointment. Jane
18   Doe C.N. left the appointment feeling distressed and violated.
19               453. The appointment was extremely uncomfortable and Jane Doe C.N. now
20   views the OB/GYN as a scary experience. Since that time and as a result of the
21   distress, Jane Doe C.N. has avoided going the OB/GYN. Jane Doe C.N. waited 18
22   months or longer to see another OB/GYN and has only agreed to see female
23   gynecologists since then.
24               454. When Jane Doe C.N. first heard reports that Dr. Tyndall had abused
25   many women, she immediately had a gut feeling that he was the same OB/GYN that
26   caused her such distress and requested her medical records for confirmation. The
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 1   distress she felt at the time of her examination came flooding back. She is upset and
 2   feels betrayed that USC allowed this to happen to her and so many other women.
 3               455. Jane Doe C.N. is extremely upset and distraught by the fact that Dr.
 4   Tyndall’s inappropriate behavior was allowed to go on for so long. She entrusted in
 5   her university to provide health care that would not lead to the pain and discomfort
 6   that she endured and will never forget.
 7               456. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
 8   improper and unnecessary pelvic exam; (2) making inappropriate comments during
 9   the examination; (3) performing a pelvic exam without a chaperone present; and (4)
10   remaining in the examination room while Jane Doe C.N. undressed.
11               457. Jane Doe C.N. has thus been damaged by Dr. Tyndall’s and USC’s
12   actions.
13   29.         Jane Doe J.L. (2011-2013)
14               458. From 2011 to 2013, Jane Doe J.L. was completing a master’s degree in
15   social work at USC. She saw Dr. Tyndall for a pap smear and pelvic exam on or about
16   August 25, 2011 and for a birth control consultation on or about December 7, 2012.
17               459. During the appointment, Dr. Tyndall asked Jane Doe J.L., a Korean-
18   American, to meet with him in his office, which at that time was a separate room from
19   the examination room.
20               460. Dr. Tyndall discussed birth control with Jane Doe J.L. Jane Doe J.L.
21   mentioned that she liked the birth control she had been on when she previously lived
22   in Korea.
23               461. Dr. Tyndall immediately told Jane Doe J.L. about his Filipino wife. He
24   said that they had a traditional Filipino wedding, and that he has great appreciation for
25   Asian culture. Dr. Tyndall pointed out that he was wearing a traditional Filipino shirt
26   that day.
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 1               462. Jane Doe J.L. began to feel very uncomfortable by the tone and the
 2   subject matter of the conversation. Dr. Tyndall was sharing overly personal
 3   information, and she became very nervous. She had a sinking feeling that Dr. Tyndall
 4   was trying to communicate to her that he was attracted to Asian women. All of a
 5   sudden, she felt it was very inappropriate to be alone with the doctor. Jane Doe J.L.
 6   felt distressed by the incident and did not return to see Dr. Tyndall.
 7               463. Jane Doe J.L. is now an in-patient social worker in a hospital, where she
 8   works with patients and teams of doctors every day. Given her training, Jane Doe J.L.
 9   now fully realizes the extent to which Dr. Tyndall’s conversation with her was
10   inappropriate. Since her appointment with Dr. Tyndall, Jane Doe J.L. has never
11   witnessed a doctor speaking to a patient that way.
12               464. Jane Doe J.L. has also been a patient to many other doctors since, and she
13   has never experienced the level of discomfort she did with Dr. Tyndall.
14               465. In her capacity as a social worker, if Jane Doe J.L. encountered a
15   physician sharing highly personal information with a patient in the same tone as Dr.
16   Tyndall, and with an emphasis on the patient’s ethnicity, she would report the
17   incident.
18               466. The experience with Dr. Tyndall haunts Jane Doe J.L. to this day. When
19   she recently learned that she would have to undergo fertility treatments, she was
20   referred to a male fertility doctor and male surgeon. She wanted to see the best
21   doctors, but her past experiences made her feel very uncomfortable. Jane Doe J.L. has
22   required her husband to be present during visits to make her feel safe. The trauma of
23   seeing Dr. Tyndall as a young woman has compounded stress and emotion of
24   undergoing fertility treatments.
25               467. When the media reported on Dr. Tyndall’s inappropriate behavior, Jane
26   Doe J.L. was distressed to learn that USC had known of and allowed him to continue
27   to treat vulnerable, young female patients.
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 1               468. Dr. Tyndall violated the standard of care by making inappropriate and
 2   embarrassing comments during the appointment.
 3               469. Jane Doe J.L. has thus been damaged by Dr. Tyndall’s and USC’s
 4   actions.
 5   30.         Vanessa Carlisle (2011-2015)
 6               470. Vanessa Carlisle was a graduate doctoral student in creative writing and
 7   gender studies at USC from 2011 to 2016.
 8               471. During her time at USC, Ms. Carlisle saw Dr. Tyndall for her
 9   gynecological care. She saw him approximately three times for her annual exams,
10   which included pap smears.
11               472. On her first visit, Dr. Tyndall impressed upon Ms. Carlisle that bearing
12   children is dangerous and horrific, and that she should be on birth control. He told her
13   that childbirth was one of the leading causes of death for women. Ms. Carlisle felt the
14   warnings were inappropriate and unnecessary, especially considering she had been on
15   birth control for more than a decade and had not expressed an interest in becoming
16   pregnant.
17               473. On each occasion that she was treated by Dr. Tyndall, Ms. Carlisle was
18   not treated properly. He touched her in ways that did not seem clinical and seemed
19   invasive. He often did not close the curtain to the examination room completely. He
20   did not always knock to announce his presence before walking into the examination
21   room when she was undressed.
22               474. Dr. Tyndall performed each of Ms. Carlisle’s annual breast exams with
23   no gloves, which made Ms. Carlisle very uncomfortable.
24               475. On at least one occasion, Ms. Carlisle told the doctor she was having
25   unusual spotting. He responded by asking her if she was having “rough sex.”
26               476. On at least one occasion, Dr. Tyndall told Ms. Carlisle about his
27   “gorgeous Filipina wife,” and showed her photos of his wife.
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 1               477. While Ms. Carlisle was Dr. Tyndall’s patient, she tested positive for
 2   human papillomavirus (“HPV”) and needed a colposcopy. Dr. Tyndall performed the
 3   colposcopy and the test came back “clear,” meaning that no further tests were needed.
 4               478. On a subsequent visit, Ms. Carlisle tested negative for HPV. Despite this,
 5   and despite the fact that her colposcopy had come back “clear,” Dr. Tyndall told Ms.
 6   Carlisle that he needed to perform an anal pap smear to make sure that the virus had
 7   not spread. He told Ms. Carlisle that the anal pap smear was a new procedure that
 8   would be “great” for her, without explaining the pros and cons based on her level of
 9   risk or giving her time to think about it, and performed the procedure. Later, Ms.
10   Carlisle discovered through research that the anal pap smear is primarily used for
11   extremely high risk patients who tested positive for HPV. She felt distressed and
12   violated.
13               479. Ms. Carlisle identifies as bi-sexual. She informed Dr. Tyndall of this on
14   her first visit.
15               480. Dr. Tyndall asked Ms. Carlisle invasive questions about her sexuality.
16   His questions included why she was on birth control since she was not having sex with
17   men, how she “liked” being non-heterosexual and how it was working out for her,
18   indicating that he wanted to know how she enjoys sex with women and what kind of
19   sexual activity she engages in with women. Dr. Tyndall also made comments to the
20   effect that Ms. Carlisle was wise to avoid men, despite the fact that Ms. Carlisle had
21   stated that she has sex with both men and women. Throughout his questioning, Dr.
22   Tyndall referred to Ms. Carlisle as a “lesbian,” even though she told him that she
23   identifies as bi-sexual.
24               481. Ms. Carlisle felt dismissed and demeaned by this line of questioning. She
25   also felt that Dr. Tyndall’s understanding of and sensitivity to non-heterosexual
26   identities was far below the standard of care she expected from a women’s health care
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 1   provider. She felt the need to educate him about queer identities, even though he was
 2   her doctor.
 3               482. On at least one occasion, Dr. Tyndall commented that Ms. Carlisle’s body
 4   looked young and fit for a woman of her age while he was examining her with her
 5   clothes off.
 6               483. On one occasion, Ms. Carlisle mentioned that she was having some
 7   abnormal bleeding. While he was examining her, Dr. Tyndall responded to Ms.
 8   Carlisle that her cervix was very friable, that she had the cervix of a 16-year-old girl,
 9   and therefore she was “destined to bleed.”
10               484. On at least one occasion, Dr. Tyndall disclosed to Ms. Carlisle that many
11   of his patients are afraid of sex and their own sexuality. He said that he finds it
12   difficult to treat them, because they are afraid of their own bodies.
13               485. Ms. Carlisle constantly felt uncomfortable, angry, and demeaned during
14   her appointments with Dr. Tyndall. She felt as though she was there for his
15   entertainment and exploitation. However, she did not feel that USC provided her with
16   any other options for women’s health care. Therefore, she continued to be subjected to
17   Dr. Tyndall’s unprofessional and violating actions every year until she graduated. She
18   felt trapped.
19               486. Dr. Tyndall’s conduct made Ms. Carlisle feel violated, exploited, and
20   emotionally distressed. Media reports about Dr. Tyndall have made her feel outraged
21   at USC for allowing his behavior to continue throughout the years, and those reports
22   have caused the traumatic memories of his examinations to resurface, which has in
23   turn caused Ms. Carlisle emotional distress.
24               487. Dr. Tyndall violated the standard of care by, inter alia: (1) making
25   inappropriate and incorrect comments about childbirth and pregnancy; (2) failing to
26   respect Ms. Carlisle’s privacy when she was undressing and dressing; (3) touching
27   Ms. Carlisle inappropriately; (4) conducing breast exams improperly; (5) making
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 1   inappropriate sexual comments during appointments; (6) performing an unnecessary
 2   and inappropriate anal exam; (7) making inappropriate comments about Ms. Carlisle’s
 3   sexuality; (8) inappropriately examining Ms. Carlisle while she was completely
 4   undressed; and (9) failing to perform proper tests to determine why Ms. Carlisle was
 5   experiencing abnormal bleeding.
 6               488. Ms. Carlisle has thus been damaged by Dr. Tyndall’s and USC’s actions.
 7   31.         Jane Doe J.C. (2011 – 2015)
 8               489. Jane Doe J.C. attended USC from 2011-2015, during which she was a
 9   patient of Dr. Tyndall’s for approximately the first two years.
10               490.   Dr. Tyndall was the first OB/GYN Jane Doe J.C. ever saw. During the
11   pelvic exam, Dr. Tyndall used his fingers in a pumping motion in order to “palpate”
12   Jane Doe J.C.’s uterus and ovaries. She did not know the normal procedures for a
13   pelvic exam, and had no way of knowing whether Dr. Tyndall’s methods were
14   improper.
15               491. Jane Doe J.C. is half Filipino. During a couple of the appointments with
16   Dr. Tyndall, he commented that Jane Doe J.C. was pretty. Dr. Tyndall mentioned that
17   he completed his medical training in the Philippines, he had a Filipina wife, and that
18   all Filipina women are beautiful. Jane Doe J.C. felt uncomfortable and felt that Dr.
19   Tyndall was trying to get personal with her in an inappropriate way.
20               492. Jane Doe J.C. saw Dr. Tyndall for approximately four visits before
21   switching her care to Planned Parenthood. She made the switch because she felt
22   extremely uncomfortable with Dr. Tyndall. As a people pleaser, Jane Doe J.C.
23   originally felt like she was being difficult for not liking Dr. Tyndall. She told her
24   friends how creepy Dr. Tyndall was and to avoid seeing him if they could, but did not
25   realize the extent of his behavior until learning how to perform pelvic exams herself a
26   couple of years later. When Jane Doe J.C. first heard reports that Dr. Tyndall had
27   abused many women, she felt validated in her experiences.
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 1               493. As a current medical student who has learned how to perform a proper
 2   pelvic exam (as well as visits to other, more professional OB/GYN doctors), Jane Doe
 3   J.C. now knows just how inappropriate Dr. Tyndall’s behavior was.
 4               494. In her three years of medical school, she has had the privilege of
 5   witnessing doctor-patient relationships from the other side. The trust placed in the
 6   hands of a physician, especially an OB/GYN, is immense. In addition to feeling
 7   physically violated, she still currently feels emotionally violated due to that breach of
 8   trust. Looking back, she is outraged and disgusted that Dr. Tyndall was in a position of
 9   power that enabled him to abuse so many young and vulnerable women for so long.
10   Since her experience with Dr. Tyndall, she has only felt comfortable seeing female
11   OB/GYNs.
12               495. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
13   improper pelvic exam; (2) unnecessary digital penetration; and (3) making
14   inappropriate comments during appointments.
15               496. Jane Doe J.C. has thus been damaged by Dr. Tyndall’s and USC’s
16   actions.
17   32.         Jane Doe F.M. (2012-2013)
18               497. Jane Doe F.M. attended USC from 2009-2013. During her junior or
19   senior year, Jane Doe F.M. saw Dr. Tyndall for an appointment at the student health
20   center to get her birth control prescription refilled. At the time, Jane Doe F.M. had
21   only had full gynecological exams performed a few times.
22               498. When Jane Doe F.M. arrived for her appointment, Dr. Tyndall asked her
23   why she was there. She told him she needed to get her birth control prescription
24   refilled. Dr. Tyndall then suggested, in a strangely talkative way, that he had better do
25   a full check-up while Jane Doe F.M. was there. Dr. Tyndall quickly left the room, told
26   Jane Doe F.M. to take off all of her clothes, and had his nurse grab her a robe.
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 1               499. Jane Doe F.M. had not intended to get an examination done, especially
 2   because she was uncomfortable with the notion of a male OB/GYN examining her, but
 3   Dr. Tyndall pushed ahead with the process. She figured Dr. Tyndall must have had her
 4   best interests at heart as a doctor.
 5               500. Once Jane Doe F.M. was undressed and laying on the examination table,
 6   Dr. Tyndall touched her bare breasts with his hands and digitally penetrated her, all
 7   the while chatting away with a familiarity that she found odd and uncomfortable. A
 8   female nurse was in the examination room at the time, which made Jane Doe F.M. feel
 9   like everything Dr. Tyndall was doing must be appropriate and routine.
10               501. While his fingers were inside of her, Dr. Tyndall made a joke with sexual
11   overtones about his wife being an Asian mail-order bride. Dr. Tyndall made a
12   comment about how he “was used to feeling small breasts” like Jane Doe F.M.’s
13   breasts because his wife was an Asian mail-order bride. The tone and the subject
14   matter of the conversation made Jane Doe F.M. very uncomfortable.
15               502. Jane Doe F.M. left the examination feeling extremely uncomfortable and
16   violated. She has never visited a male OB/GYN again, and eventually got an IUD in
17   order to avoid going to the OB/GYN altogether.
18               503. When Jane Doe F.M. first heard reports that Dr. Tyndall had abused
19   many women, she immediately replayed her experience with him. She was incredibly
20   upset when she heard that USC knew about Dr. Tyndall’s inappropriate behavior and
21   did nothing to stop him from preying on young women in a very vulnerable time of
22   their lives. Jane Doe F.M. is outraged that USC failed to protect young women who,
23   like herself, had no context for what a gynecological exam should be like and were too
24   embarrassed to speak up.
25               504. Dr. Tyndall violated the standard of care by, inter alia: (1) performing an
26   unnecessary and inappropriate pelvic examination; (2) improper digital penetration;
27   (3) performing an improper breast examination; (3) making inappropriate comments
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 1   during breast and pelvic exam; and (4) failing to properly drape Jane Doe F.M. during
 2   breast and pelvic exams.
 3               505. Jane Doe F.M. has thus been damaged by Dr. Tyndall’s and USC’s
 4   actions.
 5   33.         Jane Doe J.K. (2012-2013)
 6               506. Jane Doe J.K. had USC insurance from August 2012 until September
 7   2014.
 8               507. On or about August 30, 2012, Jane Doe J.K. made an appointment to see
 9   a doctor in the USC student health center because she had a growth on her genitals.
10   She had not been to the health center before. Dr. Tyndall was the only doctor
11   available. She did not want to see a male gynecologist, but she needed immediate care,
12   and Dr. Tyndall was the only available doctor. Dr. Tyndall diagnosed the growth.
13               508. In the spring of 2013, Jane Doe J.K. saw Nurse Practitioner Donna Beard
14   at the USC health center for a contraception consultation.
15               509. In August 2013, Jane Doe J.K. started having chronic yeast and bacterial
16   infections. Ms. Beard was not available, so Jane Doe J.K. saw Dr. Tyndall. Because
17   she was having chronic infections, Jane Doe J.K. saw Dr. Tyndall on several
18   additional occasions during the fall of 2013.
19               510. During one of the appointments Dr. Tyndall commented on Jane Doe
20   J.K.’s appearance.
21               511. On one occasion, Dr. Tyndall performed a breast exam on Jane Doe J.K.
22   Dr. Tyndall conducted the exam in a way that did not feel clinical, and he commented
23   on the appearance of Jane Doe J.K.’s breasts during the exam.
24               512. On at least one occasion, Dr. Tyndall digitally penetrated Jane Doe J.K.
25   While his fingers were inside of her vagina, he commented that she had a very strong
26   pelvic floor and that she must be a runner. His fingers then seemed to linger insider of
27   her vagina. There was a chaperone in the room.
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 1               513. The comment made Jane Doe J.K. uncomfortable; however, she had seen
 2   many gynecologists in the past because she had frequent infections. Previously, a
 3   doctor asked about her exercise habits, because sometimes sweating in a restricted
 4   area can cause yeast infections. Thus, she told herself that the comment might have
 5   been normal. She was also reassured by the presence of a chaperone in the room.
 6               514. On at least one occasion Dr. Tyndall asked Jane Doe J.K. to come into his
 7   office to finish their conversation. Once, Dr. Tyndall began to close the door, and Jane
 8   Doe J.K. asked him to leave it open. She had begun to feel uneasy with the doctor, and
 9   she was especially uncomfortable talking alone with him in his office.
10               515. During one of their conversations, Dr. Tyndall showed Jane Doe J.K. a
11   photo of his wife, and he commented on his wife’s appearance.
12               516. Dr. Tyndall recommended that Jane Doe J.K. use a douche to treat her
13   chronic infections, rather than taking a course of medication. When Jane Doe J.K.
14   questioned the recommendation, because it was not what most gynecologists had
15   recommended in the past, Dr. Tyndall insisted that douching would regulate the pH of
16   Jane Doe J.K.’s vagina.
17               517. Dr. Tyndall asked Jane Doe J.K. if she knew how to douche, and she
18   answered that she did not. So, to demonstrate, Dr. Tyndall rolled his chair out from
19   behind his desk and spread his legs. He held a plastic bag up to his crotch and
20   mimicked the douching mechanism. Jane Doe J.K. could see the outline of Dr.
21   Tyndall’s penis while she was observing the demonstration. The demonstration made
22   Jane Doe J.K. extremely uncomfortable.
23               518. Jane Doe J.K. tried douching. But, throughout the entire autumn of 2013,
24   her yeast and bacterial infections continued unabated. Thus, she continued to see Dr.
25   Tyndall, because she needed treatment.
26               519. In the summer of 2014 Jane Doe J.K. started having recurring yeast and
27   bacterial infections again. She was cognizant of the fact that she was going to graduate
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 1   and lose her health insurance soon, so she made an appointment with the USC student
 2   health center. Dr. Tyndall was not available, so Jane Doe J.K. saw Donna Beard.
 3               520. Ms. Beard prescribed a course of metronidazole to treat the bacterial
 4   infection, followed by a dose of diflucan to treat any possible yeast buildup.
 5               521.   Jane Doe J.K. told Ms. Beard that another doctor had recommended that
 6   she simply douche, rather than taking medication. Ms. Beard asked her who gave her
 7   that recommendation, and Jane Doe J.K. replied Dr. Tyndall. Ms. Beard said
 8   something to the effect of: “You shouldn’t do that. That’s not good treatment. And I
 9   do not recommend that you see that physician again.” Jane Doe J.K. felt that Ms.
10   Beard was trying to communicate that Dr. Tyndall was not a good or safe doctor.
11               522. In the years following her time at USC, Jane Doe J.K. has seen many
12   OB/GYNs to treat chronic bacterial and yeast infections and during pregnancy. No
13   doctor has since recommended that she douche in order to treat her chronic infections.
14   Likewise, no doctor has since commented about her pelvic floor during a pelvic exam,
15   with the exception of a doctor who was performing a pelvic exam following labor and
16   childbirth in order to assess any potential pelvic floor prolapse, as is common
17   following pregnancy.
18               523. Jane Doe J.K. made the decision to return to Dr. Tyndall multiple times,
19   despite the fact that he made her uncomfortable, because she believed that USC would
20   not employ a doctor who was unsafe and gave poor medical advice. Now that she
21   knows the opposite is true, she feels deeply violated by the doctor and let down by
22   USC.
23               524. Jane Doe J.K. experienced sexual assault when she was younger, and
24   during the time she was confused about whether the behavior was normal. There had
25   been people around her who knew what was happening and yet did not intervene, so
26   she told herself that the behavior was ok. She looks back on that experience and her
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 1   experience with Dr. Tyndall with a similar sense of betrayal. She feels distressed that
 2   once again, she was failed by people and a system that were supposed to protect her.
 3               525. Dr. Tyndall violated the standard of care by, inter alia: (1) making
 4   inappropriate comments during appointments; (2) performing an improper breast exam
 5   while making inappropriate sexual comments; (3) performing an improper pelvic
 6   exam while making inappropriate sexual comments; and (4) failing to conduct proper
 7   testing and properly treat Jane Doe J.K.’s vaginal yeast infection.
 8               526. Jane Doe J.K. has thus been damaged by USC’s and Dr. Tyndall’s
 9   actions.
10   34.         Jane Doe C.L. (2013)
11               527. In 2013, Jane Doe C.L. was a junior at USC studying economics. She
12   scheduled an appointment online to see a gynecologist at the student health center
13   because she was having some pain and discomfort, and she suspected that she had a
14   yeast infection.
15               528. Jane Doe C.L. had seen a gynecologist for a yeast infection before. Based
16   on her experience, she expected Dr. Tyndall to take a tissue sample, test it, and then
17   give her a prescription if needed.
18               529. When Jane Doe C.L. arrived at her appointment, she filled out some
19   paperwork and then met with Dr. Tyndall in his office.
20               530. Dr. Tyndall began asking her questions about her interests. Jane Doe C.L.
21   told him that she likes traveling and gardening. Dr. Tyndall mentioned that his wife is
22   not American, and that they often travel internationally. He pointed to a potted plant in
23   his office and said that he too likes plants. Jane Doe C.L. felt as though the doctor was
24   trying to put her at ease. Dr. Tyndall asked Jane Doe C.L. about her sexual partners,
25   and she told him that she has sex with men and women.
26               531. Then, Dr. Tyndall began to ask Jane Doe C.L. highly invasive questions
27   about her sexual activity and preferences. He asked if she puts her fingers into her own
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 1   vagina, and if her girlfriend penetrates her with fingers. He asked how often this
 2   occurred, and which fingers they use on each other. Dr. Tyndall also asked Jane Doe
 3   C.L. if she regularly engages in oral sex on the weekends.
 4               532. Dr. Tyndall then asked Jane Doe C.L. how long she had been dating
 5   women, and whether she had ever been sexually intimate with a man. He asked if she
 6   had been sexually intimate with anyone aside from her girlfriend in the last month. Dr.
 7   Tyndall then asked, if she had to choose between having sex with men or women,
 8   which she would choose.
 9               533. Jane Doe C.L. found Dr. Tyndall’s line of questioning appalling. She was
10   highly disturbed by his interest in details about her sex life and sexual preferences. It
11   seemed to her as though Dr. Tyndall was asking questions about her sexual orientation
12   for his own amusement and curiosity.
13               534. Dr. Tyndall informed Jane Doe C.L. that lesbians often contract yeast
14   infections and other bacterial infections because they penetrate each other without first
15   washing their hands.
16               535. Dr. Tyndall then told Jane Doe C.L. to go behind the curtain that divided
17   Dr. Tyndall’s office from the examination room, undress, and put on a gown.
18   Although Jane Doe C.L. felt extremely uncomfortable, she needed medical care. She
19   followed the doctor’s instructions and proceeded with the exam.
20               536. After she was undressed, Dr. Tyndall entered the room and began a pelvic
21   exam. While he was examining Jane Doe C.L., he continued to ask her questions. He
22   asked her if she ever had sex with men, and specifically whether she had ever been
23   penetrated by a man.
24               537. Jane Doe C.L. did not want to answer Dr. Tyndall’s questions because
25   she felt that they were needlessly intrusive. But, because Dr. Tyndall was speaking
26   from a position of authority, and from the position of a medical professional who was
27   supposed to help her, Jane Doe C.L. felt obliged to continue answering.
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 1               538. Dr. Tyndall digitally penetrated Jane Doe C.L., and using a skeptical
 2   tone, he told Jane Doe C.L. that her hymen was partially intact. He then adjusted his
 3   fingers and confirmed aloud once again than Jane Doe C.L.’s hymen was intact. Jane
 4   Doe C.L. felt significant pain and discomfort as Dr. Tyndall moved his fingers around
 5   inside of her. She felt hopeless and humiliated, and prayed for the penetration to end.
 6               539. Dr. Tyndall had not told Jane Doe C.L. that he was going to check her
 7   hymen (or why), nor had he asked for her consent. Jane Doe C.L. wondered if the
 8   digital penetration had even been necessary.
 9               540. Jane Doe C.L. resolved never to see Dr. Tyndall again. She did not want
10   to subject herself to overt questions about her sexual activities or unnecessary digital
11   penetration. Because she was not from California, she also wondered whether
12   gynecologists in California behave differently than those in other states. She resolved
13   not to see another OB/GYN for the remainder of her time in California.
14               541. After the examination, Jane Doe C.L. felt disgusted by Dr. Tyndall’s
15   conduct and apparent interest in her sexual activity. She became distressed, and
16   experienced loss of appetite and weight loss.
17               542. Two years after seeing Dr. Tyndall, Jane Doe C.L. scheduled an
18   appointment with an OB/GYN in Atlanta. She made it a point to see a woman. In
19   sharp contrast to Dr. Tyndall, the female doctor was respectful, appropriate, and
20   informative.
21               543. Since seeing Dr. Tyndall’s photo on the news, Jane Doe C.L. has suffered
22   emotional distress. She has had difficulty sleeping, and has experienced a precipitous
23   loss in appetite. She is currently seeking counseling to help her cope with the trauma.
24               544. Jane Doe C.L. feels betrayed by her alma mater for failing to protect her
25   and many other women from Dr. Tyndall’s unprofessional and abusive behavior.
26               545. Dr. Tyndall violated the standard of care by, inter alia: (1) making
27   inappropriate comments about Jane Doe C.L.’s sexuality; (2) making inappropriate
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 1   comments about Jane Doe C.L.’s sexual history and preferences; (3) remaining in the
 2   room while Jane Doe C.L. undressed; (4) making inappropriate comments during
 3   pelvic exam; (5) conducting the pelvic exam incorrectly and inappropriately; and (6)
 4   improper digital penetration.
 5               546. Jane Doe C.L. has thus been damaged by Dr. Tyndall’s and USC’s
 6   actions.
 7   35.         Jane Doe S.R. (2013)
 8               547. Jane Doe S.R. attended USC as an undergraduate and graduate student. In
 9   February 2013, she made an appointment at the USC student health center with the
10   only available physician, Dr. Tyndall, because her OB/GYN back home advised she
11   needed to follow-up on an abnormal pap smear.
12               548. When she arrived at her appointment, Jane Doe S.R. met with Dr. Tyndall
13   in his office. Dr. Tyndall’s demeanor and tone during this initial meeting made Jane
14   Doe S.R. incredibly uncomfortable. He also sat way too close to her while they were
15   in his office.
16               549. Dr. Tyndall made comments that Jane Doe S.R. found inappropriate and
17   unprofessional. When Jane Doe S.R. told Dr. Tyndall she was taking birth control for
18   irregular periods, he told her if she lost weight she would have no problem getting
19   pregnant. Dr. Tyndall gestured toward Jane Doe S.R.’s body in a demeaning way as he
20   made this comment. At the time, Dr. Tyndall had no knowledge of Jane Doe S.R.’s
21   gynecological history and she had no interest in being pregnant so his statement on her
22   supposed fertility was especially creepy and upsetting.
23               550. Jane Doe S.R. was extremely uncomfortable as she walked to the
24   examination room with Dr. Tyndall. She felt an overwhelming urge to leave.
25               551. Dr. Tyndall told Jane Doe S.R. to get undressed and lie down on the
26   examination table. There was a chaperone present during the colposcopy procedure.
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 1               552. Dr. Tyndall did not say anything else to Jane Doe S.R. when they were in
 2   the examination room. Dr. Tyndall performed a colposcopy procedure using an
 3   illuminated, magnifying instrument that allowed him to examine Jane Doe S.R.’s
 4   cervix. However, he did not tell her what to expect during the procedure. In fact, Dr.
 5   Tyndall said nothing to Jane Doe S.R. as he was examining her.
 6               553. Jane Doe felt frightened, trapped and unsure of what was happening. The
 7   examination and colposcopy procedure were painful. Jane Doe S.R. began to cry.
 8               554. When the examination was over, Dr. Tyndall walked out of the room
 9   without saying anything to Jane Doe S.R. She was still crying. The chaperone handed
10   her a tissue and also walked out of the room. Jane Doe S.R. got up, dressed and left
11   the examination room.
12               555. Jane Doe S.R. does not recall seeing the results of the colposcopy.
13               556. The appointment with Dr. Tyndall was extremely uncomfortable and Jane
14   Doe S.R. now views the OB/GYN as a scary experience. Since that time and as a
15   result of the distress, Jane Doe S.R. has avoided going to the OB/GYN and has only
16   agreed to see female gynecologists.
17               557. Jane Doe S.R. looks back on her experience with Dr. Tyndall with
18   disgust. Recent revelations about the extent of his abuse of female students has caused
19   Jane Doe S.R. emotional distress. They have caused her to relive her appointment with
20   Dr. Tyndall and have made her extremely angry with USC.
21               558. When Jane Doe S.R. first heard reports that Dr. Tyndall had abused many
22   women, she immediately knew in her gut that he was the same OB/GYN that caused
23   her such distress. She requested her medical records for confirmation. When Jane Doe
24   S.R. reviewed her records from her visit with Dr. Tyndall, she was shocked to read in
25   Dr. Tyndall’s notes a comment that she “uses ecstasy occasionally—last use 2 weeks
26   ago” because the note is untrue, so she does not understand why it is in there.
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 1               559. She is upset and feels betrayed that USC allowed this to happen to her
 2   and so many other women.
 3               560. Dr. Tyndall violated the standard of care by, inter alia: (1) making
 4   inappropriate comments and gestures to Jane Doe S.R. during the appointment; (2)
 5   failing to properly advise and inform her of the procedures being performed; and (3)
 6   performing an improper pelvic exam while making inappropriate sexual comments.
 7               561. Jane Doe S.R. has thus been damaged by Dr. Tyndall’s and USC’s
 8   actions.
 9   36.         Jane Doe K.P. (2013)
10               562. In 2013 Jane Doe K.P. was a student at USC. She was 21 years old at the
11   time. She scheduled an appointment with Dr. Tyndall because it had been a few years
12   since she had a women’s health care appointment. When she called the USC student
13   health center, she was assigned to Dr. Tyndall.
14               563. Dr. Tyndall performed a pelvic exam on Jane Doe K.P. When he inserted
15   the speculum into her vagina, he commented that she was very tight, and that the boys
16   must love her. The comment made Jane Doe K.P. feel frightened and uncomfortable.
17               564. Ever since the media has reported on Dr. Tyndall’s widespread pattern of
18   abuse, Jane Doe K.P. has felt emotionally distressed due to the memory of her
19   examination. She is especially distressed that USC allowed Dr. Tyndall to abuse so
20   many women throughout his years at USC.
21               565. Dr. Tyndall violated the standard of care by making inappropriate sexual
22   comments during the pelvic exam.
23               566. Jane Doe K.P. has thus been damaged by Dr. Tyndall’s and USC’s
24   actions.
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 1   37.         Jane Doe 2 (2013-2014)
 2               567. Jane Doe 2 saw Dr. Tyndall for a gynecological exam in or about 2013 or
 3   2014. Prior to her appointment with Dr. Tyndall, she had never been examined by an
 4   OB/GYN before.
 5               568. Jane Doe 2 made the appointment because she had engaged in sexual
 6   intercourse for the first time and had not used protection. She felt an urgency to see a
 7   doctor, and she went into the appointment feeling very nervous and vulnerable.
 8               569. Jane Doe 2 first met with a nurse. She informed the nurse that she had
 9   engaged in unprotected sex and wanted to be tested for STDs.
10               570. The nurse directed Jane Doe 2 to get undressed and put on a gown. After
11   Jane Doe 2 was wearing the gown, Dr. Tyndall and a chaperone entered the
12   examination room.
13               571. As Jane Doe 2 lay on the examination table, wearing a gown and with her
14   legs spread, she felt Dr. Tyndall insert his fingers into her vagina. He did not tell Jane
15   Doe 2 that he was going to insert his fingers, nor did he tell her why.
16               572. With his fingers inside of Jane Doe 2, Dr. Tyndall said, “ok it is tight and
17   inflamed,” in reference to Jane Doe 2’s vagina. He did not tell her what to expect from
18   a pelvic exam, why he was inserting his fingers, or what the inflammation might
19   mean.
20               573. The comment and procedure made Jane Doe 2 feel very uncomfortable
21   and ashamed. However, she was reassured by the presence of the female chaperone,
22   whom she assumed would have her best interest in mind.
23               574. After the examination was over, Dr. Tyndall told Jane Doe 2 to get
24   dressed and meet with him in his office, which was a separate room from the
25   examination room. Jane Doe 2 became alarmed that the doctor wanted to meet with
26   her one-on-one, and there was no longer a female chaperone present. She thought he
27   might want to discuss a medical problem.
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 1               575. But in his office, Dr. Tyndall asked Jane Doe 2 to tell him about herself:
 2   what she was studying, her race and ethnicity. Jane Doe 2 told Dr. Tyndall that she
 3   was graduating. Dr. Tyndall told Jane Doe 2 about his Filipino wife.
 4               576. Dr. Tyndall then turned to Jane Doe 2’s recent sexual encounter. He
 5   asked Jane Doe 2 if her first time having sexual intercourse had been painful, and
 6   whether it had been with a random person or with a partner.
 7               577. Jane Doe 2 answered the doctor’s questions because she felt that she had
 8   no choice. He was an authority figure. She told him that she took the morning after pill
 9   within the recommended time and had all her HPV vaccines, hoping the information
10   about her precautions would put a stop to the personal questions. But it did not. Rather
11   than give medical information about the morning-after pill, Dr. Tyndall simply
12   remarked continuously about the high price of the pill.
13               578. Dr. Tyndall then told Jane Doe 2 that he had one patient who lost her
14   virginity and contracted genital warts as a result, her partner had not exhibited
15   symptoms at the time, and she would have to live with genital warts for the rest of her
16   life. He added that this patient was in a “committed relationship” and the encounter
17   had not been “a one-night stand” like Jane Doe 2’s.
18               579. Jane Doe 2 became very uncomfortable, in part because she felt judged,
19   as if Dr. Tyndall was putting words in her mouth and unnecessarily characterizing her
20   sexual encounter. She felt that the doctor was attempting to intimidate her.
21               580. Dr. Tyndall told Jane Doe 2 that he wanted her to get an IUD, and that he
22   would put in an order right away so that she could obtain it before her student health
23   insurance ran out (she was graduating).
24               581. Jane Doe 2 felt extremely uncomfortable with the conversation, but
25   because she had never been to the gynecologist before, she did not know the degree to
26   which the encounter was abnormal and inappropriate.
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 1               582. Jane Doe 2 left the appointment feeling distressed. She vowed never to
 2   return to Dr. Tyndall.
 3               583. From there, Jane Doe 2 scheduled a subsequent appointment with a
 4   different OB/GYN to receive birth control. Her appointment with the other OB/GYN
 5   felt normal and comfortable.
 6               584. In hindsight, Jane Doe 2 realizes that Dr. Tyndall’s behavior toward her
 7   was violative and highly inappropriate. She has suffered emotional distress since the
 8   appointment, and her distress has become heightened since learning that USC allowed
 9   Dr. Tyndall to abuse many women like herself.
10               585. Dr. Tyndall violated the standard of care by, inter alia: (1) digitally
11   penetrating Jane Doe 2 without explanation and without obtaining consent; and (2)
12   making inappropriate sexual comments when Jane Doe 2 was alone with Dr. Tyndall
13   in his office.
14               586. Jane Doe 2 has thus been damaged by Dr. Tyndall’s and USC’s actions.
15   38.         Betsayda Aceituno (2013-2015)
16               587. Betsayda Aceituno was an undergraduate student at USC from August
17   2013 through May 2015. During that time, she had approximately three appointments
18   with Dr. Tyndall in the student health center.
19               588. Dr. Tyndall asked Ms. Aceituno where she was from because he said she
20   had Asian features (mostly her eyes). Ms. Aceituno responded she was not Asian, that
21   she was Latina. Dr. Tyndall’s comments about Ms. Aceituno’s eyes and ethnicity
22   made her uncomfortable and uneasy.
23               589. There was a chaperone in the room for some, but not all, of Ms.
24   Aceituno’s examinations.
25               590. On one occasion, Dr. Tyndall inserted his fingers into Ms. Aceituno’s
26   vagina and commented that it was “very tight” and that she “would make whoever she
27   married very happy.” There was no chaperone present during this appointment.
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 1               591. Dr. Tyndall’s comments made Ms. Aceituno very uncomfortable and
 2   nervous. Distressed by what had occurred, Ms. Aceituno told her brother what
 3   happened. He too was disturbed by Dr. Tyndall’s comments and behavior.
 4               592. When Ms. Aceituno first heard reports that Dr. Tyndall had abused many
 5   women, she was horrified and immediately replayed her experiences with him.
 6               593. Ms. Aceituno feels extremely violated and distressed, especially
 7   considering the number of visits she had with Dr. Tyndall. She feels traumatized and
 8   angry that USC failed to provide her and other female students with safe, appropriate,
 9   and professional health care.
10               594. Dr. Tyndall violated the standard of care by, inter alia: (1) making
11   inappropriate comments during appointments; (2) performing pelvic exams without a
12   chaperone present; and (3) making inappropriate sexual comments while performing
13   pelvic exams.
14               595. Ms. Aceituno has thus been damaged by Dr. Tyndall’s and USC’s
15   actions.
16   39.         Jane Doe D.C. (2013-2015)
17               596. Jane Doe. D.C. attended USC from 2012-2016. Between approximately
18   2013-2015, she had an appointment with Dr. Tyndall for a pap smear and an annual
19   exam. Although she would have preferred to see a woman doctor, she trusted USC to
20   provide her with safe and professional care.
21               597. Dr. Tyndall examined Jane Doe D.C. with a chaperone present in the
22   room.
23               598. After the examination, Dr. Tyndall gave Jane Doe D.C. a prescription for
24   a “morning-after pill,” or “Plan B” and said something to the effect of “it’s my
25   mission to end unwanted pregnancies.” Jane Doe D.C. was already taking birth control
26   and thought it was strange and inappropriate for Dr. Tyndall to prescribe her Plan B.
27   She did not request it.
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 1               599. Jane Doe D.C. thought that Dr. Tyndall’s procedures and comments and
 2   demeanor were inappropriate and unprofessional. She left the appointment feeling
 3   very uneasy.
 4               600. Jane Doe D.C. resolved to never see Dr. Tyndall for a gynecological
 5   examination again. Instead, she started paying out-of-pocket to go to Planned
 6   Parenthood.
 7               601. The experience with Dr. Tyndall has had lasting effects on Jane Doe D.C.
 8   Among other things, since her experience with Dr. Tyndall, she has only felt
 9   comfortable seeing female OB/GYNs.
10               602. When Jane Doe D.C. first heard reports in the news about Dr. Tyndall
11   and learned that his inappropriate conduct had been going on for 30 years, she felt
12   angry and upset that USC had failed to protect her and so many others. She is
13   concerned that USC prioritized Dr. Tyndall’s practice over the health, safety, and
14   needs of USC’s female students. When Jane Doe D.C. heard about the accounts of
15   other women in Dr. Tyndall’s care, she remembers feeling like USC did not see the
16   worth of USC’s female students and did not care about their success despite the fact
17   that they paid the same amount to be there as the male students. By continuing to
18   employ Dr. Tyndall even after his patients complained of his bad behavior, USC made
19   it clear that female health was not important to them.
20               603. Dr. Tyndall violated the standard of care by, inter alia: (1) making
21   inappropriate comments during the appointment; and (2) prescribing unsolicited and
22   unwanted birth control without discussing potential side effects and other options.
23               604. Jane Doe D.C. has thus been damaged by Dr. Tyndall’s and USC’s
24   actions.
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 1    40.         Jane Doe N.K. (2013-2017)
 2                605. Jane Doe N.K. was an undergraduate student at USC from 2013-2017.
 3    During that time, she was a regular patient of Dr. Tyndall.
 4                606. Jane Doe N.K. saw Dr. Tyndall approximately ten times during her tenure
 5    at USC. She regularly went to Dr. Tyndall for pap smears to check for sexually-
 6    transmitted diseases.
 7                607. Each time Jane Doe N.K. was examined by Dr. Tyndall, he inserted his
 8    fingers into her vagina before using the speculum. On at least one occasion, he
 9    explained that he was inserting his fingers first to minimize pain and discomfort that
10    could be caused by the speculum.
11                608. On at least one occasion, Dr. Tyndall commented that Jane Doe N.K.’s
12    vagina looked “very good” and “nice.”
13                609. Jane Doe N.K. always felt uncomfortable on her visits with Dr. Tyndall,
14    but she thought that it was normal to feel uncomfortable during gynecological exams.
15                610. There was a chaperone in the room for some, but not all, of Jane Doe
16    N.K.’s examinations.
17                611. Jane Doe N.K. thought that Dr. Tyndall’s practices and procedures were
18    normal until she read Los Angeles Times reports that told her otherwise. She feels
19    extremely violated and distressed, especially considering the number of visits she had
20    with Dr. Tyndall. She feels traumatized and angry that USC failed to protect her.
21                612. Dr. Tyndall violated the standard of care by, inter alia: (1) making
22    inappropriate comments during the pelvic exam; and (2) unnecessary digital
23    penetration prior to inserting the speculum.
24                613. Jane Doe N.K. has thus been damaged by Dr. Tyndall’s and USC’s
25    actions.
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 1    41.         Jane Doe C.C. (2014)
 2                614. Jane Doe C.C. saw Dr. Tyndall for a pelvic exam and pap smear on or
 3    about August 28, 2014, because she had been sexually assaulted, and she was afraid
 4    that her assailant had given her an STD.
 5                615. At the time, she had only previously seen a gynecologist in the OB/GYN
 6    practice used by her mother.
 7                616. During the examination, Dr. Tyndall digitally penetrated Jane Doe C.C.
 8    This made her feel uncomfortable, but she assumed it was normal because she had
 9    very little experience with gynecologists.
10                617. When Jane Doe C.C. told Dr. Tyndall the reason for her visit, he gave her
11    one pill for chlamydia, for which she had tested positive, as well as a pill for her
12    current partner to take.
13                618. When other women in Jane Doe C.C.’s sorority experienced sexual
14    assault, she recommended that they see Dr. Tyndall given that he had treated her STD.
15                619. Ever since the news reported on Dr. Tyndall’s abuse of women at USC,
16    Jane Doe C.C. has felt enormous guilt for sending other women to him.
17                620. Jane Doe C.C. is experiencing emotional distress because she was abused
18    by the doctor and did not even know it due to her inexperience. She feels that USC
19    failed her, and that the university is at fault for allowing the abuse to continue
20    unabated for many years.
21                621. Dr. Tyndall violated the standard of care by conducting an unnecessary
22    pelvic exam improperly.
23                622. Jane Doe C.C. has thus been damaged by Dr. Tyndall’s and USC’s
24    actions.
25    42.         Jane Doe 4 (2015)
26                623. Jane Doe 4 made an appointment with Dr. Tyndall in 2015 because she
27    needed treatment for a yeast infection. She was 18 years old.
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 1                624. Dr. Tyndall told Jane Doe 4 that in order to diagnose her yeast infection,
 2    he would need to perform a pelvic exam, and she agreed.
 3                625. Dr. Tyndall then performed a pelvic exam on Jane Doe 4. As he inserted
 4    his fingers into her vagina, he remarked that she was very tight, and that he needed to
 5    insert his fingers so that the speculum would fit. Because Jane Doe 4 had never had a
 6    pelvic exam, she did not know that it was not normal for Dr. Tyndall to use his fingers
 7    or to remark that she was “tight.”
 8                626. Dr. Tyndall invited Jane Doe 4 to speak with him privately in his office,
 9    which made her nervous that he had bad news to share.
10                627. In his office, Dr. Tyndall showed Jane Doe 4 a specimen of her vaginal
11    swab so that she could view the yeast under a microscope. He then asked her about her
12    major, which was biology, and gave her advice about medical school. In addition, he
13    inquired about her sexual activities—whether she had a partner, and whether she and
14    her partner were sleeping with multiple people. The conversation made Jane Doe 4
15    feel uneasy, because it seemed overly personal and unnecessary.
16                628. Dr. Tyndall violated the standard of care by, inter alia: (1) performing a
17    pelvic exam even though Jane Doe 4 was under 21 and it was not required to treat her
18    yeast infection; (2) digitally penetrating Jane Doe 4; and (3) inviting Jane Doe 4 to
19    view her vaginal swab under a microscope.
20                629. Jane Doe 4 feels disappointed and let down by USC. She trusted that the
21    university would not put a doctor in place who abused patients and fell short of the
22    standard of care. Jane Doe 4 has thus been damaged by USC’s and Dr. Tyndall’s
23    actions.
24    43.         Jane Doe C.B. (2015)
25                630. Jane Doe C.B. was a student at USC from 2010-2016. In or about 2015,
26    she saw Dr. Tyndall at the student health center for a yearly exam because she also
27    wanted a full screen for sexually transmitted diseases.
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 1                631. During the appointment, Dr. Tyndall asked Jane Doe C.B. to meet with
 2    him alone in his office, which was at that time a separate room from the examination
 3    room. Once they were alone in his office, Dr. Tyndall began asking Jane Doe C.B.
 4    incredibly invasive questions about why she wanted an STD screening. He asked,
 5    since she identified as a lesbian, what kinds of sex acts she liked that she thought
 6    would give her an STD. Jane Doe C.B. was very uncomfortable with the tone and
 7    subject matter of Dr. Tyndall’s questions, and told him so. She argued with him and
 8    told him she thought the line of questioning was weird and inappropriate. Jane Doe
 9    C.B. also told Dr. Tyndall she did not understand why the office wouldn't just be
10    happy to do preventative medical procedures and testing.
11                632. During the pelvic examination, Dr. Tyndall used his fingers in such a way
12    as to almost mimic the same-sex sex acts he made Jane Doe C.B. describe in his
13    office. Jane Doe C.B. felt as if Dr. Tyndall was toying with her and he seemed to get a
14    sick thrill from what he was doing.
15                633. When Jane Doe C.B. inquired about her STD screening after the exam,
16    Dr. Tyndall wrote back that she was negative for chlamydia, syphilis, and “that one
17    that starts with H.” Jane Doe C.B. found Dr. Tyndall’s note to be incredibly
18    insensitive and its subject a weird thing to joke about. She also found his note to be
19    medically incoherent considering there is more than one STD that starts with the letter
20    H.
21                634. After the appointment, Jane Doe C.B. complained about the invasive
22    questioning and insensitive message to her close friends, and posted on Facebook that
23    she wished she could have requested a female gynecologist, after being traumatized by
24    Dr. Tyndall. She asked for the preventative STD screening because she was beginning
25    a sexual relationship with a new partner. She was humiliated when she had to share
26    Tyndall’s note with that partner. In contrast, Jane Doe C.B.’s new partner provided her
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 1    a professional report reflecting a standard battery of tests compared to Dr. Tyndall’s
 2    insensitive message which lacked any real clarity about her health.
 3                635. When Jane Doe C.B. heard about the accounts of other women in Dr.
 4    Tyndall’s care, she realized her experience was not an isolated incident but part of a
 5    pattern of inappropriate behavior with women. She saw that her unease and distress at
 6    the time of the appointment were valid, and that Dr. Tyndall’s sexualization of her as a
 7    lesbian-identified patient was something he had done to other women. She felt that he
 8    was punishing her, in a way, for having sex with women rather than men, and that he
 9    could wield power over her by trying to humiliate her for the sex she enjoys.
10                636. Jane Doe C.B. is now having a hard time finding a gynecologist within
11    her insurance network because she refuses to see male doctors. She is traumatized by
12    the line of questioning and sexualized exam that Dr. Tyndall put her through, and she
13    is afraid that she’s more likely to experience this behavior again with a male
14    practitioner. Jane Doe C.B. is upset that USC failed to provide her and other female
15    students with safe, appropriate, and professional health care.
16                637. Dr. Tyndall violated the standard of care by, inter alia: (1) making
17    inappropriate comments about Jane Doe C.B.’s sexuality; (2) inappropriate digital
18    penetration; and (3) delivering test results in an insensitive and unclear way.
19                638. Jane Doe C.B. has thus been damaged by USC’s and Dr. Tyndall’s
20    actions.
21    44.         Jane Doe 3 (2015-2016)
22                639. Jane Doe 3 studied at USC from 2012 to 2016.
23                640. Jane Doe 3 had her first appointment with Dr. Tyndall on or about August
24    25, 2015. She learned that the first available appointment for the next several months
25    would be Dr. Tyndall, so she decided to make an appointment with him, even though
26    she would have preferred to see a female gynecologist.
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 1                641. To begin the appointment, Dr. Tyndall spoke with Jane Doe 3 in his
 2    office. She sat in a chair that was placed perpendicular to his desk, and he asked her
 3    the reason for her visit. She explained that she had just returned from spending time
 4    abroad, and she wanted to get a new prescription for birth control. She told him that
 5    she had been taking birth control for several years. They then had a conversation about
 6    travelling abroad. Dr. Tyndall mentioned that his wife was from Asia, and that they
 7    had traveled around Asia together. He showed Jane Doe 3 a photo of his wife.
 8    Conversing about personal matters with Dr. Tyndall made Jane Doe 3 feel uneasy, but
 9    she told herself that he was just getting to know her as a new patient.
10                642. Dr. Tyndall suggested that Jane Doe 3 have a pap smear and pelvic exam,
11    and Jane Doe 3 agreed because it had been two years since her last exam. Dr. Tyndall
12    also recommended that Jane Doe 3 have a breast exam, but she declined because the
13    doctor’s manner was making her feel uncomfortable.
14                643. Before the examination began, a chaperone entered the room and stood
15    behind the doctor off to the side. From Jane Doe 3’s vantage point, it looked like the
16    chaperone could see what Dr. Tyndall was doing during the exam.
17                644. Dr. Tyndall told Jane Doe 3 that he was going to insert his finger into her
18    vagina and “feel around.” First, he inserted one finger, then he inserted a second
19    finger. Jane Doe 3 felt very uncomfortable, and she wanted the examination to end as
20    soon as possible. As he was finishing the exam, Dr. Tyndall again asked Jane Doe 3 if
21    she wanted a breast exam. She declined again, feeling even more uncomfortable than
22    she had before.
23                645. Dr. Tyndall then informed Jane Doe 3 that he could not prescribe birth
24    control that day—the very reason for the appointment—because he did not have time
25    to do a consultation. Jane Doe 3 was confused as to why she would need a birth
26    control consultation given that she had already been on birth control for several years,
27    but she agreed to make a second appointment.
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 1                646. On August 28, 2015, Jane Doe 3 returned to Dr. Tyndall for a birth
 2    control consultation. As part of the consultation, Dr. Tyndall showed Jane Doe 3
 3    several laminated studies and diagrams. Jane Doe 3 did not feel that the extensive
 4    lesson was necessary or appropriate, given that she had been taking birth control for
 5    several years. She felt as though Dr. Tyndall was unnecessarily prolonging their
 6    appointment.
 7                647. Then, in addition to a birth control prescription, Dr. Tyndall gave Jane
 8    Doe 3 Plan B, even though she had not requested or inquired about Plan B. He also
 9    recommended that Jane Doe 3 take prenatal vitamins, even though she did not plan on
10    getting pregnant. Jane Doe 3 left the appointment with a prescription for only several
11    months of birth control.
12                648. Dr. Tyndall made Jane Doe 3 feel very uneasy. However, he was the only
13    gynecologist available at USC, and she needed health care. Thus, she made another
14    appointment with him on or about January 11, 2016 for a birth control refill. At that
15    appointment, Dr. Tyndall recommended that Jane Doe 3 carry chewable Tylenol in
16    case she got blood clots as a result of the pill.
17                649. When Jane Doe 3 saw reporting on Dr. Tyndall’s pattern of abuse, she
18    felt disappointed and disrespected. It confirmed that the uneasy feelings she
19    experienced with Dr. Tyndall were shared by others. She had always placed trust in
20    the medical profession, and her trust was broken. Jane Doe 3 feels USC and Dr.
21    Tyndall took advantage of her.
22                650. Dr. Tyndall violated the standard of care by, inter alia: (1) making
23    inappropriate comments during Jane Doe 3’s appointments; (2) pressuring Jane Doe 3
24    to allow him to examine her breasts despite repeated refusals; (3) performing an
25    improper pelvic examination; (4) making Jane Doe 3 return for separate birth control
26    consultation; and (5) prescribing unsolicited and unwanted birth a control without
27    discussing potential side effects and other options.
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 1                651. Jane Doe 3 has thus been damaged by USC’s and Dr. Tyndall’s actions.
 2    45.         Jane Doe J.W. (2015-2017)
 3                652. Jane Doe. J.W. attended USC from 2013-2017. During that time, she was
 4    a regular patient of Dr. Tyndall.
 5                653. Jane Doe J.W. saw Dr. Tyndall approximately five or six times during her
 6    tenure at USC. On multiple occasions when Jane Doe J.W. was examined by Dr.
 7    Tyndall, he inserted his fingers into her vagina before using the speculum. At the time,
 8    Jane Doe J.W. felt uncomfortable, but she did not know that his methods were
 9    abnormal and inappropriate.
10                654. On at least one occasion, Dr. Tyndall asked Jane Doe J.W. if she “did
11    Kegels” because he claimed she was “particularly tight.” Jane Doe J.W. found Dr.
12    Tyndall’s comment extremely inappropriate and disturbing.
13                655. Distressed by what had occurred, Jane Doe J.W. told her friends about
14    Dr. Tyndall’s comments. They agreed that his comments were creepy.
15                656. When Jane Doe J.W. learned of the reports that Dr. Tyndall had abused
16    many women, she felt traumatized that USC failed to protect her. She feels extremely
17    violated and distressed, especially considering the number of visits she had with Dr.
18    Tyndall.
19                657. Dr. Tyndall violated the standard of care by, inter alia: (1) inappropriate
20    digital penetration; and (2) making inappropriate comments during digital penetration.
21                658. Jane Doe J.W. has thus been damaged by USC’s and Dr. Tyndall’s
22    actions.
23    46.         Mehrnaz Mohammadi (2016)
24                659. In 2016, Mehrnaz Mohammadi was a graduate student at USC. She made
25    an appointment at the USC student health center with the only available physician, Dr.
26    Tyndall, because none of the other practitioners were available for at least a month.
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 1                660. At the outset of the appointment, Dr. Tyndall asked Ms. Mohammadi
 2    where she was from. She told him she was from Montreal.
 3                661. During the physical examination and with a nurse present, Dr. Tyndall
 4    proceeded to examine her vagina. Throughout the examination, he kept talking about
 5    very personal things, such as how he and his wife had fun in Montreal.
 6                662. Dr. Tyndall also told Ms. Mohammadi she had a very tight vagina. He
 7    emphasized that having a tight vagina was a very good thing for her partner. He told
 8    her not everyone has a tight vagina, like she did. Dr. Tyndall’s comments made Ms.
 9    Mohammadi very uncomfortable, but she tried to tell herself it was normal because a
10    nurse was present. Ms. Mohammadi questioned whether she was too closed-minded in
11    thinking it was wrong for Dr. Tyndall to make these comments that seemed very
12    inappropriate.
13                663. After the physical examination, Dr. Tyndall told Ms. Mohammadi to
14    come to his office. There, he asked about her sexual encounters and told her that she
15    could get “Plan B” whenever she needed it. He told her he could write her a few
16    prescriptions for Plan B because accidents happen. She felt very uncomfortable with
17    the discussion.
18                664. When Ms. Mohammadi read the news about Dr. Tyndall, she was very
19    upset. It took her several days to get past the shame she felt that Dr. Tyndall had been
20    inappropriate with her in order to make the call for help. Dr. Tyndall’s conduct made
21    her very uncomfortable and upset, and USC’s failure to protect her and other students
22    has caused additional distress.
23                665. Dr. Tyndall violated the standard of care by, inter alia: (1) making
24    inappropriate sexual comments while examining Ms. Mohammadi’s vagina; and (2)
25    making inappropriate and unprofessional comments in his office after the exam was
26    finished.
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 1                666. Ms. Mohammadi has thus been damaged by USC’s and Dr. Tyndall’s
 2    actions.
 3    47.         Jane Doe A.N. (2016)
 4                667. Jane Doe A.N. was examined by Dr. Tyndall in or about 2016, during her
 5    senior year at USC. She had been having heavy periods and severe cramping that
 6    interfered with her daily activities, so she scheduled an appointment for an evaluation
 7    with Dr. Tyndall.
 8                668. At the time, Jane Doe A.N. was 21 years old, and this was her first
 9    experience with going to the OB/GYN. She did not know the normal procedures for a
10    pelvic exam, so she had no way of knowing whether Dr. Tyndall’s methods were
11    improper.
12                669. When Jane Doe A.N. arrived for her appointment, she was immediately
13    put off by Dr. Tyndall’s attempt to greet her in Vietnamese and his comments about
14    Asian women’s beauty. During the appointment, Dr. Tyndall told Jane Doe A.N. that
15    her “skin was very beautiful,” and that she “could be a model.” Jane Doe A.N. found
16    these comments to be very out-of-line at the time.
17                670. Once Jane Doe A.N. was undressed and laying with her legs spread open
18    on the examination table, Dr. Tyndall digitally penetrated her. He commented on Jane
19    Doe A.N.’s “wetness” and asked if she had a higher level of secretion compared with
20    her friends. Dr. Tyndall was not wearing any gloves at the time. Jane Doe A.N. felt
21    extremely uncomfortable, but because of her lack of experience, she did not know that
22    it was abnormal for OB/GYNs to perform this type of examination without gloves.
23                671. Without performing any medical tests, Dr. Tyndall told Jane Doe A.N.
24    that she needed to go on birth control to treat her heavy periods and severe cramping
25    without providing a reason why this would help Jane Doe A.N. with her
26    symptoms. Dr. Tyndall similarly did not provide any explanation as to the cause of
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 1    these symptoms. Jane Doe A.N. did not follow Dr. Tyndall’s advice because she did
 2    not trust the conclusion of his exam or the limited treatment options he offered her.
 3                672. After the appointment, Jane Doe A.N. told a couple of her close friends
 4    that Dr. Tyndall was “creepy” and she was not going back to see him again even
 5    though it meant she would have to suffer through the heavy periods and severe
 6    cramping she was experiencing without further treatment.
 7                673. When Jane Doe A.N. was finally able to see another OB/GYN
 8    approximately one year later, the OB/GYN performed an ultrasound exam in her
 9    office and a pap smear. The ultrasound revealed endometrial hyperplasia, polyps, and
10    pathologic menstrual bleeding patterns. A blood panel, hormone panel, and
11    endometrial biopsy were performed. Panel results were within normal limits and
12    endometrial biopsy revealed presence of adenomas and ruled out neoplasms.
13                674. When Jane Doe A.N. first heard reports that Dr. Tyndall had abused
14    many women, she realized she had not been the victim of an isolated occurrence, but
15    rather a victim of a series of abuses. The distress she felt at the time of her
16    examination came flooding back. She is upset and feels betrayed that USC allowed
17    this to happen to her and so many other women.
18                675. Dr. Tyndall violated the standard of care by, inter alia: (1) making
19    inappropriate comments about Jane Doe A.N.’s appearance; (2) improper digital
20    penetration without gloves; (3) inappropriate comments during digital penetration; (4)
21    recommending birth control without explanation; and (4) failing to conduct proper
22    testing and properly treat Jane Doe A.N.’s heavy periods.
23                676. Jane Doe A.N. has thus been damaged by Dr. Tyndall’s and USC’s
24    actions.
25    48.         Jane Doe L.Y. (2016)
26                677. In 2016, Jane Doe L.Y. was an undergraduate student at USC studying
27    psychology. She scheduled an appointment at the student health center with Dr.
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 1    Tyndall because she thought she should have a pelvic exam prior to graduation. It was
 2    her first ever appointment with an OB/GYN.
 3                678. Jane Doe L.Y. had made an appointment with Dr. Tyndall in August of
 4    2015, but she cancelled it because she was uncomfortable about seeing a male
 5    OB/GYN.
 6                679. When the 2016 appointment with Dr. Tyndall began, Jane Doe L.Y. was
 7    relieved because there was a female chaperone in the room.
 8                680. Because it was her first appointment with an OB/GYN, Jane Doe L.Y.
 9    did not know what to expect. Dr. Tyndall told her that the exam was supposed to feel
10    physically uncomfortable.
11                681. During the exam, Dr. Tyndall used lubricant and inserted his fingers into
12    Jane Doe L.Y.’s vagina. She did not know at the time that this was not standard
13    practice.
14                682. While his finger was inside of her, Dr. Tyndall asked Jane Doe L.Y. if
15    she was a runner because of her “tight muscles.” Although the comment made her feel
16    nervous and violated, she had been running on the treadmill about five days a week for
17    a month. She told herself that maybe Dr. Tyndall was just recognizing a fact about her
18    body.
19                683. Even though she was nervous and uncomfortable, the presence of a
20    female chaperone in the room communicated to her that everything was proper. Still,
21    during and after the examination, Jane Doe L.Y. felt in her gut that something was
22    wrong.
23                684. After the appointment, Dr. Tyndall talked to Jane Doe L.Y. alone in his
24    office.
25                685. Jane Doe L.Y. left the appointment with Dr. Tyndall feeling very
26    uncomfortable, and vowing never to repeat the experience. She has not received
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 1    gynecological services since the incident with Dr. Tyndall, even when she felt like she
 2    should.
 3                686. When Jane Doe L.Y. read about Dr. Tyndall in the media, it validated her
 4    suspicion that Dr. Tyndall had acted inappropriately while examining her. Now, Jane
 5    Doe L.Y. will never see a male gynecologist again, and she has lost trust in all male
 6    physicians.
 7                687. Jane Doe L.Y. feels violated, and is experiencing extreme emotional
 8    distress. She has scheduled counseling services to help her cope emotionally.
 9                688. Dr. Tyndall violated the standard of care by, inter alia: (1) improper
10    digital penetration; and (2) making inappropriate comments during digital penetration.
11                689. Jane Doe L.Y. has thus been damaged by Dr. Tyndall’s and USC’s
12    actions.
13    49.         Jane Doe A.H. (2016)
14                690. Jane Doe A.H. is a graduate student at USC. She was examined by Dr.
15    Tyndall on or about March 3, 2016. In order for her Aetna Student Health insurance to
16    cover the appointment, Jane Doe A.H. was required to go to USC’s student health
17    center. The other OB/GYNs were booked for months, so the only way Jane Doe A.H.
18    could get an appointment quickly was to see Dr. Tyndall.
19                691. At her appointment with Dr. Tyndall, a nurse or chaperone was present in
20    the room for her examination.
21                692. During the pelvic exam, Dr. Tyndall used his fingers to penetrate Jane
22    Doe A.H. He also commented that she had “strong pelvic muscles” and asked if Jane
23    Doe A.H. was a runner. Jane Doe A.H. found Dr. Tyndall’s comment to be extremely
24    inappropriate and disturbing but questioned her discomfort given that a nurse was
25    present.
26                693. Dr. Tyndall also examined Jane Doe A.H.’s back and asked about her
27    nationality. When Jane Doe A.H. responded that she was American, Dr. Tyndall
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 1    asked where her parents were from. Jane Doe A.H. explained that her parents were
 2    Israeli, and Dr. Tyndall commented, “Oh that explains the (back) hair. Middle Eastern
 3    women have more (back) hair.” Jane Doe A.H. found these comments to be extremely
 4    disturbing.
 5                694. Distressed by what had occurred, Jane Doe A.H. texted some of her
 6    friends and told them what happened. They were also disturbed by Dr. Tyndall’s
 7    comments and behavior.
 8                695. Since that time and as a result of the distress, Jane Doe A.H. has only
 9    agreed to see the female gynecologists at USC to avoid another uncomfortable,
10    distressing encounter. She also became very self-conscious about her back hair.
11                696. Jane Doe A.H. was very upset when she heard that complaints had been
12    lodged against Dr. Tyndall for years and he was still allowed to practice at the USC
13    student health center. She is extremely upset that USC put her in a position where her
14    only option for timely gynecological treatment was to see a perpetrator who should
15    have been dismissed decades ago. Jane Doe A.H. was also upset that she had not
16    lodged a complaint earlier. Before the news of Dr. Tyndall’s misconduct emerged,
17    Jane Doe A.H. felt that Dr. Tyndall’s comments were inappropriate but did not realize
18    that the pelvic exam and body scan he conducted were unnecessary. At the time, Jane
19    Doe A.H. trusted Dr. Tyndall, the chaperone, and the USC health center to perform
20    only necessary and appropriate examinations.
21                697. Jane Doe A.H. feels even more violated now knowing that Dr. Tyndall
22    touched and examined her body in inappropriate ways that did not serve any medical
23    purpose. Jane Doe A.H. is a graduate student who studies gender and a large part of
24    her identity is feeling that she is informed, independent, and in control of her body.
25    She is distressed that USC contributed to the cycle of training women to accept
26    abusive behavior, especially from men in positions of power and trust. This has
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 1    rattled Jane Doe A.H.’s identity and affected her sense of control over her life and her
 2    body.
 3                698. Dr. Tyndall violated the standard of care by, inter alia: (1) improper
 4    digital penetration; (2) making inappropriate comments during digital penetration; and
 5    (3) making improper comments about Jane Doe A.H.’s body hair during a medical
 6    examination.
 7                699. Jane Doe A.H. has thus been damaged by Dr. Tyndall’s and USC’s
 8    actions.
 9                50.   Elisabeth Treadway (1999)
10                700. Elisabeth Treadway was an undergraduate student at USC from 1997 to
11    2001. In the spring of 1999, Ms. Treadway noticed bumps on her lower abdomen that
12    concerned her. She contacted Student Health Services and was given an appointment
13    with Dr. Tyndall.
14                701. Ms. Treadway was in the room alone with Dr. Tyndall for the
15    examination. The bumps on her abdomen could be seen without removing any
16    clothing, and yet Dr. Tyndall insisted that Ms. Treadway completely undress from the
17    waist down. She was not given a sheet to cover herself during the exam. Ms.
18    Treadway found this to be unnecessary and strange at the time.
19                702. During the examination, Dr. Tyndall commented on Ms. Treadway’s
20    body piercing, suggesting that she must be promiscuous. He then played with the
21    piercing using his fingers.
22                703. Dr. Tyndall then examined one of the bumps, repeatedly touching it so
23
      aggressively that Ms. Treadway cried out in pain. Dr. Tyndall said he also needed to
24

25    feel inside of her vagina to check for more sores. He inserted his ungloved fingers and

26    felt around for what felt to Ms. Treadway like a very long time. Dr. Tyndall said he
27
      thought she had herpes and that she should never tell anyone about it. Due to the
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 1    piercing and the herpes, he said, men would know “what kind of a girl” she was and
 2
      would not want to be with her.
 3

 4                704. Ms. Treadway felt that something was wrong with the way she was

 5    treated by Dr. Tyndall, but she had never had a herpes test or been examined by a male

 6    gynecologist and did not know what to expect. Dr. Tyndall’s comments about her

 7    piercing and the possibility that she had herpes made her so ashamed that she skipped

 8    the follow-up appointment to receive the test results. She believes Dr. Tyndall

 9    attacked her character so that she would not feel comfortable reporting his conduct.

10                705. Since the examination by Dr. Tyndall, Ms. Treadway has opted to have

11    only female gynecologists. The experience has affected every relationship she’s had

12    since then, because she developed anxiety about her partners learning that she might

13    have herpes.

14                706. Elisabeth Treadway has been damaged by Dr. Tyndall’s and USC’s

15    actions.

16

17
      H.          The statute of limitations is tolled based on the continuing violations
                  doctrine and fraudulent concealment.
18
                  707. Tyndall concealed the existence of Plaintiffs’ claims and the fact that
19
      Plaintiffs had a cause of action against Tyndall and/or USC at the time his sexual
20
      assaults occurred by making material representation(s) to Plaintiffs involving a past or
21
      existing fact, including by:
22                a.    Misrepresenting that his acts and/or conduct were for the purpose
23                      of conducting a vaginal examination;
24                b.    Misrepresenting that digital penetration of a woman’s vagina at the
25                      outset of a gynecological examination was medically appropriate,
                        contemporaneously and/or shortly before the abrupt, sudden, quick,
26                      and unexpected sexual assaults by Tyndall;
27
                  c.    Misrepresenting that his acts and/or conduct were for the purpose
28                      of conducting a breast examination;
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 1                d.    Misrepresenting that it was necessary for a female patient to be
 2
                        fully naked for a gynecologist to conduct a full body scan for skin
                        irregularities;
 3
                  e.    Misrepresenting that his acts and/or conduct were “treatments”
 4                      and/or conformed to accepted medical practice.
 5
                  708. The material representation(s) to Plaintiffs and the Class were false in
 6
      that Tyndall was actually performing these examinations for his own sexual
 7
      gratification and pleasure.
 8
                  709. When Tyndall made the material representation(s), he knew that they
 9
      were false in that he knew that the examinations were not proper, appropriate,
10
      legitimate, and/or considered within standard of care by any physician of any specialty
11
      and/or gynecology.
12
                  710. Tyndall made the material representation(s) with the intent that the
13
      material representation(s) should be acted upon by Plaintiffs and the Class in that
14
      Plaintiffs and the Class members should believe that the examinations were proper,
15
      appropriate, and legitimate; should not believe that they had been sexually assaulted;
16
      should not believe that they had been sexually assaulted so that he could prevent
17
      discovery of his sexual assaults; should continue to be seen by him so that he could
18
      continue to sexually assault them; should not question and/or report the conduct to
19
      appropriate authorities; and should not reasonably believe and not be aware of a
20
      possible cause of action that they have against Tyndall and/or USC.
21
                  711. Plaintiffs and Class members acted in reliance upon the material
22
      representation(s) in that they:
23
                  a.    Reasonably believed that the examinations were proper,
24                      appropriate, and legitimate;
25
                  b.    Reasonably did not believe that they had been sexually assaulted;
26
                  c.    Did not believe that they should question and/or report the conduct
27                      to appropriate authorities; and,
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 1                d.    Did not reasonably believe that they had and were not aware of a
 2
                        possible cause of action that they had against Tyndall and/or USC.

 3                712. Tyndall further concealed the fraud by affirmative act(s) that were
 4    designed and/or planned to prevent inquiry and escape investigation and prevent
 5    subsequent discovery of his fraud in that he:
 6                a.    Misrepresented to other medical professionals in the examination
                        room that digitally penetrating female patients was medically
 7                      necessary and appropriate;
 8
                  b.    Prevented other medical professionals, chaperones, and/or
 9                      caregivers from being in the room during examinations and
10                      treatments of Plaintiffs and Class members so that he could
                        sexually assault them; and
11
                  c.    Did not abide by or follow the standard of care which requires
12
                        another medical professional, chaperone, parent, guardian, and/or
13                      caregiver be in the room during the examination and treatment of
                        minors and female patients.
14

15                713. Directors, managers, supervisors, physicians, nurses, and chaperones in

16    USC’s student health center took affirmative steps to fraudulently conceal Tyndall’s

17    misconduct, including, but not limited to, by depressing complaints made by patients

18    through the imposition of onerous reporting requirements on them.

19                714. Directors, managers, supervisors, physicians, nurses, chaperones in

20    USC’s student health center also misrepresented that Tyndall’s conduct during

21    examinations was proper, including, without limitation, by (i) watching Tyndall’s

22    conduct as a purported chaperone without stopping the improper conduct; (ii)

23    permitting Tyndall to conduct examinations without a chaperone present; and (iii)

24    scheduling female patients for appointments with Tyndall despite having full

25    knowledge of his improper conduct.

26                715. The actions and inactions of Tyndall and USC constituted fraudulent

27    concealment.

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 1                716. The statute of limitations for each of Plaintiffs’ causes of actions was
 2    equitably tolled, and Defendants are equitably estopped from asserting the statute of
 3    limitations as a defense, by reason of their wrongful conduct.
 4                717. As part of Defendants’ wrongful attempt to conceal Tyndall’s propensity
 5    to sexually abuse young female students, and his past sexual abuse, from public
 6    scrutiny and criminal investigation, Defendants implemented various measures with
 7    the intent and effect of making Tyndall’s conduct harder to detect and ensuring that
 8    other student-patients with whom he came into contact, including Plaintiffs, would be
 9    sexually abused and assaulted, including:
10                       a.    Permitting Tyndall to remain in a position of authority and trust
11    after Defendants knew or should have known that he molested his young female
12    patients;
13                       b.    Scheduling female patients for appointments with Tyndall,
14    including appointments without a nurse or chaperone present, despite being aware of
15    his improper conduct;

16                       c.    Placing Tyndall in a separate and secluded environment at the

17
      university health center, and granting him unfettered access to and control over
      patients even when he was purporting to provide extremely sensitive gynecological
18
      treatment, thereby allowing Tyndall to physically and sexually interact with young
19
      female students at USC, including Plaintiffs;
20
                         d.    Holding out Tyndall to Plaintiffs, other USC patients, USC
21
      alumni, and the public at large as a trustworthy person of good moral character who
22
      was capable and worthy of being granted unsupervised access to the student-patients
23
      of USC;
24
                         e.    Failing to disclose and actively concealing Tyndall’s prior record
25    of misconduct, sexual abuse, harassment, and molestation, and his propensity to
26    commit such acts towards student-patients in the university health center, from its
27    students, the public at large, and law enforcement;
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 1                       f.   Failing to investigate or otherwise confirm or deny such facts
 2    about Tyndall, including prior complaints, claims, and investigations relating to
 3    sexual abuse suffered at his hands;
 4                       g.   Failing to implement reasonable safeguards to avoid acts of
 5    unlawful sexual conduct by Tyndall, such as by avoiding placement of Tyndall in
 6    functions or environments in which he would necessarily have intimate contact with

 7    young female patients; and

 8
                         h.   Failing to implement systems or procedures to supervise or
      monitor doctors, chaperones, and other USC agents to ensure that they did not molest
 9
      or abuse patients in Defendants’ care and, further, that they report all reasonable
10
      suspicions of sexual assault or battery to law enforcement as mandated by Section
11
      11160 of the California Penal Code.
12
                  718. At all times pertinent to this action, Tyndall was an agent, apparent agent,
13
      servant, and employee of USC and operated within the scope of his employment and
14
      his negligence is imputed to USC.
15
                  719. Defendants engaged in, joined in, and conspired with each of the other
16
      Defendants and wrongdoers in carrying out the tortuous and unlawful activities herein
17
      described. Each Defendant is legally responsible for the occurrences herein alleged,
18
      and Plaintiff’s damages, as herein alleged, were proximately caused by all Defendants.
19
                  720. Plaintiffs and Class members did not know, could not have reasonably
20
      known, and were not reasonably aware of a possible cause of action that they had
21
      against Tyndall and/or USC until the May 15, 2018 publication of a story about
22
      Tyndall’s misconduct in the Los Angeles Times.
23
                                      V.     CLASS ALLEGATIONS
24
                  721. Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure
25
      23(b)(3) and 23(c)(4) on behalf of themselves and the following Class:
26
                        All women who were seen for treatment by Dr. George M.
27                      Tyndall at the University of Southern California student
28                      health center during the period from August 14, 1989 to June
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 1                      21, 2016 (a) for Women’s Health Issues, or (b) whose
 2
                        treatment by Dr. George M. Tyndall included an
                        examination by him of her breast or genital areas, or (c)
 3                      whose treatment included the taking of photographs or
 4
                        videotapes of her unclothed or partially clothed body.
                        “Women’s Health Issues” includes but is not limited to any
 5                      issue relating to breast, vaginal, urinary tract, bowel,
 6                      gynecological, or sexual health, including contraception and
                        fertility.
 7
                  722. The Class consists of tens of thousands of women, making joinder
 8
      impracticable, in satisfaction of Fed. R. Civ. P. 23(a)(1). The exact size of the Class
 9
      and the identities of the individual members are ascertainable through records
10
      maintained by USC.
11
                  723. The claims of Plaintiffs are typical of the Class. The claims of the
12
      Plaintiffs and the Class are based on the same legal theories and arise from the same
13
      unlawful pattern and practice of sexual harassment and assault.
14
                  724. There are many questions of law and fact common to the claims of
15
      Plaintiffs and the Class, and those questions predominate over any questions that may
16
      affect only individual Class members within the meaning of Fed. R. Civ. P. 23(a)(2)
17
      and (b)(3). Class treatment of common issues under Fed. R. Civ. P. 23(c)(4) will
18
      materially advance the litigation.
19
                  725. Common questions of fact and law affecting members of the Class
20
      include, but are not limited to, the following:
21
                        a.     Whether Tyndall engaged in sexual harassment,
22
                               invasion of privacy, assault, and battery;
23
                        b.     Whether Tyndall’s sexual harassment, invasion of
24                             privacy, assault, and battery was committed within the
25                             scope of his employment at USC;

26                      c.     Whether the USC Defendants had knowledge of
                               Tyndall’s sexual harassment, invasion of privacy,
27
                               assault, and battery and inappropriate contact;
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 1                      d.     Whether the USC Defendants facilitated Tyndall’s
 2
                               pattern and practice of sexual harassment, invasion of
                               privacy, assault, and battery;
 3
                        e.     Whether the USC Defendants or Tyndall engaged in
 4                             conduct designed to suppress complaints or reports
 5                             regarding Tyndall’s conduct;
 6                      f.     Whether the USC Defendants negligently retained or
 7                             supervised Tyndall;

 8                      g.     Whether the USC Defendants ratified Tyndall’s
                               conduct; and
 9

10                      h.     Whether the USC Defendants are responsible for
                               Tyndall’s conduct under the doctrine of respondeat
11                             superior.
12
                  726. Absent a class action, most of the members of the Class would find the
13
      cost of litigating their claims to be prohibitive and will have no effective remedy. The
14
      class treatment of common questions of law and fact is also superior to multiple
15
      individual actions or piecemeal litigation, particularly as to USC’s legal responsibility
16
      for Tyndall’s actions, in that it conserves the resources of the courts and the litigants
17
      and promotes consistency and efficiency of adjudication.
18
                  727. Plaintiffs will fairly and adequately represent and protect the interests of
19
      the Class. Plaintiffs have retained counsel with substantial experience in prosecuting
20
      complex litigation and class actions. Plaintiffs and their counsel are committed to
21
      vigorously prosecuting this action on behalf of the other respective Class members,
22
      and have the financial resources to do so. Neither Plaintiffs nor their counsel have any
23
      interests adverse to those of the other members of the Class.
24

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 1                                     VI.   CAUSES OF ACTION
 2                                               COUNT I
 3                         NEGLIGENT SUPERVISION AND RETENTION
                              (AGAINST USC AND USC TRUSTEES)
 4
                  728. Plaintiffs restate and incorporate herein by reference the preceding
 5
      paragraphs as if fully set forth herein.
 6
                  729. At all times material since 1989 and until Tyndall was removed in 2016,
 7
      the USC Defendants employed Tyndall.
 8
                  730. Tyndall was unﬁt or incompetent to work directly with female patients
 9
      and posed a particular risk of sexually harassing, violating, and assaulting them.
10
                  731. The USC Defendants knew or should have known that Tyndall was unﬁt
11
      or incompetent to work directly with female patients and posed a particular risk of
12
      sexually harassing, violating, and assaulting them, and that this unﬁtness created a
13
      particular risk to Plaintiffs and the Class.
14
                  732. Tyndall’s unﬁtness and particular risk to female patients harmed
15
      Plaintiffs and the Class.
16
                  733. The USC Defendants negligence in supervising and or retaining Tyndall
17
      was a substantial factor in causing harm to Plaintiffs and the Class.
18
                  734. As a direct and/or proximate result of Defendants’ actions and/or
19
      inactions, Plaintiffs and Class members were damaged.
20
                                                 COUNT II
21

22                      VIOLATIONS OF TITLE IX, 20 U.S.C. § 1681(a), et seq.
                             (AGAINST USC AND USC TRUSTEES)
23
                  735. Plaintiffs restate and incorporate herein by reference the preceding
24
      paragraphs as if fully set forth herein.
25
                  736. Title IX of the Education Amendments Act of 1972 states, “No person in
26
      the United States shall on the basis of sex, be . . . subject to discrimination under any
27

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 1    education program or activity receiving Federal financial assistance . . . .” 20 U.S.C.
 2    § 1681, et seq.
 3                737. Plaintiffs and members of the Class are “persons” under Title IX.
 4                738. USC receives federal financial assistance for its education program and is
 5    therefore subject to the provisions of Title IX.
 6                739. USC is required under Title IX to investigate allegations of sexual
 7    assault, sexual abuse, and sexual harassment.
 8                740. Tyndall’s conduct described above constitutes sexual harassment, abuse,
 9    and assault, and constitutes sex discrimination under Title IX.
10                741. The USC Defendants were on notice of Tyndall’s conduct as described
11    above. The USC Defendants nonetheless failed to carry out their duties to investigate
12    and take corrective action under Title IX.
13                742. As a direct and proximate result of the USC Defendants’ actions and/or
14    inactions, Plaintiffs and members of the Class were damaged.
15                                              COUNT III
16      SEXUAL ABUSE AND HARASSMENT IN THE EDUCATIONAL SETTING
           [CAL. EDUC. CODE § 220] (AGAINST USC, USC TRUSTEES, AND
17                                 TYNDALL)
18                743. Plaintiffs reallege and incorporate by reference the allegations contained
19    in the previous paragraphs.
20                744. Section 220 of the California Education Code provides in pertinent part:
21    “No person shall be subjected to discrimination on the basis of disability, gender,
22    gender identity, gender expression, nationality, race or ethnicity, religion, sexual
23    orientation, or any other characteristic that is contained in the definition of hate crimes
24    set forth in Section 422.55 of the Penal Code, including immigration status, in any
25    program or activity conducted by an educational institution that receives, or benefits
26    from, state financial assistance, or enrolls pupils who receive state student financial
27    aid.”
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 1                745. Plaintiffs and the Class members were harmed by being subjected to
 2    sexual abuse, harassment and molestation at USC because of Plaintiffs and the Class
 3    members’ gender and Defendants are responsible for that harm.
 4                746. Plaintiffs and the Class members suffered harassment that was so severe,
 5    pervasive, and offensive that it effectively deprived Plaintiffs and the Class members
 6    of the right of equal access to educational benefits and opportunities.
 7                747. As a result of Defendants’ conduct, Plaintiffs and the members of the
 8    Class have been damaged in an amount to be proven at trial.
 9                748. Further, Defendants acted willfully and maliciously with the intent to
10    harm Plaintiffs and the Class members, and in conscious disregard of the rights of
11    Plaintiffs and the Class members, so as to constitute malice and oppression under
12    California Civil Code section 3294. Plaintiffs and the Class members are therefore
13    entitled to the recovery of punitive damages, in an amount to be determined at trial.
14                                              COUNT IV
15      VIOLATION OF THE CALIFORNIA EQUITY IN HIGHER EDUCATION
        ACT [CAL. EDUC. CODE § 66250] (AGAINST USC, USC TRUSTEES, AND
16                                TYNDALL)
17                749. Plaintiffs reallege and incorporate by reference the allegations contained
18    in the previous paragraphs.
19                750. Section 66281.5 of the California Equity in Higher Education Act
20    provides in pertinent part: “(a) It is the policy of the State of California, pursuant to
21    Section 66251, that all persons, regardless of their sex, should enjoy freedom from
22    discrimination of any kind in the postsecondary educational institution of the state.
23    The purpose of this section is to provide notification of the prohibition against sexual
24    harassment as a form of sexual discrimination and to provide notification of available
25    remedies.”
26                751. The USC Defendants’ conduct as alleged herein constitutes sexual
27    harassment as a form of sexual discrimination against Plaintiffs and the members of
28
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 1    the Class, and violated the Equity in Higher Education Act. Plaintiffs are entitled to
 2    enforce the Act through a civil action pursuant to Education Code Section 66292.4.
 3                752. As a result of Defendants’ conduct, Plaintiffs and the members of the
 4    Class have been damaged in an amount to be proven at trial.
 5                                                COUNT V
 6                          GENDER VIOLENCE [CAL. CIV. CODE § 52.4]
                                (AGAINST TYNDALL AND USC)
 7
                  753. Plaintiffs repeat and reallege the foregoing allegations as if fully set forth
 8
      herein.
 9
                  754. California Civil Code § 52.4 provides that gender violence is a form of
10
      sex discrimination and includes “[a] physical intrusion or physical invasion of a sexual
11
      nature under coercive conditions . . . .” Id. at §52.4(c)(2).
12
                  755. California Civil Code § 52.4 incorporates the definition of “gender” from
13
      California Civil Code § 51, which provides: “‘Gender’ means sex, and includes a
14
      person’s gender identity and gender expression.”
15
                  756. Plaintiffs and the Class members are female.
16
                  757. Tyndall physically intruded and/or invaded the bodies of Plaintiffs and
17
      Class members during medical examinations in a sexual manner. The conditions were
18
      coercive in that Plaintiffs and Class members were required to place their trust in their
19
      physician because he was held out to be an expert in gynecology by USC.
20
                  758. USC participated in the physical intrusion and/or invasion of the bodies
21
      of Plaintiffs and Class members during medical examinations by being physically
22
      present in the room through agent chaperones or other clinic staff members and/or by
23
      bringing Plaintiffs and the Class members into the examination rooms and providing
24
      instructions to remove their clothing knowing that Tyndall would assault them in a
25
      sexual manner.
26
                  759. Plaintiffs were injured as a result of the gender violence, and seek all
27
      remedies provided for in Civil Code Section 52.4(a), including, but not limited to,
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 1    actual damages, compensatory, damages, punitive damages, injunctive relief, costs,
 2    attorneys’ fees, or any other appropriate relief.
 3                                              COUNT VI
 4                                   GROSS NEGLIGENCE
                          (AGAINST USC, USC TRUSTEES, AND TYNDALL)
 5
                  760. Plaintiffs reallege and incorporate by reference the allegations contained
 6
      in the previous paragraphs.
 7
                  761. The USC Defendants owed Plaintiffs and Class members a duty to use
 8
      due care to ensure their safety and freedom from sexual assault, abuse, and
 9
      molestation while interacting with their employees, representatives, and/or agents,
10
      including Tyndall.
11
                  762. Tyndall owed Plaintiffs a duty of due care in carrying out medical
12
      treatment as an employee, agent, and/or representative of the USC Defendants.
13
                  763. By seeking medical treatment from Tyndall in the course of his
14
      employment, agency, and/or representation of the USC Defendants, a special,
15
      confidential, and fiduciary relationship between Plaintiffs and Tyndall was created,
16
      resulting in Tyndall owing Plaintiffs a duty to use due care.
17
                  764. The USC Defendants’ failure to adequately supervise Tyndall, especially
18
      after USC knew or should have known of complaints regarding his nonconsensual
19
      sexual touching and assaults during medical examinations was so reckless as to
20
      demonstrate a substantial lack of concern for whether an injury would result to
21
      Plaintiffs.
22
                  765. Tyndall’s conduct in sexually assaulting, abusing, and molesting
23
      Plaintiffs in the course of his employment, agency, and/or representation of the USC
24
      Defendants and under the guise of rendering “medical treatment” was so reckless as to
25
      demonstrate a substantial lack of concern for whether an injury would result to
26
      Plaintiffs.
27

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 1                766. The USC Defendants’ conduct demonstrated a willful disregard for
 2    precautions to ensure Plaintiffs’ safety.
 3                767. The USC Defendants’ conduct as described above demonstrated a willful
 4    disregard for substantial risks to Plaintiffs and Class members.
 5                768. The USC Defendants breached duties owed to Plaintiffs and Class
 6    members and were grossly negligent when they conducted themselves by the actions
 7    described above, said acts having been committed with reckless disregard for
 8    Plaintiffs and Class members’ health, safety, constitutional and/or statutory rights, and
 9    with a substantial lack of concern as to whether an injury would result.
10                769. As a direct and/or proximate result of Defendants’ actions and/or
11    inactions, Plaintiffs and Class members were damaged.
12                                             COUNT VII
13                                 INVASION OF PRIVACY
                         (AGAINST USC, USC TRUSTEES, AND TYNDALL)
14
                  770. Plaintiff Jane Doe D.D. realleges and incorporates by reference the
15
      allegations contained in the previous paragraphs.
16
                  771. Dr. Tyndall photographed women—often for illegitimate purposes—
17
      without informed consent, and without protecting their privacy.
18
                  772. Students have alleged that Dr. Tyndall’s photos were taken with a
19
      Polaroid camera.59
20
                  773. Chaperones from the 1990’s questioned whether Dr. Tyndall used his
21
      camera for legitimate medical purposes. One chaperone said that she witnessed Dr.
22
      Tyndall taking photographs of hundreds of patients’ genitalia, while another
23

24

25        59
           See First Amended Complaint, Mohazab v. USC, No. BC706902, ¶ 62 (L.A.
26    Supr. Ct. June 12, 2018); Complaint, A.S. v. USC, BC709964, ¶ 10 (L.A. Supr. Ct.
      June 13, 2018); Complaint, Does 21-28 v. USC, No. BC709671, ¶ 13 (L.A. Supr. Ct.
27    June 18, 2018).
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 1    chaperone stated that she witnessed Dr. Tyndall taking photographs of 50 to 100
 2    women.60
 3                774. Bernadette Kosterlitzky, a clinic nurse from 1992 to 2013, said that after
 4    a chaperone alerted administrators to Tyndall’s use of a camera, then-Executive
 5    Director Dr. Lawrence Neinstein ordered it removed. Dr. Tyndall claimed that he
 6    stopped using the camera. 61
 7                775. However, former patients allege that Dr. Tyndall continued to photograph
 8    patients’ genitalia at least during the last six years.62
 9                776. In 2016, colleagues found a box full of photographs and slides of
10    patients’ genitalia dating back to 1990 in Dr. Tyndall’s office. Some of the photos
11    were labeled with patients identifying information.63
12                777. Although gynecologists can have legitimate medical reasons to take
13    photographs—including research, teaching, and soliciting second opinions from
14    colleagues—Dr. Tyndall’s practice violated the standard of care. He did not receive
15    informed consent from patients before photographing them, he gave patients incorrect
16    information about photographs’ ability to help diagnose STDs and cancer, and he did
17    not protect the privacy of patients he photographed.
18                778. Doctors must obtain informed consent in order to provide medical
19    treatment. “Consent is based on the disclosure of information and a sharing of
20

21

22        60
            http://www.latimes.com/local/california/la-me-usc-doctor-misconduct-
23    complaints-20180515-story.html
         61
24          Id.
         62
            Complaint, Does 5-10 v. USC, No. BC705677, ¶ 44 (L.A. Supr. Ct. May 25,
25    2018); Complaint, Does 14-20 v. USC, No. BC707898 ¶ 63.b. (L.A. Supr. Ct. June 6,
26    2018).
         63
            http://www.latimes.com/local/california/la-me-usc-doctor-misconduct-
27    complaints-20180515-story.html.
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 1    interpretations of its meaning by a medical professional. The accuracy of disclosure,
 2    insofar as it is possible, is governed by the ethical requirement of truth-telling.”64
 3                779.   Dr. Tyndall photographed patients’ genitalia without their consent and/or
 4    without offering truthful explanations for the photos.65
 5                780. Dr. Tyndall photographed patients before, during, and after he had made
 6    sexualizing or other inappropriate comments about their appearance or sexual
 7    activities.66
 8                781. Even when he did ask patients for permission to take photographs, Dr.
 9    Tyndall did not give them truthful information about the purpose of the photos.
10    Moreover, he did not tell patients what he planned to do with the photos or how they
11    would be stored.
12                782. Dr. Tyndall told one patient that he could diagnose her cervical cancer by
13    painting her genitals with iodine and taking photographs.67 For other patients, he told
14    them that the photos could diagnose STDs and cancer, but he did not accurately
15    explain the reason for, or limits of, using photography to make a diagnosis.68 He did
16    not regularly inform patients of the “results” or findings of their photographs.69
17

18
          64
19          American College of Obstetricians and Gynecologists, Committee Opinion No.
      439 (2009), https://www.acog.org/Clinical-Guidance-and-Publications/Committee-
20    Opinions/Committee-on-Ethics/Informed-Consent.
         65
21          See, e.g. First Amended Complaint, Mohazab v. USC, No. BC 706902, ¶ 47
      (L.A. Supr. Ct. June 12, 2018); Complaint, A.S. v. USC, BC709964, ¶ 10 (L.A. Supr.
22    Ct. June 13, 2018); Complaint, Vaill v. USC, No BC716639, ¶¶ 36, 43-46 (L.A. Supr.
      Ct. Aug. 6, 2018).
23
         66
            Does 21-28 v. USC, No. 709671, ¶ 9 (L.A. Supr. Ct. June 18, 2018).
24       67
            Supra ¶¶ 158-59.
25       68
            See, e.g. supra ¶ 273; Complaint, S.B. v. USC, No. BC707321, ¶ 59 (L.A. Supr.
26    Ct. May 24, 2018); Complaint, Does 21-28 v. USC, No. 709671, ¶¶ 52.d, 57.b.-c.
      (L.A. Supr. Ct. June 18, 2018).
27       69
            See supra ¶ 274.
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 1                783. Dr. Tyndall did not protect the privacy of patients he photographed.70 For
 2    some patients, he captured other parts of their bodies and even their faces.71 He did not
 3    keep images of other women’s vaginas confidential.72
 4                784. Tyndall intentionally intruded upon Plaintiff and the Class members’
 5    solitude, seclusion or private affairs and concerns by photographing their
 6    gynecological and/or other examinations, treatment and/or care without authorization
 7    or consent. This intrusion is highly offensive to reasonable individuals, such as
 8    Plaintiff and the Class members, and was totally unwarranted and unjustified,
 9    constituting invasion of privacy, and a violation of the Health Insurance Portability
10    and Accountability Act of 2016, Pub. L. 104-191, 110 Stat. 1936 (HIPAA).
11                785. Defendant Tyndall carried out such actions and conduct as an employee,
12    agent and/or representative of the USC Defendants, and such actions and conduct were
13    carried out under one of USC’s programs, which provides medical treatment to
14    students, athletes, and the public. The USC Defendants are liable and vicariously
15    liable for Defendant Tyndall’s conduct.
16                786. As a direct and/or proximate result of Defendants’ actions and/or
17    inactions, Plaintiffs and Class members were damaged.
18                                             COUNT VIII
19     NEGLIGENT FAILURE TO WARN, TRAIN, OR EDUCATE (AGAINST USC
                          AND USC TRUSTEES)
20
                  787. Plaintiffs restate and incorporate herein by reference the preceding
21
      paragraphs as if fully set forth herein.
22

23

24        70
            HIPAA regulations prohibit healthcare providers from disclosing protected
25    health information. See generally 45 C.F.R. §164.502.
         71
26          Complaint, J.A. v. USC, BC710178, ¶ 40 (L.A. Supr. Ct.); Complaint, Davis v.
      USC, No. BC714891, ¶ 31 (L.A. Supr. Ct. June 14, 2018).
27       72
            Complaint, Does 21-28 v. USC, No. 709671 at ¶ 13.
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 1                788. The USC Defendants owed Plaintiffs and the Class members a duty to
 2    take reasonable protective measures to protect them and other student-patients from
 3    the risk of sexual harassment, molestation, and abuse by Defendant Tyndall by
 4    properly warning, training, or educating Plaintiffs and the Class members and others
 5    about how to avoid such a risk.
 6                789. The USC Defendants breached their duty to take reasonable protective
 7    measures to protect Plaintiffs and other patients from the risk of sexual harassment,
 8    molestation, and abuse by Defendant Tyndall, such as the failure to properly warn,
 9    train or educate Plaintiffs and the Class members and other patients about how to
10    avoid such a particular risk that Tyndall posed—of sexual misconduct.
11                790. The USC Defendants breached their duty to take reasonable protective
12    measures to protect Plaintiffs, Class members, and other patients from the risk of
13    sexual harassment, molestation and abuse by Defendant Tyndall, by failing to
14    supervise and stop their employees, including Tyndall, from committing wrongful
15    sexual acts with student patients, including Plaintiffs and the Class members.
16                791. As a direct and/or proximate result of Defendants’ actions and/or
17    inactions, Plaintiffs and Class members were damaged.
18                                              COUNT IX
19                                        CIVIL BATTERY
                                    (AGAINST TYNDALL AND USC)
20
                  792. Plaintiffs restate and incorporate herein by reference the preceding
21
      paragraphs as if fully set forth herein.
22
                  793. Tyndall intended to commit an act of unwanted contact and/or caused
23
      imminent apprehension of such an act against Plaintiffs and Class members. He did so
24
      by, inter alia:
25
                        a.    Isolating Plaintiffs and Class members in closed
26                            quarters and dismissing any bystanders; and
27
                        b.    Causing sexual contact.
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 1                794. Tyndall did commit an unwanted contact with Plaintiffs and each Class
 2    member’s person or property in a harmful or offensive manner, including, but not
 3    limited to, by causing molestation or sexual contact between Tyndall and each woman.
 4                795. Tyndall’s battery of Plaintiffs and the Class caused harm, including
 5    physical, mental, and/or emotional harm of each Class Member.
 6                796. Tyndall’s conduct was committed within the scope of his employment at
 7    USC. A causal nexus existed between Tyndall’s medical examinations, USC’s pattern
 8    of allowing Tyndall to examine female patients without a chaperone, and the use of his
 9    role to batter the women. Each act of battery of a Class Member was foreseeable
10    given, inter alia, USC’s knowledge that Tyndall failed to follow protocols concerning
11    the use of chaperones and taking of photographs. USC knew due to complaints from
12    patients and staff members, and the commission of the acts at the USC student health
13    center.
14                797. It is fair to include the losses resulting from Tyndall’s conduct among
15    other costs of USC’s business. Assaults in the context of a medical examination,
16    where women must subject themselves to extreme vulnerability in order to get the
17    medical care they need, are among the possible adverse events that lead female
18    patients to expect physician offices and student health centers to take extra precautions
19    to ensure that they are protected from the dominance of a physician in the doctor-
20    patient relationship.
21                798. Holding USC liable furthers the underlying policy goals of respondeat
22    superior, including the prevention of future injuries and assurance of compensation to
23    victims, given that Plaintiffs and the Class members do not have separate remedies
24    under Title VII because they were not employees of USC.
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 1                                               COUNT X
 2                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                              (AGAINST TYNDALL AND USC)
 3
                  799. Plaintiffs restate and incorporate herein by reference the preceding
 4
      paragraphs as if fully set forth herein.
 5
                  800. Tyndall’s extreme and outrageous conduct intentionally or recklessly
 6
      caused severe emotional distress to Plaintiffs and the Class members.
 7
                  801. Tyndall’s outrageous conduct was not the type of ordinary physician
 8
      examination or even rude or obnoxious behavior that women should be expected to
 9
      tolerate. Rather, Tyndall’s conduct exceeded all possible bounds of decency.
10
                  802. Tyndall acted with intent or recklessness, knowing that his female victims
11
      were likely to endure emotional distress given the relationship and trust placed in
12
      physicians by patients. In fact, he used this trust to subdue the women and prevent
13
      them from complaining or suing based on his actions. He did so with deliberate
14
      disregard as to the high possibility that severe emotional distress would occur.
15
                  803. Tyndall’s conduct caused suffering for Plaintiffs and the Class members
16
      at levels that no reasonable person should have to endure.
17
                  804. Tyndall’s conduct was committed within the scope of his employment at
18
      USC. A causal nexus existed between Tyndall’s medical examinations, USC’s pattern
19
      of allowing Tyndall to examine female patients without a chaperone, and the use of his
20
      role to batter the women. Each act of battery of a Class Member was foreseeable
21
      given, inter alia, USC’s knowledge that Tyndall failed to follow protocols concerning
22
      the use of chaperones and taking of photographs. USC knew of Tyndall’s conduct due
23
      to complaints from patients and staff members, and the commission of the acts at
24
      USC’s student health center.
25
                  805. It is fair to include the losses resulting from Tyndall’s conduct among
26
      other costs of USC’s business. Assaults in the context of a medical examination,
27
      where women must subject themselves to extreme vulnerability in order to get the
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 1    medical care they need, are among the possible adverse events that lead female
 2    patients to expect physician offices and student-health centers to take extra precautions
 3    to ensure that they are protected from the dominance of a physician in the doctor-
 4    patient relationship.
 5                806. Holding USC liable furthers the underlying policy goals of respondent
 6    superior, including the prevention of future injuries and assurance of compensation to
 7    victims, given that Plaintiffs and the Class members do not have separate remedies
 8    under Title VII because they were not employees of USC.
 9                                              COUNT XI
10                    NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                              (AGAINST TYNDALL AND USC)
11
                  807. Plaintiffs restate and incorporate herein by reference the preceding
12
      paragraphs as if fully set forth herein.
13
                  808. Tyndall’s conduct negligently caused emotional distress to Plaintiffs and
14
      the Class members.
15
                  809. Tyndall could reasonably foresee that his action would have caused
16
      emotional distress to Plaintiffs and the Class members.
17
                  810. Plaintiffs and the Class members were in a specific zone of danger
18
      meeting with Tyndall in the examination room and at risk of physical harm, causing
19
      their fear when the examination became sexual in nature.
20
                  811. Plaintiffs and the Class members, during their medical examination,
21
      suffered distress and emotional harm.
22
                  812. Tyndall’s conduct was committed within the scope of his employment at
23
      USC. A causal nexus existed between Tyndall’s medical examinations, USC’s pattern
24
      of allowing Tyndall to examine female patients without a chaperone, and the use of his
25
      role to batter the women. Each act of battery of a Class Member was foreseeable
26
      given, inter alia, USC’s knowledge that Tyndall failed to follow protocols concerning
27
      the use of chaperones and taking of photographs. USC knew due to complaints from
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 1    patients and staff members, and the commission of the acts at USC’s student health
 2    center.
 3                813. It is fair to include the losses resulting from Tyndall’s conduct among
 4    other costs of USC’s business. Assaults in the context of a medical examination,
 5    where women must subject themselves to extreme vulnerability in order to get the
 6    medical care they need, are among the possible adverse events that lead female
 7    patients to expect physician offices and student-health centers to take extra precautions
 8    to ensure that they are protected from the dominance of a physician in the doctor-
 9    patient relationship.
10                814. Holding USC liable furthers the underlying policy goals of respondent
11    superior, including the prevention of future injuries and assurance of compensation to
12    victims, given that Plaintiffs and the Class members do not have separate remedies
13    under Title VII because they were not employees of USC.
14                                              COUNT XII
15                                        RATIFICATION
                                 (AGAINST USC AND USC TRUSTEES)
16
                  815. Plaintiffs restate and incorporate herein by reference the preceding
17
      paragraphs as if fully set forth herein.
18
                  816. Tyndall was an agent and employee of USC between 1989 and 2016.
19
                  817. Tyndall was acting at all times in his position as an agent of and on behalf
20
      of USC.
21
                  818. All acts or omissions alleged were ratified by USC and USC Trustees. As
22
      alleged supra, many of USC’s employees, managers, and supervisors, including other
23
      medical personnel in the student health center, knew Tyndall was sexually abusing
24
      female students and refused to take any action to stop him. Moreover, USC’s
25
      managers, supervisors, executives, and directors hid this information so Tyndall could
26
      continue to work for USC.
27

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 1                819. With knowledge of Tyndall’s sexual misconduct, no disciplinary action
 2    was taken, and he was allowed to be alone with female students who attended USC.
 3                820. USC is thus responsible for Tyndall’s acts of assault, battery, and
 4    intentional or negligent infliction of emotional distress.
 5                                        PRAYER FOR RELIEF
 6                WHEREFORE, Plaintiffs, individually and on behalf of all Class members, pray
 7    that this Court:
 8                A.    Certify the Class, name Plaintiffs as representatives of the Class, and
 9    appoint their lawyers as Class Counsel;
10                B.    Enter judgment against George Tyndall in favor of Plaintiffs and the
11    Class;
12                C.    Enter judgment against University of Southern California in favor of
13    Plaintiffs and the Class;
14                D.    Enter judgment against the Board of Trustees of the University of
15    Southern California in favor of Plaintiffs and the Class;
16                E.    Enter appropriate equitable relief as the Court deems just, proper and fair;
17                F.    Award Plaintiffs and the Class members damages for pain and suffering,
18    and compensatory and punitive damages; and
19                G.    Award Plaintiffs their reasonable attorneys’ fees and costs.
20    Dated: May 17, 2019                         Respectfully submitted,
21
                                                  HAGENS BERMAN SOBOL SHAPIRO LLP
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 1                                     CERTIFICATE OF SERVICE
 2                I hereby certify that on May 17, 2019, I electronically filed the foregoing
 3    document using the CM/ECF system, which will send notification of such filing to all
 4    counsel of record registered in the CM/ECF system. I also caused a copy of the
 5    foregoing document to be served via first class mail on the following:
 6

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